                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 1 of 272




                                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION

      UNITED STATES OF AMERICA,                           §
                                                          §
                Plaintiff,                                §
                                                          §
      v.                                                  §    Case No. 1:21-cv-00796-RP
                                                          §
      THE STATE OF TEXAS,                                 §
                                                          §
                Defendant.                                §

                        DECLARATION OF WILLIAM T. THOMPSON IN SUPPORT OF
                                 DEFENDANT’S MOTION TO DISMISS,
                        RESPONSE TO PLAINTIFF’S MOTION FOR A PRELIMINARY
                         INJUNCTION, AND MOTION FOR STAY PENDING APPEAL

     I, William T. Thompson, hereby declare as follows:

1.     I am over 18 years of age and am fully competent to make this declaration. I am Deputy Chief for

       the Special Litigation Unit at the Texas Office of Attorney General, and I am admitted to practice

       law in this Court, and I represent the State of Texas in the above-captioned matter. I submit this

       Declaration in support of Defendant’s motion to dismiss, response to plaintiff’s motion for a

       preliminary injunction, and motion for stay pending appeal. I have personal knowledge of the facts

       stated herein.

               2.            Appended to Defendant’s motion to dismiss, response to plaintiff’s motion for a

     preliminary injunction, and motion for stay pending appeal are the following exhibits:


       Ex. No.         Title

           A          Bureau of Prisons Technical Guidance. Federal Bureau of Prisons, Managing
                      Pregnant and Postpartum Offenders (Feb. 2021) (produced by Plaintiff)
           B          Marshals Service Policy Directives. United States Marshals Service, Policy
                      Directives § 9.5 “Pregnant Prisoner Care” (Dec. 16, 2019) (produced by Plaintiff)
           C           Office of Refugee Resettlement Policy Memorandum. United States Office of
                       Refugee Resettlement, Policy Memorandum—Medical Services Requiring
                       Heightened ORR Involvement (Sept. 29, 2020) (produced by Plaintiff)
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 2 of 272




     D          Office of Refugee Resettlement Manual of Procedures. United States Office of
               Refugee Resettlement, The UAC Manual of Procedures § 3 “Services” (July 2021)
               (produced by Plaintiff)
      E
               Job Corps Handbook. Job Corps, Policy and Requirements Handbook ch. 2
               “Student Support Services” § 2.3 R13 (June 15, 2021), available at
               https://prh.jobcorps.gov/PRH%20
               Chapter%202/PRH%20Chapter%202%20-%2006.15.21.pdf.
      F        Job Corps Data—Carrasco Center. Correspondence and data produced by
               Plaintiff.
      G        Job Corps Data—Laredo Center. Correspondence and data produced by Plaintiff.

      H         Job Corps Data—Gary Center. Correspondence and data produced by Plaintiff.

      I        Job Corps Data—North Texas Center. Correspondence and data produced by
               Plaintiff.

          3.       The exhibits listed above are true and correct copies of what they purport to be.

I declare under the penalty of perjury that the foregoing is true and correct.

                                                         Executed on September 29, 2021

                                                         /s/ William T. Thompson
                                                         William T. Thompson

                                    CERTIFICATE OF SERVICE

           I hereby certify that on September 29, 2021, I electronically filed the foregoing document
  through the Court’s ECF system, which automatically serves notification of the filing on counsel
  for all parties.

                                                         /s/ William T. Thompson
                                                         William T. Thompson




                                                    2
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 3 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                            Exhibit A
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 4 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                            Exhibit A
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 5 of 272

Federal Bureau of Prisons                                      Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                          February 2021




Managing Pregnant and Postpartum Offenders

                                            Technical Guidance

                                     Federal Bureau of Prisons
                                                 February 2021




For Official Internal Use Only. The contents of this Technical Guidance may be duplicated and used within the BOP
for official purposes only. Duplication or use for any other purpose must have the express permission of the
Assistant Director, Health Services Division, Federal Bureau of Prisons. The BOP does not warrant this guidance for
any other purpose, and assumes no responsibility for any injury or damage resulting from the reliance thereof.
Proper medical practice necessitates that all cases are evaluated on an individual basis and that treatment
decisions are individual-specific. Referenced Program Statement versions within this guideline are for
informational purposes only. Please refer to the most current versions of any referenced Program Statement(s).
Consult the BOP Health Services Technical Guidance Page to determine the date of the most recent update to this
document: http://sallyport.bop.gov/co/hsd/Technica/Guidance.jsp




                                                                                                            DOJ-00000001
               Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 6 of 272

Federal Bureau of Prisons                                                               Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                                                   February 2021

TABLE OF CONTENTS
1. PURPOSE ................................................................................................................................................... 2
2. DEFINITIONS .............................................................................................................................................. 2
3. IDENTIFICATION OF PREGNANT OFFENDERS ............................................................................................ 4
4. USE OF RESTRAINTS .................................................................................................................................. 4
5. SENTRY CODES .......................................................................................................................................... 5
6. ELECTRONIC HEALTH RECORD (EHR) CODES ............................................................................................ 6
7. MEDICAL DUTY STATUS RESTRICTIONS .................................................................................................... 7
8. MULTIDISCIPLINARY TREATMENT APPROACH .......................................................................................... 7
   Intake Assessment .................................................................................................................................... 7
   Mental Health Assessment ....................................................................................................................... 7
   Social Work Assessment ......................................................................................................................... 8
9. BASELINE MEDICAL EVALUATION (HISTORY & PHYSICAL EXAMINATION) AND TREATMENT PLAN ........ 9
10. SPECIAL MEDICAL CONSIDERATIONS ...................................................................................................... 9
11. ABORTION ............................................................................................................................................. 10
   Medical, Religious, and Social Counseling ........................................................................................... 10
   Laws Related to Abortion ..................................................................................................................... 10
   Costs Associated with Abortion ........................................................................................................... 10
12. INFANT PLAN OF CARE MANAGEMENT ................................................................................................ 11
   Custodian Care....................................................................................................................................... 11
   Adoption................................................................................................................................................. 11
   Foster Care ............................................................................................................................................. 11
   Agency Custody ..................................................................................................................................... 11
13. INSTITUTION BIRTH COMMUNICATION................................................................................................ 12
14. SPECIAL CONSIDERATIONS AFTER DELIVERY ........................................................................................ 12
15. RESIDENTIAL REFERRALS ....................................................................................................................... 12
   Mothers and Infants Together (MINT) .................................................................................................... 13
   Residential Parenting Program (RPP) ...................................................................................................... 13
16. POSTPARTUM ........................................................................................................................................ 14
17. DOCUMENTATION OF PREGNANCY OUTCOMES .................................................................................. 14
18. INFANT RELEASE .................................................................................................................................... 14




                                                                               1




                                                                                                                                                      DOJ-00000002
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 7 of 272

Federal Bureau of Prisons                           Managing Pregnant and Postpartum Offenders
Technical Guidance                                                               February 2021

1. PURPOSE
The Federal Bureau of Prisons (BOP) Technical Guidance for the Management of
Pregnant and Postpartum Offenders provides recommendations for the management and
treatment of offenders who are pregnant on intake into BOP custody, as well as those in
postpartum recovery.
To ensure better care for this small, but service-intensive population, the BOP has
established additional levels of oversight for female offenders, specifically, pregnant and
postpartum offenders. This technical guidance integrates all pregnancy and postpartum
policies, processes, and procedures to simplify and standardize the provision of services
across the agency.
BOP policies specific to pregnant and postpartum offenders are listed in the following
program statements: PS..5200.02.Female.Offender .Manual and PS. 6031.04 .Patient. Care.


2. DEFINITIONS
Abandonment: The pregnant offender declines to identify an appropriate custodian or to
specify a plan of care for her infant after delivery.

Abortion: An elective or spontaneous termination of a pregnancy.

Custodian: The person the pregnant offender chooses to act as the infant's caregiver while
she is incarcerated. This person can be a family member, a friend, or other person. After
the infant is delivered and while the offender is incarcerated, the custodian assumes care of
the infant, including financial responsibility for the infant's expenses.

Dru g history: Instances of reported illicit and recreational drug use.

Ectopic pregnancy: Pregnancy when a fertilized egg grows outside the uterus, often in the
fallopian tube.

Full term: A pregnancy that lasts between 39 weeks and 40 weeks, 6 days.

Gestational age: This term describes how far along the patient is in her pregnancy,
measured in weeks.

Genetic history: Assessment of the risk of inherited medical conditions and single gene
disorders to the fetus.

High-Risk Pregnancy: A woman who has one or more risk factors or issues that may
increase either her or her baby's chance for health problems, preterm delivery, or
threatens the life of the mother and possibly her fetus. (Refer to Section 10. Special Medical
Considerations for further discussion of risk factors).
                                               2




                                                                                        DOJ-00000003
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 8 of 272

Federal Bureau of Prisons                          Managing Pregnant and Postpartum Offenders
Technical Guidance                                                              February 2021


Immunization: A vaccine that helps a person's immune system become protected against a
certain infectious agent in a controlled way.

Infection history: The history of any infectious disease; includes tuberculosis (TB), HIV,
viral hepatitis and sexually transmitted infections (STis).

Menarche: The first menstrual cycle, or first menstrual bleeding, in a female.

Menstrual period: Normal vaginal bleeding that occurs as part of a woman's menstrual
cycle.

Mothers and Infants Together (MINT): A residential program promoting bonding skills
for pregnant offenders. The offender resides with the infant at all times inside a contract
Residential Reentry Center (RRC) under the direction of the Reentry Services Division
(RSD).

Multiple births: A birth at which the mother delivers two or more children at the same
time.

Obstetric history: Events relating to previous pregnancies and deliveries, including all
information related to the events.

Postpartum: The time period of 12 weeks, or longer as determined by the healthcare
professional responsible for the health and safety of the patient, after delivery.

Postpartum depression: Depression that is suffered by some mothers following
childbirth, typically arising from the combination of hormonal changes, psychological
adjustment to motherhood, and fatigue.

Pregnant: The state of carrying a developing embryo or fetus within the female body.

Premature: Pregnancy delivered prior to the 3 7th week of pregnancy.

Psychiatry Services: Mental health services available within BOP for referral for mental
health concerns or medication management of other mental illness.

Psychotherapy: The use of personal interaction methods with a mental health provider to
help a person change behavior and overcome problems. Psychotherapy or "talk therapy"
can be used to learn about and treat an individual's moods, thoughts, and behaviors. It can
also be supportive to individuals experiencing distressing thoughts and feelings.




                                              3




                                                                                        DOJ-00000004
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 9 of 272

Federal Bureau of Prisons                                            Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                                February 2021

Residential Parenting Program (RPP): The Bureau has an agreement with the state of
Washington Department of Corrections to place qualified, interested pregnant offenders in
the RPP at the Washington Correctional Center for Females in Gig Harbor.

Ultrasound: A medical imaging test that uses high-frequency sound waves to capture live
images of the developing fetus inside the body.

3. IDENTIFICATION OF PREGNANT OFFENDERS
A pregnancy test (urine or serum) is ordered for all newly committed female offenders of
childbearing age as soon as they enter BOP custody. It is important to rapidly identify and
evaluate pregnant offenders at intake in an effort to detect those at highest risk for fetal
abnormalities and complications in their pregnancy.

A pregnant offender may be identified and confirmed by health services staff. Upon
learning or confirmation of the offender's pregnancy, health services staff should notify
psychology services, social worker (institution or regional social worker), and unit
management. Appropriate additional staff (i.e., captain, lieutenants, and executive staff)
should also be notified of the pregnant offender at the facility.

To ensure the identification of pregnant and postpartum offenders, PRE-NATAL and
POSTPARTUM Medical Duty Status (MDS) SENTRY codes, and EHR health problem codes,
are promptly entered by health services staff. (Refer to Section 5. SENTRY Codes and
Section 6. Electronic Health Record (EHR) Codes for a list of appropriate codes.)

4. USE OF RESTRAINTS

Restraints for pregnant and postpartum offenders will be used in accordance with PS
5500.15 Correctional Services Manual. PS 5538.07 Escorted Trips, PS 5540.08 Prisoner
Transportation Manual and .P..S...5.5.6..6.,.0.6...U.s..�..Qf..f..Qr.�.�--gJ1.d.AP..P.li.�.a.tiQ.n..o.f.R�.s..trnin.ts.. These
policies state restraints may be used under extreme circumstances, which "cannot be
reasonably contained through other methods." Other methods would include additional
staff, supervisory staff presence, or maintaining physical control of the offender. It is
important to note the restriction is on the use of restraints as a whole, not simply what may
or may not injure a fetus. The restriction on restraints applies to escorted trips, placement
in restrictive housing, routine escorts throughout the institutions, and any other situations
when the use of restraints may be necessary.

Upon learning of the offender's pregnancy or post-partum status, the pregnant offender is
notified within 48 hours of the restraint restrictions outlined in the First Step Act, as well as
how to report the inappropriate use of restraints. The offender is provided the following
information:




                                                              4




                                                                                                                      DOJ-00000005
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 10 of 272

Federal Bureau of Prisons                                         Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                             February 2021

         The use of restraints on offenders during the period of pregnancy and postpartum
         recovery period (12 weeks or longer after delivery, as determined by the healthcare
         provider) is prohibited unless it is determined:
            • the offender is an immediate and credible flight risk that cannot reasonably be
                prevented by other means; or
            • poses an immediate and serious threat of harm to herself or others that cannot
                reasonably be prevented by other means; or
            • a healthcare professional responsible for the health and safety of the offender
                determines that the use of restraints is appropriate for the medical safety of the
                offender.

         In the case that restraints are used, only the least restrictive restraints necessary to
         prevent harm or risk of escape may be used. The restraints MAY NOT be applied:
             • around the ankles, legs, or waist of an offender; or
             • to restrain an offender's hands behind her back; or
             • to restrain an offender using four-point restraints; or
             • to attach an offender to another offender.

         The offender should report the inappropriate use of restraints to a staff member
         immediately. Other ways to report include email via TRULINCS, file an Administrative
         Remedy, or write to the Office of Inspector General.

If restraints are used on an offender who is pregnant, post-partum, recently had a
miscarriage, or recently had a terminated pregnancy, the staff involved is required to
submit a report no later than 30 days after placing the offender in restraints to the Woman
and Special Populations Branch (WASPB) Administrator, the Bureau Medical Director, and
the Correctional Services Administrator. The report will describe the facts and
circumstances surrounding the use of restraints to include the reasons for their use, the
details of their use (including the type of restraints used and the length of time), and any
observable effects of their use.

5. SENTRY CODES
For purposes of providing appropriate medical treatment and management, all offenders
who are pregnant or in the postpartum recovery period must have the appropriate codes
entered into SENTRY as listed below. Further directions can be found on the WASPB
Sallyport page .http.://.�-�.UYP.9..rt,.b.Qp,g9y(.�9./r.�d!.fo.rrrnl1LQff.�D.QY.f.!.i.D.Q�.�j-�p, including a flowchart
for using the appropriate code. These codes are entered by health services staff, as
applicable.

 SENTRY Assi�nment Code                                        Description
 PRE-NATAL                                                     PREG-IM NOTF'DRESTRAINTRESTRIC
 PREG EDD                                                      PREGNANCY - EXPECTED DUE DATE
 MRNOTIFIED                                                    MINT/RES PARENT NOTIFIED OF
 MINTRPPINT                                                    MINT/RES PARENT INTEREST

                                                           5




                                                                                                                 DOJ-00000006
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 11 of 272

Federal Bureau of Prisons                          Managing Pregnant and Postpartum Offenders
Technical Guidance                                                              February 2021

 MINTRPPDCL                                      MINTIRES PARENT 1/M DECLINED
 MR MED YES                                      MINT/RES PARENT MED APPVL YES
 MR MED NO                                       MINT/RES PARENT MED APPVL NO
 MINTUNTYES                                      MINT UNIT TEAM REFD YES
 MINTUNTNO                                       MINT UNIT TEAM REFD NO
 RPP UNTYES                                      RES PARENT UNIT TEAM REFD YES
 RPP UNT NO                                      RES PARENT UNIT TEAM REFD NO
 MINTDENIED                                      DENIED MINT PLACEMENT
 RPPDENIED                                       DENIED RES PARENT PLACEMENT
 MINT PL DT                                      MINT DATE OF PLACEMENT
 RPP PL DT                                       RES PARENT DATE OF PLACEMENT
 POSTPARTUM                                      POSTPARTUM RECOVERY
 BRSTPMP                                         BREAST PUMP PROVIDED

6. ELECTRONIC HEALTH RECORD (EHR) CODES
For purposes of providing appropriate medical treatment and management, all pregnant
offenders must have the appropriate code for pregnancy entered into the EHR health
problem list as listed below. This information is entered by a health services provider.

 ICD-10 Code                      Description
 Z34.90                           Encounter for supervision of normal pregnancy
 009                              Encounter for supervision of high-risk pregnancy
 034.219                          Maternal care for scar from previous cesarean delivery
 045.19                           Premature separation of placenta
 015.1                            Eclampsia complicating labor
 076                              Heart rate or rhythm (abnormal)
 044.1                            Placenta covering the opening of the cervix
 002.1                            Intrauterine fetal death (missed abortion)
 072.2                            Retained membranes or portions of placenta
 042.90                           Premature rupture of membranes
 070.9                            Perineal laceration
 024.429                          Gestational diabetes in childbirth
 072.20                           Postpartum with retained placenta
 060.10                           Preterm labor with preterm delivery

➔ Coding of pregnant offenders is imperative for accurate records to ensure all are
receiving appropriate care and management.
➔ All BOP offenders who are pregnant are assessed by the appropriate health services staff
during intake, history and physical, and any other clinical encounters, as appropriate.




                                             6




                                                                                       DOJ-00000007
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 12 of 272

Federal Bureau of Prisons                                          Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                              February 2021

7. MEDICAL DUTY STATUS RESTRICTIONS
The medical duty status (MDS) should reflect the offender is pregnant. MDS restrictions
should be entered in the EHR as clinically indicated for all pregnant and post-postpartum
offenders such as lower bunk, no climbing, and no ladders along with any other clinically
pertinent restrictions.

8. MULTIDISCIPLINARY TREATMENT APPROACH
Healthcare for pregnant offenders requires a multidisciplinary approach.

Intake Assessment
The offender is seen by health services staff for a comprehensive intake screening within
required time frames. Health services staff will confirm the pregnancy status (Refer to
S.�.(;.t.im1.3.,Jd.e..nti.f.i.cati.QD..Q.f..P.rn.gn.a.nt.Q.f.f.e..nd.e..r.s..). If the pregnancy is confirmed, a health
services staff member refers the offender to psychology services and a social worker
(institution or regional social worker) for appropriate assessments and interventions.

Although the Women and Special Populations Branch (WASPB) staff is not part of the
onsite assessment process, W ASPB manages and provides oversight of the pregnant
offender population. Therefore, on confirmation of pregnancy, W ASPB staff should be
consulted and kept apprised of the offender's case throughout pregnancy and postpartum
recovery. Some institutions employ Special Population Coordinators. In this case, they
should be consulted as well.

The following considerations should be reviewed for all pregnant offenders:
   • Medical Records key the PRENATAL code into SENTRY.
   • Review PS 5200.02 Female Offender Manual to include considerations for the
       following:
           o Additional nutritional or commissary items - This information is
               documented and provided to the Food Service Administrator and Trust Fund
               Supervisor.
           o Housing Considerations - Medical staff may recommend a change in
               housing (closer to Health Services) or lower bunk for safety reasons.
   • Eligibility for MINT or RPP
   • Refer to the PS 6031.04 Patient Care section on Female Healthcare for additional
       clinical considerations for pregnant offenders.

Mental Health Assessment
Upon diagnosis, a psychologist assesses the offender's mental health concerns and provides
individualized counseling support and other programmatic interventions, as appropriate.
The assessment should give special consideration to the challenges a pregnant offender
may face over the course of a pregnancy. These topics may include social support, family
connections, stress management, and the management of any existing mental illness over
the course of a pregnancy.

                                                            7




                                                                                                                   DOJ-00000008
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 13 of 272

Federal Bureau of Prisons                                   Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                       February 2021


The diagnostic assessment is documented in the EHR under the title, Diagnostic and Care
Level Formulation, and includes the following: relevant historical information, presenting
problems/symptoms, diagnostic formulation, and care level formulation. Pregnant
offenders may continue to request or be referred to psychology services throughout their
pregnancy and postpartum period.

Social Work Assessment
The social worker educates the offender about services and programs offered during
pregnancy and postpartum recovery, as well as providing her with educational resources
such as The Guide for Expecting Mothers in the BOP.

When there is a regional social worker referral, institution staff facilitates communication
with the offender. The social worker should discuss topics such as carrying the child to
term, participating in a residential parenting program, and identifying a custodian for the
child. This assessment is documented in the offender's electronic medical file. Outcomes
from the assessment that have corresponding SENTRY codes should also be entered.
Ongoing support related to the needs of both the offender and her child should be provided
throughout the pregnancy and postpartum recovery period.

   •   Pregnancy options - Offenders are provided options that include carrying the
       pregnancy to term or terminating it in accordance with .P.S...5.2.0.Q,_Q2...F..�m.a.l.e...O.ff�.nd.�.r.
       Manual. It is the responsibility of the offender to determine how to proceed with her
       pregnancy. The offender should be offered medical, religious, and social counseling
       to assist her in making a decision. Refer to Section. 11 Abortion for additional
       information.

   •   Carry to Term - For offenders who choose to carry to term, the social worker
       should outline and discuss options, such as any interests in participating in a
       residential parenting program. If the offender is not interested, the social worker
       should outline and discuss child placement options. Assign SENTRY assignments
       consistent with the offender's interests and needs.

   •   Residential Parenting Programs - Discuss residential parenting programs
       including locations, as well as the benefits and eligibility criteria of each program.
       Assign SENTRY assignments consistent with the offender's interests and needs.
       Refer to Section..15 ..Residential.Referrals for additional information.

   •   Child Placement - Outline and discuss options for offenders who will not remain
       with their infant after birth. Options include custodian care, adoption, foster care,
       and agency custody. Refer to Section. 12 Infant Plan of Care Management for
       additional information.

The social worker should follow-up with the offender throughout the pregnancy and
postpartum recovery to address identified interests and needs.

                                                     8




                                                                                                       DOJ-00000009
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 14 of 272

Federal Bureau of Prisons                           Managing Pregnant and Postpartum Offenders
Technical Guidance                                                               February 2021

9. BASELINE MEDICAL EVALUATION (HISTORY & PHYSICAL
EXAMINATION) AND TREATMENT PLAN
When a pregnancy is confirmed, a complete medical evaluation should be performed to
classify the offender, detect the presence or absence of pregnancy complications, assist in
formulating an individualized treatment and management plan, and provide a basis for
continuing care. If the diagnosis of pregnancy was made prior to entry in the BOP, a review
of the previous treatment plan, when available, is recommended. Appropriate laboratory
tests are recommended to evaluate the offender's condition.

The pregnant offender should be referred to an obstetric gynecologist for baseline
evaluation that includes the components and recommendations based on guidance
provided by the American College of Obstetricians and Gynecologists.

10. SPECIAL MEDICAL CONSIDERATIONS
High-Risk Pregnancy
A high-risk pregnancy requires care from specialty trained providers. When considering
the diagnosis of high-risk pregnancy, risk factors to consider include: existing health
conditions (high blood pressure, diabetes, HIV, etc.), morbid obesity, multiple fetuses, or
advanced maternal age.

Following the diagnosis of high-risk pregnancy by a medical provider, the offender should
be classified as Care Level 4 and, in collaboration with WASPB and a social worker, the
provider considers the appropriateness for a residential placement. For those offenders
initially denied a residential placement, but subsequently show improved medical status, a
re-evaluation should be conducted to determine if placement in a residential placement is
appropriate.

Pregnancy with Two or More Fetuses
These pregnancies frequently require increased monitoring due to potential fetal
compromise.

Comorbid Conditions
For guidance on the examination and treatment of the following complications and
comorbidities, refer to the Centers for Disease Control and Prevention (CDC) website on
Maternal and Infant Health, under Pregnancy Complications
https://www.cdc.gov/reproductivehealth/maternalinfanthealth/pregnancy­
complications.html and/or National Institute of Health, US National Library of Medicine
https://www.nlm.nih.gov.
    • Gestational diabetes
    • Pregnancy induced hypertension
    • Fetal genetic abnormalities
    • Placenta previa abruption
    • Mental health and substance use disorders

                                              9




                                                                                        DOJ-00000010
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 15 of 272

Federal Bureau of Prisons                                 Managing Pregnant and Postpartum Offenders
Technical Guidance                                                                     February 2021

    •   Hyperemesis gravidarum
    •   Obesity
    •   Urinary tract infection
    •   Anemia
    •   Sexually transmitted diseases
    •   Hepatitis
    •   Human immunodeficiency virus (HIV)
    •   Tuberculosis
    •   Thyroid disorders
    •   Autoimmune disorders
    •   Coagulation defects

11. ABORTION
The offender has the responsibility to decide either to end the pregnancy through abortion
or continue the pregnancy to term. Refer to .P..S...5.2.QQ,.Q.2_.f!;_ffi.gl!;__Qf.f!;.r.Hl�r..M.gn.lJ.gl,
Medical, Religious, and Social Counseling
The Warden ensures that each pregnant offender is provided with medical, religious, and
social counseling to aid her in making the decision whether to carry the pregnancy to full
term or to have an elective abortion. If an offender chooses to have an abortion, she signs a
written statement indicating she chose to have an abortion and she has been provided the
opportunity for counseling (medical, religious, and social). This document is scanned into
the offender's electronic health record.
When medical, religious, and social counseling sessions are completed, each staff member
involved documents the session in a memorandum to the offender's central file. This
document should also be scanned into the offender's electronic health record.
A copy of each request for an elective abortion and the supporting documentation from the
medical, religious, and social counseling sessions is sent for information purposes to the
BOP Medical Director's attention.
On receipt of the offender's written statements, ordinarily submitted through the unit
manager, the Clinical Director or designee shall arrange for an abortion.
Laws Related to Abortion
Staff should abide by applicable federal and state (the state in which the institution is
located) laws and regulations. Regional counsel should be consulted if there are questions
concerning the interpretation of laws and regulations.
Costs Associated with Abortion
The Bureau only assumes all costs associated with the abortion procedure when the life of
the mother would be endangered if the fetus is carried to term, or in the case of rape or
incest.
In all other cases, non-Bureau funds must be used to pay for any abortion procedure.
Otherwise, the planned abortion may not be performed. However, whether the Bureau

                                                   10




                                                                                                   DOJ-00000011
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 16 of 272

Federal Bureau of Prisons                           Managing Pregnant and Postpartum Offenders
Technical Guidance                                                               February 2021

pays for the abortion or not, the Bureau may use its funds to escort the offender to a facility
outside the institution to receive the procedure.
Pursuant to Section 103 of the Department of Justice Appropriations Bill for Fiscal Year
1996 (Public Law 104-134), the Bureau may not use appropriated funds to require any
person to perform or facilitate the performance of an abortion. Staff members who wish to
have no involvement in facilitating the performance of abortions need to advise their
supervisor of this fact. Supervisors cannot order a staff member's involvement in
facilitating this procedure.
12. INFANT PLAN OF CARE MANAGEMENT

If the offender does not go to MINT or RPP, she must identify a plan of care for the infant.
Plan of care options may include custodian, adoption, foster care, or agency custody. The
components of this plan should be put in place following the initial assessment. Situations
not addressed below will be managed on a case by case basis with the involvement of unit
team as needed.

Custodian Care
The social worker educates the custodian on expectations for notification and time frames
for taking custody of the infant. The offender is responsible for working with the unit team
to add the custodian to her visitation list. The social worker should be available throughout
the pregnancy to address any needed changes to the offender's plan.

Based on the location of the custodian and the hospital, the social worker cannot notify the
custodian when the offender goes into labor or delivers the infant. It is the responsibility of
the hospital to complete all aspects (i.e., paperwork, transportation of the infant home,
infant medical care, etc.) pertaining to the release of the infant to the custodian. The
hospital determines when the infant will be discharged based on individual medical needs.

Adoption
The offender may choose adoption for her infant. She may select her own agency or private
party for the adoption. The social worker should assist in facilitating communication and
completion of necessary paperwork with all parties. Staff should allow special visits for
adoption coordination. Staff should allow legal visits for adoption attorneys.

Foster Care
The offender may choose foster care for her infant. She may select her own agency for
foster care placement. The social worker should assist in facilitating communication and
completion of necessary paperwork with all parties. Staff should allow special visits for
foster care coordination.

Agency Custody
In the event the pregnant offender does not choose a plan of care (i.e., there is no custodian
and adoption is not arranged), the infant will be considered abandoned. The social worker
should collaborate with hospital staff and local child welfare agency to determine

                                              11




                                                                                         DOJ-00000012
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 17 of 272

Federal Bureau of Prisons                           Managing Pregnant and Postpartum Offenders
Technical Guidance                                                               February 2021

appropriate placement of the infant. The social worker should continue to work with
community agencies and the offender to ensure continuity of care.

13. INSTITUTION BIRTH COMMUNICATION

Each institution should maintain a current list of pregnant offenders including expected
delivery date, security and custody level, projected release date, offender's plan of care for
the infant, and contact information for the person assuming responsibility for the infant
after delivery. The institution identifies appropriate staff to make the birth notification to
the person assuming responsibility for the infant. This includes a plan for after-hours
notifications.

14. SPECIAL CONSIDERATIONS AFTER DELIVERY

After delivery, the offender may care for the infant at the hospital, which includes but is not
limited to, holding and feeding the infant. Additionally, the offender may have access to the
infant within the hospital (i.e., neonatal intensive care unit (NICU), nursery, etc.). The
custodian should have access to the infant, independent of the offender's location at the
hospital.

If the newly delivered infant requires hospitalization after the offender returns to the
institution, institution staff may keep the offender informed of updates regarding the
infant's medical care. The institution may arrange visitation between the offender and the
infant during the infant's hospitalization.

15. RESIDENTIAL REFERRALS

There are two Bureau programs available for pregnant offenders: Mothers and Infants
Together (MINT) and Residential Parenting Program (RPP). The social worker should
discuss these programs with all pregnant offenders and collaborate with the WASPB
regarding offenders who are interested in being referred. Offenders are eligible to enter
MINT or RPP ideally at least two months prior to delivery. The offender may decline
participation at any time. SENTRY codes are updated reflecting referral status and
placement.

Unit Management completes the referral and forwards to the Residential Reentry
Management Branch for consideration. If an offender is found ineligible for MINT or RPP by
Unit Management, SENTRY codes are updated and the Women and Special Populations
Branch (WASPB) is notified.

Referral process goes as follows:
   1. Health services staff indicates whether an offender is approved for a residential
      placement (MINT/RPP). If the offender is not approved based on medical reasons,
      she should be placed on medical hold, so the offender will remain at the current
      institution for monitoring and re-evaluations. Medical denials need to be reported to

                                              12




                                                                                         DOJ-00000013
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 18 of 272

Federal Bureau of Prisons                          Managing Pregnant and Postpartum Offenders
Technical Guidance                                                              February 2021

      WASPB and SENTRY codes updated. (Note: A high-risk pregnancy does not
      automatically eliminate an offender from being eligible and appropriate for
      MINT/RPP.)
   2. If there are no medical contraindications, health services staff complete the EHR Exit
      Summary (Medical/Psychological Pre-Release Evaluation BP-A0351).
   3. SENTRY codes are updated to reflect eligibility status.
Mothers and Infants Together (MINT)
A residential program promoting bonding skills for pregnant offenders. The offender
resides with the infant at all times inside a contract Residential Reentry Center (RRC)
under the direction of the Reentry Services Division (RSD).

It is recommended for the offender and infant to remain in the program for at least 180
days. In consultation with WASPB, additional time may be approved for the offender and
infant to stay in the program.

Eligibility for MINT
    • The offender must be pregnant upon commitment, with an expected delivery date
        prior to her projected release date.
    • The offender or custodian must assume financial responsibility for the infant's
        expenses while residing at MINT.
             o If the offender or custodian are unable or unwilling to bear the infant's
                financial cost, the offender may be returned back to the institution.
    • She must have less than five years remaining on her sentence.
    • There are no plans of placement of the infant for adoption.


Residential Parenting Program (RPP)
The Bureau has an agreement with the state of Washington Department of Corrections to
place qualified, interested pregnant offenders in the RPP at the Washington Correctional
Center for Females in Gig Harbor. This voluntary program allows for pregnant offenders to
reside with their child up to 30 months post-delivery.

Eligibility for RPP
    • Pregnant upon commitment, with an expected delivery date prior to projected
        release date
    • Scored as minimum security with OUT or community (COM) custody
    • Release dates or home detention eligibility dates within 30 months of the expected
        delivery date
    • No 200 or higher series incident reports in the last 6 months
    • Satisfactory or higher work evaluations if applicable
    • Clear of all serious disciplinary violations of an aggressive or assaultive nature
    • No current no-contact orders with minor children, no sex offense convictions, no
        crimes against a child, no domestic violence or other violent convictions, and no
        contact-founded allegation or inclusive referrals for neglect or abuse with child
        protective services

                                             13




                                                                                          DOJ-00000014
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 19 of 272

Federal Bureau of Prisons                          Managing Pregnant and Postpartum Offenders
Technical Guidance                                                              February 2021



16. POSTPARTUM

On return to the institution, the offender will be evaluated by a medical provider and can
be referred to a social worker to determine postpartum needs.

➔ SENTRY PRE-NATAL code needs to be replaced with POSTPARTUM.
Offenders are allowed to nurse infants in the institution visiting room, during visitation.
Health services staff should issue breast pumps to offenders for the purpose of maintaining
milk production. In very rare instances, the Warden may request approval from the Health
Services Division for the offender's milk supply to be stored.

➔ SENTRY codes are updated to reflect the issuance of a breast pump.
17. DOCUMENTATION OF PREGNANCY OUTCOMES

The result of the birth shall be documented in the EHR using the following outcome(s):
   • Live birth
   • Abortion
   • Preterm birth
   • Ectopic pregnancy
   • Miscarriage
   • Still birth
   • Released pregnant
   • Neonatal death
   • Maternal death
   • Other

18. INFANT RELEASE

In the event the offender does not go to a residential program, the status of the infant's
placement should be noted in the EHR (i.e., parent, custodian, adoption, foster care, agency
custody).




                                             14




                                                                                       DOJ-00000015
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 20 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                             Exhibit B
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 21 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                             Exhibit B
              Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 22 of 272




                                                                                PRISONER OPERATIONS
9.5      PREGNANT PRISONER CARE

A.       Proponent: Prisoner Operations Division (POD).

B.       Purpose: This policy directive establishes policy and procedures for the provision of health care
         services to pregnant prisoners in the custody of the United States Marshals Service (USMS).

C.       Authority: The Director derives authority for the care and custody of prisoners from 28 C.F.R. §
         0.111 (j), (k) and 18 U.S.C. § 4086. The Director’s authority to manage standards for prisoner
         health care derives from 18 U.S.C. §§ 4006, 4013, 4241- 4247; and S.142 - Hyde Amendment
         Codification Act.

D.       Policy:

         1.        All prisoners will receive medically necessary health care services.

         2.        Emergency health care will be provided immediately to prisoners (no pre-authorization is
                   required).

         3.        Only POD, Office of Medical Operations (OMO) authorized health care personnel can
                   deny or defer requests.

         4.        Pregnant prisoners will have access to obstetric care.

         5.        The prisoner is solely responsible for determining whether to have an abortion or to bear
                   the child.

         6.        The USMS is not responsible for the care of the infant after delivery.

         7.        Under no circumstances will a newborn child accompany the prisoner to the detention
                   facility.

         8.        A prisoner may elect to have an abortion consistent with state law, but federal funds
                   cannot be used to pay for an abortion unless the prisoner became pregnant as a result of
                   rape or incest; or the prisoner’s life is in danger as a result of the pregnancy.

         9.        Federally funded abortions require POD/OMO and Office of General Counsel (OGC)
                   review unless there is a medical emergency.

         10.       Other than security and reasonable transportation to/from an appropriate facility, the
                   USMS will not assist the prisoner in non-federally funded abortions.

         11.       All requests for exceptions to this policy will be sent in memorandum format with the
                   United States Marshal’s signature to the Assistant Director, POD.

E.       Responsibilities:

         1.        POD:

                   a.        Provides professional expertise and guidance to districts for pregnant prisoner
                             care;

                   b.        Adjudicates all pregnancy services not listed in USMS Publication 9, Prisoner
                             Health Care Guidance to Districts; and
USMS Policy Directive 9.5, Pregnant Prisoner Care                                                    Page 1 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                       DOJ-00001151
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 23 of 272



                   c.        Notifies OGC when a prisoner requests a federally funded abortion (i.e., life
                             endangerment, rape).

         2.        Districts:

                   a.        Notify POD/OMO when a USMS prisoner pregnancy is confirmed via the
                                                                                                                 .
                   b.        Contact the U.S. Attorney’s office to review the potential for releasing the
                             prisoner on bond or personal recognizance upon notification of a USMS prisoner
                             pregnancy or abortion request;

                   c.        Notify POD/OMO when there is a court motion or order to provide pregnancy
                             services not listed in USMS Publication 9.

                   d.        Inform the prisoner and/or her attorney that the prisoner is responsible for making
                             all arrangements for the infant’s care;

                   e.        Assist the prisoner, as appropriate, in coordinating child custody arrangements
                             with family or community social services;

                   f.        Notify the hospital of USMS financial responsibilities;

                   g.        Notify POD/OMO                            when a USMS prisoner requests an
                             abortion;

                   h.        Obtain the prisoner’s written consent for an abortion;

                   i.        Ensure all financial arrangements are complete prior to transporting a prisoner
                             for a non-federally funded abortion; and

                   j.        Arrange for the prisoner to have a federally funded abortion only after OGC has
                             determined that the legal requirements of the Hyde Amendment have been met.

         3.        OGC: Provides guidance to POD/OMO related to any federally funded abortion requests
                   and the legal requirements of the Hyde Amendment.

F.       Procedures:

         1.        Pregnancy Notifications:

                   a.        If the district is made aware of a prisoner’s reported pregnancy prior to the
                             prisoner reaching the detention facility, the district will request the detention
                             facility confirm a pregnancy.

                   b.        Per USMS Policy Directive 9.4, Prisoner Health Care Management, the district
                             will notify POD/OMO of the prisoner’s pregnancy by using                . The
                             prisoner medical submission will include:

                                      Detention facility prisoner medical submission;

                                      Jail contact information; and

                                      Supporting medical documentation as needed.

                   c.        POD/OMO will acknowledge the pregnancy notification in                         and
                             provide additional instructions related to prenatal care of the prisoner and confirm
                             the pre-authorization of any future routine care related to the pregnancy as
                             indicated in USMS Publication 9.

                   d.        The district will update the “Cautions and Medical Conditions” section of the
                                                                                                     .


USMS Policy Directive 9.5, Pregnant Prisoner Care                                                         Page 2 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                         DOJ-00001152
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 24 of 272



                                      This record entry will indicate the prisoner is pregnant and the expected
                                      delivery date, if known.

                                      If the prisoner will be transported, the district will print                 to
                                      accompany the prisoner.

                   e.        The district will notify appropriate court officials (e.g., Defense Attorney, U.S.
                             Attorney’s office) to review the possibility for the prisoner’s release on bond or
                             personal recognizance.

                   f.        The district will provide immediate written notice via

                                                                                              to the health care
                             facility and the attending physician for termination of financial responsibility if a
                             prisoner is released from USMS custody.

         2.        Prenatal Care:

                   a.        The district will refer to USMS Policy Directive 9.4 and USMS Publication 9 for
                             pre-natal care authorization and to arrange for child delivery.

                                      Once POD/OMO approves a pre-authorization for routine care, it will
                                      cover all subsequent routine visits associated with that pregnancy.

                                      The district will contact POD/OMO using                       to get
                                      approval for “non-routine prenatal care” (e.g., testing, additional
                                      ultrasounds, amniocentesis, home uterine monitoring devices, and stress
                                      tests).

                   b.        The USMS Medical Director must approve requests for voluntary surgical
                             sterilization (even during delivery) unless court ordered.

         3.        Child Delivery, Custody, and Financial Responsibilities:

                   a.        The district must promptly inform the prisoner prior to delivery that she is
                             responsible for making formal arrangements for the custodial placement of the
                             child immediately after birth.

                                      The district will advise the prisoner to contact her attorney to assist in
                                      determining custodial care (e.g., relatives, friends, community social
                                      services).

                                      The district will assist the prisoner, as appropriate, in contacting the
                                      prisoner’s family or community social service agency to assist the
                                      prisoner in determining the placement of the child.

                   b.        The prisoner or attorney will notify the district who will be providing custodial care
                             and financial responsibility for the infant upon delivery using



                                      The purpose of                                            is to specify
                                      financial responsibility for any children born to a prisoner while in USMS
                                      custody.

                                      The individual or entity who will assume responsibility for the child or
                                      children immediately after delivery will complete
                                                 .

                                      The district will provide a copy of the completed
                                                   to all attending physicians, as well as to the hospital where
                                      the prisoner will be admitted for maternity care and delivery.

USMS Policy Directive 9.5, Pregnant Prisoner Care                                                          Page 3 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                          DOJ-00001153
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 25 of 272



                                      The district will upload the                                               .

                   c.        The district will provide written notification to the attending physician and the
                             hospital of billing responsibilities and requirements related to the pregnancy well
                             in advance of the prisoner’s admission to the hospital for delivery. The
                             notification will include the following statements.

                                      The USMS will reimburse the hospital for costs related to the labor and
                                      delivery of this individual’s infant(s), as well as for her room and board for
                                      up to 48 hours post-delivery for a vaginal delivery or up to 72 hours post-
                                      delivery for a cesarean delivery at the Medicare rate.

                                      The USMS will reimburse the hospital only for costs directly related to
                                      the delivery of this individual’s infant(s).

                                      The USMS will not reimburse the hospital for any costs directly related to
                                      the care of the infant(s) born to this individual, including the first newborn
                                      and routine screening.

                                      No other procedures are authorized at this time, including voluntary
                                      sterilizations done at the time of delivery.

                                      If additional procedures are necessary, contact the local USMS office for
                                      pre-authorization.

                                      All invoices must be submitted to the USMS district office on one of the
                                      following forms:

                                      a)        OMB-0938-1197 CMS-1500, Health Insurance Claim Form; or

                                      b)        Form CMS-1450, UB-04 Uniform Bill, to the USMS district office.

                                      The USMS pays no more than Medicare rates.

                                      A sample notification letter explaining physician and hospital billing
                                      responsibilities and requirements related to the pregnancy is located on
                                      the POD/OMO Intranet site.

                   d.        After delivery, the district will return the post-partum prisoner from the hospital to
                             the detention facility.

                   e.        Under no circumstances will a newborn child accompany the prisoner to the
                             detention facility, except in accordance with the detention facility’s visitation
                             policy.

         4.        Federally Funded Abortions:

                   a.        The prisoner may elect to have an abortion consistent with state law and federal
                             law and will notify authorities (e.g., detention facility, attorney, court, district) of
                             such decision.

                   b.        The district will notify POD/OMO via                       if the prisoner requests to
                             have an abortion per USMS Policy Directive 9.4.

                   c.        The USMS may expend federal funds only for abortions when the pregnancy will
                             result in prisoner’s life endangerment or when the pregnancy was the result of
                             rape or incest.

                   d.        Except in medical emergencies, the district will coordinate with legal and/or
                             medical authorities to obtain the following documentation to support the request
                             for a federally funded abortion.


USMS Policy Directive 9.5, Pregnant Prisoner Care                                                           Page 4 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                           DOJ-00001154
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 26 of 272



                                      Pregnancy was the result of rape: The district will coordinate with the
                                      appropriate authorities (e.g., medical provider, U.S. Attorney’s office,
                                      Defense Attorney) to verify and document the circumstances of the rape.
                                      In situations where medical evidence is not available, a judicial authority
                                      may make the determination that the prisoner’s claim of rape is
                                      substantiated.

                                      Endangerment of prisoner’s life: The attending physician must
                                      provide a written statement with supporting documentation that the life of
                                      the mother would be endangered if the fetus were carried to term.

                   e.        The district will ensure the above legal and medical statements and related
                             documents are forwarded to POD/OMO                           .

                                      POD/OMO will verify adequate medical documentation has been
                                      provided to support the federally funded abortion request.

                                      POD/OMO will forward the abortion request to OGC with a medical
                                      recommendation.

                                      OGC will review the request to determine whether federal funds may be
                                      used in accordance with federal statutes (e.g., Hyde Amendment).

                                      POD/OMO will notify the district of OGC’s determination and update
                                               .

                   f.        If the request for a federally funded abortion has met the requirements of the
                             Hyde Amendment and the prisoner chooses to have an abortion, the district will:

                                      Obtain the prisoner’s written consent for the abortion; and

                                      Make the necessary arrangements for the prisoner to have an abortion at
                                      an appropriate medical facility at government expense.

                   g.        After the abortion, the district will return the prisoner from the hospital to the
                             detention facility.

         5.        Non-federally Funded Abortions:

                   a.        The prisoner may elect to have an abortion consistent with state law and federal
                             law and will notify authorities (e.g., detention facility, U.S. Attorney’s office,
                             district) of such decision.

                   b.        The district will notify POD/OMO via                       if the prisoner requests to
                             have an abortion per USMS Policy Directive 9.4.

                   c.        The district will have the prisoner sign a written statement acknowledging her
                             decision to have an abortion and her acceptance of financial responsibility for the
                             abortion.

                                      The prisoner and her defense attorney will identify required funding for
                                      the abortion and may access community resources to assist with the
                                      abortion.

                                      In addition to supporting medical information confirming the prisoner’s
                                      pregnancy, the district will upload the prisoner’s written statement
                                      acknowledging her decision to have an abortion and her acceptance of
                                      financial responsibility for the abortion to                  .

                   d.        The district will have the prisoner, through her attorney, finalize all financial
                             arrangements before the district makes any transportation arrangements.


USMS Policy Directive 9.5, Pregnant Prisoner Care                                                          Page 5 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                          DOJ-00001155
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 27 of 272



                                      Other than transportation and security, the district will not assist in this
                                      process.

                                      USMS funds may be used only for security and reasonable
                                      transportation to/from an appropriate facility to perform the abortion.

                   e.        After the abortion, the district will return the prisoner from the hospital or
                             procedure facility to the detention facility.

G.       Definitions:

         1.        Prenatal Care: Medical care provided during pregnancy, routine health screenings
                   (weight, blood pressure, pulse, and temperature), routine lab tests, prenatal vitamin
                   supplements, and nutritional counseling.

H.       References:

         1.        28 C.F.R. § 0.111, General Functions.

         2.        18 U.S.C. § 4006, Subsistence for Prisoners.

         3.        18 U.S.C. § 4013, Support of United States Prisoners in Non-Federal Institutions.

         4.        18 U.S.C. § 4086, Temporary Safe-Keeping of Federal Offenders by Marshals.

         5.        18 U.S.C. § 4241, Determination of Mental Competency to Stand Trial to Undergo Post
                   Release Proceedings.

         6.        18 U.S.C. § 4242, Determination of the Existence of Insanity at the Time of the Offense.

         7.        18 U.S.C. § 4243, Hospitalization of a Person Found Not Guilty Only by Reason of
                   Insanity.

         8.        18 U.S.C. § 4244, Hospitalization of a Convicted Person Suffering from Mental Disease
                   or Defect.

         9.        18 U.S.C. § 4245, Hospitalization of an Imprisoned Person Suffering from Mental
                   Disease or Defect.

         10.       18 U.S.C. § 4246, Hospitalization of a Person Due for Release but Suffering from Mental
                   Disease or Defect.

         11.       18 U.S.C. § 4247, General Provisions for Chapter.

         12.       Hyde Amendment Codification Act, dated January 24, 2013.

         13.       USMS Policy Directive 9.4, Prisoner Health Care Management.

         14.       USMS Publication 9, Prisoner Health Care Guidance to Districts.




         19.       OMB-0938-1197 CMS-1500, Health Insurance Claim Forms.


USMS Policy Directive 9.5, Pregnant Prisoner Care                                                             Page 6 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                         DOJ-00001156
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 28 of 272



         20.       UB-04 Uniform Bill (CMS-1450), Health Insurance Claim Form (for Medicare
                   Administrative Contractors).

I.       Cancellation Clause: Supersedes USMS Policy Directive 9.5, Health Care for Pregnant
         Prisoners, updated October 9, 2018, and will remain in effect until superseded, updated, or
         cancelled.

J.       Authorization and Date of Approval:

         By Order of:                                     Effective Date:



                  /s/                                       12/16/2019
         Donald W. Washington
         Director
         U.S. Marshals Service




USMS Policy Directive 9.5, Pregnant Prisoner Care                                                Page 7 of 7
Effective Date: 12/16/2019 (Updated: 02/17/2021)
                                                                                                DOJ-00001157
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 29 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                            Exhibit C
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 30 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                            Exhibit C
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 31 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 32 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 33 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 34 of 272
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 35 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                            Exhibit D
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 36 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,            §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §   Case No. 1:21-cv-00796-RP
                                     §
THE STATE OF TEXAS,                  §
                                     §
      Defendant.                     §




                            Exhibit D
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 37 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 38 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 39 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 40 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 41 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 42 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 43 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 44 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 45 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 46 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 47 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 48 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 49 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 50 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 51 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 52 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 53 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 54 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 55 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 56 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 57 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 58 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 59 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 60 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 61 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 62 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 63 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 64 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 65 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 66 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 67 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 68 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 69 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 70 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 71 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 72 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 73 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 74 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 75 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 76 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 77 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 78 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 79 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 80 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 81 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 82 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 83 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 84 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 85 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 86 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 87 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 88 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 89 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 90 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 91 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 92 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 93 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 94 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 95 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 96 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 97 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 98 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 99 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 100 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 101 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 102 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 103 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 104 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 105 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 106 of 272
     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 107 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                             Exhibit E
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 108 of 272




  POLICY AND REQUIREMENTS
         HANDBOOK



             CHAPTER 2:
       STUDENT SUPPORT SERVICES




                      JUNE 15, 2021
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 109 of 272
PRH Chapter 2: Student Support Services                                                                                           Page i



                                              TABLE OF CONTENTS
2.0   INTRODUCTION ............................................................................................................... 2.0-1

2.1   COUNSELING................................................................................................................... 2.1-1

      Requirements.................................................................................................................. 2.1-1
         R1. Organization ...................................................................................................... 2.1-1
         R2. Personal Assessment and Counseling Services ................................................ 2.1-1
         R3. Career Assessment and Counseling .................................................................. 2.1-2
         R4. My Pathway to Achieving Career Excellence Career Plan .............................. 2.1-3
         R5. Placement Readiness ......................................................................................... 2.1-4

2.2   COMMUNITY LIVING (RESIDENTIAL) ............................................................................ 2.2-1

      Requirements.................................................................................................................. 2.2-1
         R1. Student Self-Management Skills Development ................................................ 2.2-1
         R2. Supervision of Student Living Areas ................................................................ 2.2-1
         R3. Recreational Planning ....................................................................................... 2.2-1
         R4. Recreational Activities ...................................................................................... 2.2-2
         R5. Recreation Supervision ..................................................................................... 2.2-3
         R6. Community Service Projects............................................................................. 2.2-3
         R7. Water Safety Training ....................................................................................... 2.2-3
         R8. Use of Movies ................................................................................................... 2.2-3
         R9. Leisure Time Employment ............................................................................... 2.2-3
         R10. Student Benefit Fund ........................................................................................ 2.2-4
         R11. Welcome Kit ..................................................................................................... 2.2-5
         R12. Laundry Services .............................................................................................. 2.2-5
         R13. Mail Services .................................................................................................... 2.2-5
         R14. Linen and Bedding ............................................................................................ 2.2-5
         R15. Inventory ........................................................................................................... 2.2-5

2.3   HEALTH SERVICES ......................................................................................................... 2.3-1

      Requirements.................................................................................................................. 2.3-1
         R1. Student Introduction to Health Services ........................................................... 2.3-1
         R2. Health and Wellness Program ........................................................................... 2.3-1
         R3. Oral Health and Wellness Program................................................................... 2.3-4
         R4. Mental-Health and Wellness Program .............................................................. 2.3-5
         R5. Trainee Employee Assistance Program (TEAP) ............................................... 2.3-7
         R6. Tobacco Use Prevention Program (TUPP) ..................................................... 2.3-11
         R7. Family Planning Program ............................................................................... 2.3-12
         R8. HIV/AIDS ....................................................................................................... 2.3-13
         R9. Healthy Eating and Active Lifestyles ............................................................. 2.3-15
         R10. Health Aspects of Sports ................................................................................. 2.3-15
         R11. Basic Health Services Provided by Job Corps Centers ................................... 2.3-16
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 110 of 272
PRH Chapter 2: Student Support Services                                                                                            Page ii


           R12. Health and Medical Costs Exceeding Basic Health Services Provided by Job
                Corps Centers .................................................................................................. 2.3-16
           R13. Professional Standards of Care ....................................................................... 2.3-16
           R14. Medication Management ................................................................................ 2.3-17
           R15. Waiver of Medical Care .................................................................................. 2.3-17
           R16. Health Care Guidelines ................................................................................... 2.3-17
           R17. Communicable Disease and Infection Control ............................................... 2.3-18
           R18. Inventory Records ........................................................................................... 2.3-18
           R19. Continuous Quality Improvement................................................................... 2.3-18

2.4   DISABILITIES .................................................................................................................. 2.4-1

      Requirements.................................................................................................................. 2.4-1
         R1. Disability Coordinators ..................................................................................... 2.4-1
         R2. Disability Accommodations.............................................................................. 2.4-1
         R3. Reasonable Accommodation Process ............................................................... 2.4-1
         R4. CIS Disability Data Collection and Accommodation Plans ............................. 2.4-2
         R5. Referral Process ................................................................................................ 2.4-2

2.5   STUDENT CONDUCT........................................................................................................ 2.5-1

      Requirements.................................................................................................................. 2.5-1
         R1. Incentives .......................................................................................................... 2.5-1
         R2. Rules and Sanctions .......................................................................................... 2.5-1
         R3. Investigation and Disposition of Incidents ....................................................... 2.5-2
         R4. Appeal Process .................................................................................................. 2.5-2
         R5. Regional Appeals Board ................................................................................... 2.5-2
         R6. Bullying and Sexual Harassment Training ....................................................... 2.5-5

2.6   EVALUATION OF STUDENT PROGRESS ........................................................................... 2.6-1

      Requirements.................................................................................................................. 2.6-1
         R1. Evaluation of Student Progress ......................................................................... 2.6-1
         R2. Content of Evaluations ...................................................................................... 2.6-1
         R3. Transition to Career Development Period ........................................................ 2.6-2

EXHIBITS

Exhibit 2-1        Infraction Levels, Definitions, and Appropriate Center Actions
Exhibit 2-2        Requirements for the Conduct of Fact-Finding Boards
Exhibit 2-3        Menu of Progressive Discipline Interventions and Sanctions for Minor Infractions
Exhibit 2-4        Job Corps Basic Health Care Responsibilities
Exhibit 2-5        Placement Pathway Prerequisites for Entry
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 111 of 272
PRH Chapter 2: Student Support Services                                                    Page iii


APPENDICES

Appendix 201      Communicating with Persons with Disabilities
Appendix 202      Transmission, Storage, and Confidentiality of Medical, Health, and Disability-
                  Related Information
Appendix 203      Medication Management Guidelines

FORMS

Form 2-01       Notice of Medical information Use, Disclosure, and Access
Form 2-02       HIV Testing Information Sheet
Form 2-03       Definitions and Documentation Requirements Related to Reasonable
                Accommodations for Applicants and Students with Disabilities
Form 2-04       Individualized Assessment of Possible Direct Threat
Form 2-05       Health Care Needs Assessment
Form 2-06       MyPACE Career Plan Review Checklist
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 112 of 272
PRH Chapter 2: Student Support Services                                                Page 2.0-1



2.0 INTRODUCTION
Chapter 2, Student Support Services which in addition to Chapter 3, covers career preparation
period and career development period activities, provides a framework of requirements for center
contractors in areas such as counseling, personal and career assessment, community living,
leisure time employment, student benefit fund, health and wellness program, healthy lifestyle,
disability accommodations and processes, student conduct, student sanctions, investigations,
appeals, evaluation of student progress, and transition to the career development period among
others. Requirements are detailed in the following sections within the chapter: Counseling;
Community Living (Residential); Health Services; Disabilities; Student Conduct; and Evaluation
of Student Progress. Job Corps enrollees must be provided services consistent with the
Workforce Innovation and Opportunity Act and Job Corps requirements contained herein. Center
staff are tasked with all areas of personal and career counseling and assessment of students,
collaborating with students to create a My Pathway to Achieving Career Excellence Career Plan,
overseeing residential community living and developing activities and events, providing
welcome kits and basic living services, health services, trainee employee assistance program
services, disability services, student conduct rewards and sanctions, and ongoing, frequent
evaluations of student progress.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 113 of 272
PRH Chapter 2: Student Support Services                                                  Page 2.1-1



2.1 COUNSELING
REQUIREMENTS

R1. Organization

      Centers must provide personal counseling services with the following features:

      a. Designated counseling staff or qualified professionals

      b. Assigned caseloads

      c. Personal counseling sessions

      d. Availability of counseling services on weekends and in the event of emergencies

R2. Personal Assessment and Counseling Services

      Centers must provide intensive ongoing personal assessment and counseling services early
      within the first 60 days of the student’s stay on center. These services will continue as
      needed throughout the student’s enrollment to identify, assess, and assist students to
      address personal barriers to progress in academic and career technical training programs,
      with the following features:

      a. An intake assessment, including student history, conducted during the first 48 hours of
         enrollment (see Chapter 3, Section 3.4, R7 and R8). A copy of this assessment must be
         submitted to the Health and Wellness center for review and inclusion in the student’s
         health record

      b. Ongoing structured, scheduled, and documented individual social development and
         adjustment counseling

      c. Group support sessions designed to identify and address specific issues, such as abuse,
         relationships, child care, homesickness, language and cultural barriers, etc.

      d. Identification of students who need more intensive services and referral to such services

      e. Intervention, implementation, and documentation of strategies to address personal
         issues, including mental health, medical issues, and challenges for English Language
         Learners (ELL)

      f. Support services, to include assisting with Unauthorized Absence (UA) retrieval;
         conferring with parents, Admissions Counselors, Career Transition Specialists, and
         social service agencies; and providing referrals to community resources, as appropriate

      g. Availability of counseling services on weekends and in the event of emergencies
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 114 of 272
PRH Chapter 2: Student Support Services                                                     Page 2.1-2




R3. Career Assessment and Counseling

      Centers must provide career assessment and counseling services throughout the student’s
      enrollment with the following features:

      a. Ongoing structured, scheduled, and documented individual career counseling sessions,
         which may be scheduled as part of a student’s career development activities

      b. Management of students’ career development through collaboration among the student,
         counselor, and interdepartmental Career Management Team (CMT) to assist the student
         in:

          1. Setting and updating incremental short-term, mid-term, and long-term personal and
             career goals by ensuring Pathway Achievement Record (PAR) completion progress
             is current

          2. Developing strategies and identifying actions necessary for students to prepare for
             and attain academic credentials and industry-recognized certifications

          3. Identifying personal strengths and career challenges

          4. Resolving personal issues affecting career readiness

          5. Assessing transitional support needs and developing strategies to meet those needs

      c. Counselors must know and remain current on industry certifications offered and
         requirements for attainment

      d. During the Career Preparation Period, staff will assist students in identifying initial
         career goals and developing personalized strategies to reach those goals through:

          1. An individualized schedule of appropriate academic, career technical training, and
             evening/weekend studies

          2. Exposure, practice, and experiences to meet the Career Success Standards

          3. Personal and career counseling to develop appropriate strategies and identify
             resources to address issues

      e. A review and confirmation of the student’s initial My Pathway to Achieving Career
         Excellence (MyPACE) Career Plan and mid-term career pathway goals, within 30 days
         of entry into the Career Development Period

      f. Trained staff who can assist students, for whom a change of mid-term career
         (placement) goal is determined appropriate to:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 115 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.1-3




          1. Modify the MyPACE Career Plan and reassign the student to a revised PAR.

          2. Submit the revised Career Plan to the Center Director or senior management
             designee for review and approval.

          3. Retain a copy of the approved revised Career Plan and revised Pathway
             Achievement Record in the student’s permanent personnel file. (See Chapter 6,
             Section 6.4, R17, Student Personnel File.)

      g. Regular assessments and evaluations of student progress in meeting career goals in
         academic and career technical education and training programs, reviewing, and
         updating the student’s MyPACE Career Plan and the PAR in accordance with Chapter
         2, Section 2.6, R1 and R2

R4. My Pathway to Achieving Career Excellence Career Plan

      a. Centers must collaborate with each student to initiate a MyPACE Career Plan that must
         document the student’s personal career goals, training needs, challenges, progress and
         accomplishments throughout enrollment and the post-center Career Transition Period.

          At a minimum, the MyPACE Career Plan must include:

          1. Student long-term career goal (the ultimate career that the student will progress
             toward)

          2. Mid-term career pathway placement goals (immediate next steps upon Job Corps
             completion to support career progression), including one of the following:
             (a) Entry-level job placement in an in-demand industry sector on the pathway to the
                 student’s ultimate career
             (b) Entry into an apprenticeship program
             (c) Participation in one of Job Corps’ Advanced Training (AT) programs
             (d) Enlistment in the armed services to pursue a career in the military
             (e) Enrollment in post-secondary education
          3. Student short-term specific, measurable, attainable, recorded, and time-bound
             (SMART) goals

          4. Desired geographic residence/work location

          5. Student interests, aptitudes, values, work styles, and career technical training
             preferences and choices

          6. Details regarding a student’s prior employment, including:
             (a) employer
             (b) location
             (c) job title
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 116 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.1-4


              (d) ending wage

              Centers must verify the accuracy of this information.

          7. Student training needs to achieve career goals
             (a) Academic
             (b) Career technical training
             (c) Career Success Standards
             (d) Job search skills
             (e) Information technology (IT) skills
             (f) Driver’s education and license

          8. Progress/accomplishments/achievements

          9. Career transition needs/challenges/strategies
             (a) Housing
             (b) Transportation
             (c) Child care
             (d) Health care
             (e) Work clothing and tools
             (f) Food and nutrition
             (g) Budgeting/money management
             (h) Counseling/mentoring
             (i) Job retention skills
             (j) Legal services
             (k) Application for federal funding for advanced education, as appropriate

      b. Students must update their MyPACE Career Plan by completing the accompanying
         curriculum. Once the MyPACE Career Plan is complete, students must be assigned the
         appropriate Pathway Achievement Record (PAR) that matches their mid-term goal.
         Students must update their PARs on an ongoing basis, in cooperation with appropriate
         staff, no less frequently than at each student’s regularly scheduled evaluation of student
         progress.

      c. Each student’s completed MyPACE Career Plan and PAR must be uploaded to the
         appropriate section of the Center Information System (CIS) e-Folder. Students must be
         provided copies of their MyPACE Career Plan and PARs whenever changes are made
         to the plan and at separation.

R5. Placement Readiness

      To ensure that each student is fully prepared to effectively access resources and services
      that assist them in making a successful transition to his/her mid-term goal the
      interdepartmental Career Management Team (CMT) must:

      a. Collaborate with the Career Transition Service Provider and each student to:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 117 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.1-5




          1. Update and finalize the student’s My Pathway to Achieving Career Excellence
             (MyPACE) Career Plan and Pathway Achievement Records (PAR);

          2. Review and verify the student’s mid-term career goal to:

              (a) Ensure the student has completed all assigned mid-term goal PAR tasks and
                  activities and has proper supporting documentation of completed tasks;
              (b) Verify the student’s understanding of the next steps needed to transition to the
                  chosen mid-term career goal; and career pathway remains appropriate;
              (c) Confirm the student’s transitional support needs and strategies to address them.

      b. Facilitate the student’s connection with his/her assigned Career Transition Specialist.

      c. Submit each student’s final MyPACE Career Plan and PAR to the Center Director or
         senior management designee for review and approval.

      d. Retain a copy of the approved final MyPACE Career Plan and PAR in the student’s
         permanent personnel file. (See Chapter 6, Section 6.4, R17, Student Personnel File.)

      e. Upload a copy of the final MyPACE Career Plan and PAR in the Center Information
         System (CIS) e-Folder for the student’s assigned Career Transition Specialist to access.

      f. Ensure student has access to his/her final MyPACE Career Plan and PAR.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 118 of 272
PRH Chapter 2: Student Support Services                                                       Page 2.2-1



2.2 COMMUNITY LIVING (RESIDENTIAL)
REQUIREMENTS

R1. Student Self-Management Skills Development

      Centers must develop systems that involve students in the management of their living
      areas, which must incorporate the following features:

      a. Opportunities for all students to have input into the development of the center policies
         governing the management of their living areas

      b. Procedures to solicit input and feedback from, and disseminate information to students

      c. Student responsibility for maintaining cleanliness within their living areas

      d. Progressive opportunities to learn, practice, demonstrate personal responsibility and
         self-management skills, and to complete career pathway planning activities and Pathway
          Achievement Records (PAR)

R2. Supervision of Student Living Areas

      Centers must:

      a. Provide staff supervision in all student living areas at levels that assure visibility, the
         safety, security, and accountability of all students at all times.

      b. Develop a structured process for sharing information that ensures effective student
         accountability.

R3. Recreational Planning

      Centers must:

      a. Develop and maintain a calendar of recreational activities and events, and distribute the
         schedule to students in advance of the activities listed.

      b. Involve students in selecting and planning recreational activities.

      c. Conduct periodic surveys of student recreational interests and participation, and use the
         information gathered in planning recreational activities.

      d. Coordinate with career technical, academic, counseling staff, and social development
         staff to ensure integration of student training, including completion of My Pathway to
         Achieving Career Excellence (MyPACE) PARs, with leisure time activities.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 119 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.2-2


      e. Consider cost effective options in planning off-center recreational activities.

R4. Recreational Activities

      Centers must provide a wide variety of activities open to all students. Activities should
      reinforce and provide time to practice communication skills, to demonstrate positive
      attitudes and behaviors, and to work and participate in groups.

      a. Activities must include but are not limited to:

          1. Group fitness classes

          2. Individual fitness activities

          3. Organized sports

          4. Exercise groups or clubs

          5. Group sessions with employers or career professionals

          6. Entrepreneurship classes

          7. Evening resume writing and interview techniques

          8. Volunteering, mentoring or tutoring

      b. May include:

          1. Cultural events

          2. Dancing and theater

          3. Radio and/or television mockups

          4. Playwright, rap and poetry seminars

          5. Physical education and conditioning (yoga, spinning, etc.)

          6. Arts and crafts

          7. Reading and computer resource facilities

          8. Entrepreneurship classes
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 120 of 272
PRH Chapter 2: Student Support Services                                                        Page 2.2-3


R5. Recreation Supervision

      Centers must provide adequate staff supervision of events, activities, facilities, and
      equipment to ensure participant safety.

R6. Community Service Projects

      Centers must provide opportunities for staff and students to participate in community
      service activities.

R7. Water Safety Training

      Centers must:

      a. Provide students with instruction in water safety as follows:

          1. All centers must provide a video-taped presentation on water safety.

          2. Centers sponsoring recreation trips that involve swimming, in-water activities, or
             access to pools/other bodies of water must provide water safety instruction and
             swimming proficiency tests for all students.

          3. Centers with pools or ready access to pools/other bodies of water must provide
             water safety instruction and swimming proficiency tests for all students.

      b. Prohibit students from participating in swimming or other water-related activities until
         they have received water safety instruction and demonstrated swimming proficiency.

      c. Ensure that all water-related activities are supervised by certified lifeguards.

      d. Require the use of the buddy system in all swimming activities, and the use of personal
         flotation devices in all boating activities.

R8. Use of Movies

      Centers showing movies of commercial motion pictures to students on center must be
      licensed to do so under an umbrella license through a national agreement between the
      National Office of Job Corps (NOJC) and the Motion Picture Licensing Corporation.

      Centers will receive a list of movie titles directly from the vendor(s) each month indicating
      the movies covered under the agreement. Center Operators will assume liability for
      showing any movie(s) that do not appear on the list.

R9. Leisure Time Employment

      a. Centers may authorize gainful leisure time employment of students so long as the
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 121 of 272
PRH Chapter 2: Student Support Services                                                  Page 2.2-4


          employment does not interfere with training activities.

      b. Leisure time employment is not considered training or work-based learning.
         Accordingly, students are not considered federal employees for Federal Employees’
         Compensation ACT (FECA) purposes while engaged in leisure time employment,
         except when the employment occurs on center.

R10. Student Benefit Fund

      Centers must establish a student benefit fund to be managed by the Student Government
      Association (SGA) with the assistance of center staff. The purpose of the fund will be to
      provide the SGA with the ability to purchase items and services for the benefit of all
      students. The fund must have the following features:

      a. Be self-supporting and must not include any appropriated Job Corps funds. Allowable
         sources of income include, but are not limited to, the following:

          1. Operation of a store or canteen

          2. Operation of other concessions, such as vending machines

          3. Student fines

          4. Student fund-raising activities

      b. A staff member designated to assist the SGA officers in overseeing the operation of the
         fund.

      c. May not be used to pay for goods or services that are normally part of center operating
         costs.

      d. A simple accounting system for the student benefit fund and involve SGA officers in
         the management of the accounting system. The accounting system must include, at a
         minimum, the following:

          1. A written accounting and audit plan

              The accounting plan must ensure the integrity of the fund by establishing an
              appropriate set of checks and balances, to include, at a minimum dual approval of
              all expenditures by the SGA president or designee and the center director or
              designee.

          2. Separation of payment and collection duties

          3. Maintenance of a bank account (checking or savings or both)
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 122 of 272
PRH Chapter 2: Student Support Services                                                     Page 2.2-5


          4. A written record of income and expenditures

          5. Periodic financial reports

          6. Annual audits by the center operator (corporate office or agency headquarters
             designee)

R11. Welcome Kit

      Upon arrival, centers must provide each residential student with the following personal
      items at no cost to the student:

      a. Towels and wash cloths

      b. Laundry bag

      c. Toiletries

R12. Laundry Services

      Centers must provide adequate laundry facilities and supplies to residential students at no
      cost to the student, and training to students in the proper use of laundry equipment.

R13. Mail Services

      Centers must establish a secure, confidential, and prompt system for the receipt and
      distribution of mail and packages through the U.S. Postal Service and commercial delivery
      services.

R14. Linen and Bedding

      Centers must provide adequate linen and bedding for all residential students.

R15. Inventory

      Centers must:

      a. Conduct and record an inventory of clothing and other personal effects when a student
         enters the residential program, and update the inventory after each clothing issue or
         purchase.

      b. Inventory and secure a student’s clothing and personal effects when the student is absent
         from the center without permission for more than 24 hours.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 123 of 272
PRH Chapter 2: Student Support Services                                                                      Page 2.3-1



2.3 HEALTH SERVICES
REQUIREMENTS

R1. Student Introduction to Health Services

        Centers must provide an overview of health services to new students by a member of the
        health services staff during the Career Preparation Period (CPP). This must include an
        explanation of procedures/tests that are performed as part of the medical and oral exam,
        information on Human Immunodeficiency Virus (HIV) and other sexually transmitted
        diseases, safe sex practices, family planning services, Trainee Employee Assistance
        Program (TEAP) services, mental health services, the importance of good health to
        obtain/maintain employment, and the notice describing how medical information about
        students may be used, disclosed, and how students can get access to this information.

R2. Health and Wellness Program (See Exhibit 2-4, Job Corps Basic Health-Care
    Responsibilities.)

        Centers must provide basic1 medical services to students. The Health and Wellness
        Program must include the following components:

        a. A cursory health evaluation2, laboratory testing, and a medical history within 48 hours
           of arrival on center. The medical history must be documented on the Job Corps Health
           History Form. The cursory health evaluation and medical history must be conducted by
           a qualified health professional designated by the Center Physician.

        b. A complete entrance physical examination3 and a review of the medical history within
           14 days. The cursory evaluation, with the exception of the required entrance laboratory
           testing, may be omitted if the physical examination is conducted within 72 hours of a
           student’s arrival on center. The physical examination must be provided by a qualified4
           health professional and documented on the Job Corps Physical Examination Form.

             1. When indicated, the center must furnish one pair of glasses that meet American
                National Standards Institute (ANSI) standards.

             2. Contact lenses must be provided if clinically indicated. Students who lose or
                damage glasses provided by Job Corps must replace them at their own expense.

             3. Students identified as having chronic health problems during the cursory or
                entrance physical must be monitored as directed by the Center Physician or other
                appropriate center health-care provider.

1
    For a description of basic services, refer to Exhibit 2-4 (Job Corps Basic Health Care Responsibilities).
2
    Reinstated and transfer students are exempt from the cursory health evaluation/physical examinations.
3
    Near and distant vision screening, color vision screening, and hearing screening shall be part of the entrance
    physical examination.
4
    As determined by the center physician who authorizes the activity by a written personal authorization.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 124 of 272
PRH Chapter 2: Student Support Services                                                                        Page 2.3-2




        c. Laboratory tests within the time frames shown below:

         Entrance Laboratory Testing Requirements                           Required Time Frame
                                                                          Within 48 hours after arrival
                       HIV Antibody Test
                                                                    (see waiver condition, Section 2.3, R15)
                         Syphilis Serology                                         Optional5
                   Hemoglobin or Hematocrit                               Within 48 hours after arrival
                      Sickle Cell Screening
                                                                       Within 48 hours after arrival
            (must be offered to all at-risk students)
            Urinalysis (dipstick) for Glucose/Protein                  Within 48 hours after arrival
                       Drug Screen (urine)                             Within 48 hours after arrival
                                                     (Males Only)
           Urinalysis (dipstick) for Leukocyte Esterase
                                                                       Within 48 hours after arrival
                        (gonorrhea screen)
                   Chlamydia Testing (urine)                           Within 48 hours after arrival
            Gonorrhea Testing if Leukocyte Esterase
                                                                       Within 48 hours after arrival
                    Screen is Positive (urine)
                                                    (Females Only)
                      Pregnancy Test (urine)                           Within 48 hours after arrival
                                                               Females age > 21 years (unless documented
                                                                pap smear results within 24 months before
                                                                             arrival on center)
                                                                        Within 14 days after arrival
                            Pap Smear
                                                               Students younger than 21 years only require
                                                              pelvic/speculum exam for clinical indications
                                                                  such as pelvic pain, vaginitis, menstrual
                                                                         disorders, pregnancy, etc.
                                                              All females; perform on urine if age < 21 years
           Chlamydia Testing (endocervical or urine)            Within 48 hours after arrival (or at time of
                                                                      pelvic exam if age > 21 years)
                                                              All females; perform on urine if age < 21 years
           Gonorrhea Testing (endocervical or urine)            Within 48 hours after arrival (or at time of
                                                                      pelvic exam if age > 21 years)

        d. Immunizations

             All applicants are required to provide Admissions Counselors with current
             immunization records at the time of application. Records will be reviewed by center
             health staff on entry to determine currency of immunizations. Centers must immunize
             students for the following as directed by the Office of Job Corps:

             1. Immunizations or boosters if the following immunization series are incomplete or if
                current immunization records cannot be produced:
                (a) Tetanus and diphtheria toxoid (Td) or Tetanus-diphtheria-acellular pertussis
                    (Tdap)
                (b) Inactivated polio vaccine (IPV) for students younger than 18 years
                (c) Measles, mumps, and rubella vaccine

5
    Center physician may choose to continue screening for syphilis on entry if there is a significant prevalence in the
    center population.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 125 of 272
PRH Chapter 2: Student Support Services                                                       Page 2.3-3




            2. Hepatitis B vaccine series

               At a minimum, Hepatitis B vaccine must be provided to health personnel and health
               occupations training students. Vaccination consent/declination must be documented
               in the staff member’s personnel file or student health record. Vaccination of health
               occupations training students must begin six weeks prior to on-site clinical work
               experience.

               Refer to the Immunizations and Communicable Disease Control Technical
               Assistance Guide (TAG) for optional immunizations (e.g., influenza vaccine) that
               may be recommended but not required by the center physician, based upon
               availability.

               Centers should utilize the Vaccines for Children program to provide immunizations
               for eligible students according to the latest Centers for Disease Control and
               Prevention (CDC) guidelines.

      e. A tuberculosis skin test (Mantoux) is required of all new students who do not have
         documented proof of a previous negative Mantoux test taken within the last 12 months.
         Annual tuberculin testing should be done for students in health occupations and for
         students at increased risk of infection. In addition, students in health occupations must
         receive a Mantoux test prior to clinical work experience in accordance with state or
         local health department requirements.

            Results of tuberculin skin testing should be interpreted without regard to a prior history
            of BCG vaccination.

            Refer to Treatment Guidelines in the Health-Care Guidelines TAG, for management of
            students with a positive Mantoux test.

      f.    A daily walk-in clinic outside of the training hours for students to receive routine health
            care.

      g. An inpatient unit (during office hours) for minor conditions, such as respiratory
         infections or flu symptoms.

      h. An appointment system for follow-up during the training day for treatment of chronic,
         urgent, and other conditions within the capabilities of center health professionals.
         Treatment guidelines for health must be used to manage common acute and chronic
         conditions.

      i.    Access to prescription medications.

      j.    An off-center specialist referral system.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 126 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.3-4


      k. A 24-hour emergency-care system, to include on-center Cardio Pulmonary
         Resuscitation (CPR) and first aid and written referral plan or agreement for off-center
         medical, oral health, mental health, substance use, and inpatient care.

      l.    Explain and have the student sign, on the first visit to health services, the notice
            describing how medical information about students may be used and disclosed, and
            how students can get access to this information (see Form 2-01, Notice of Medical
            Information Use, Disclosure, and Access).

R3. Oral Health and Wellness Program (See Exhibit 2-4, Job Corps Basic Health Care
    Responsibilities.)

      Centers must provide basic dental services, as described below:

      a. The general emphasis of the Oral Health and Wellness Program must be on early
         detection, diagnosis of oral health problems, basic oral-health care, dental hygiene, and
         prevention/education (e.g., oral hygiene instructions, caries risk assessments, the
         relationship between oral health and employability, oral health and wellness plans).

      b. A dental readiness inspection must be completed within 14 days after arrival by the
         center dentist or designee as determined by the center dentist who authorizes the
         activity by a written personal authorization. The dental readiness inspection must be
         documented in the appropriate section on the Job Corps Physical Examination Form.

      c. An elective oral examination, including bitewing X-rays, priority classification, and
         treatment plan, must be completed and recorded on the Job Corps approved oral
         examination form by the center dentist upon student request as a follow up to the dental
         readiness inspection. The X-ray images should be securely stored as part of the
         student’s health record.

      d. Dental procedures to treat oral disease and correct oral health conditions that may
         represent employability barriers, to include: restorations, extraction of pathological
         teeth, root canal therapy on anterior/other strategic teeth, replacement of missing upper
         anterior teeth with a removable prosthesis, and dental hygiene treatment for periodontal
         disease.

      e. Written referral plan or agreement with community facilities for emergent or urgent
         conditions treatable beyond the expertise of a general dentist.

      f. Job Corps shall not pay for student orthodontics. Applicants with orthodontic
         appliances must furnish:

            1. Proof of orthodontic care visits during previous three months consistent with
               orthodontic treatment plan.

            2. Proof that a treatment plan is in place for continued care.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 127 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.3-5




          3. A signed agreement that the cost of continued treatment and transportation related
             to treatment will be borne by the student, parent, or legal guardian.

          4. A signed agreement by the applicant (parent/guardian of a minor) that he or she will
             remain compliant with orthodontic care and schedule all orthodontic appointments
             such that he or she will not exceed authorized leave limits for elective dental
             treatment.

R4. Mental-Health and Wellness Program (See Exhibit 2-4, Job Corps Basic Health-Care
    Responsibilities.)

      Centers must provide basic mental-health services as described below:

      a. The general emphasis of the Mental-Health and Wellness Program must be on the early
         identification and diagnosis of mental-health problems, basic mental-health care, and
         mental-health promotion, prevention, and education designed to help students
         overcome barriers to employability. The program uses an employee assistance program
         approach that includes short-term counseling with an employability focus, referral to
         center support groups, and crisis intervention.

      b. Assessment and possible diagnosis, to include:

          1. Assessments and recommendations for Job Corps applicants;

          2. Review of Social Intake Form (SIF) or intake assessment performed by counseling
             staff of students who indicate mental-health history, current mental-health
             problems, or who request to see the Center Mental-Health Consultant within one
             week of arrival;

          3. Mental-health assessments and recommendations for referred students. Students
             who are assessed as a safety risk to self or others must be continuously supervised,
             until their case is resolved. Disposition should occur as soon as possible;

          4. Determination when a Medical Separation with Reinstatement Rights (MSWR) or
             medical separation is appropriate and recommended for students with mental health
             conditions and/or substance use co-occurring conditions.

      c. Mental health promotion and education, to include:

          1. Minimum of a one-hour presentation on mental-health promotion for all new
             students during the Career Preparation Period with an emphasis on employability:
             (a) Presentations must explain the Mental-Health and Wellness Program, what
                 services are available, and how to make a self-referral.
             (b) Students will learn basic skills in identifying and responding to a mental health
                 crisis.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 128 of 272
PRH Chapter 2: Student Support Services                                                  Page 2.3-6




          2. At least one annual center-wide mental-health promotion and education activity

          3. Clinical consultation with Center Director, management staff, and Health and
             Wellness Director regarding mental health-related promotion and education efforts
             for students and staff

          4. Coordination with other departments/programs on center, including, but not limited,
             to residential, recreation, student government association, and Healthy Eating and
             Active Lifestyles (HEALS), to develop integrated promotion and education services

      d. Treatment, to include:

          1. Short-term counseling with mental-health checks as needed. The focus of these
             sessions should be on retention and behaviors that represent employability barriers;

          2. Collaboration with TEAP specialist for short-term counseling of students with co-
             occurring conditions of mental-health issues and substance use;

          3. Collaboration with center physician and Health-and-Wellness staff on psychotropic
             medication monitoring of stable students, with the advice of consulting psychiatrist,
             if appropriate;

          4. Collaboration with counseling staff in developing and/or leading psycho-
             educational skill-building groups to promote wellness (e.g., relaxation training,
             anger management, mood regulation, assertiveness skills, handling relationships,
             sleep hygiene, etc.);

          5. Information exchange through regular case conferences between the Center Mental
             Health Consultant, counselors, and other appropriate staff based on individual
             student needs;

          6. Crisis intervention, as needed. In the event of a mental health emergency, the
             Center Mental-Health Consultant or the Center Physician must conduct a mental
             health evaluation as soon as possible, and when necessary, refer the student for
             psychiatric care. If the Center Physician or Center Mental-Health Consultant is not
             available, the student must be referred immediately to the emergency room of the
             nearest medical facility. If there is a life-threatening situation, 911 or the
             emergency response team should be called;

          7. Referral to off-center mental-health professionals or agencies for ongoing treatment
             and/or specialized services;

          8. A written referral/feedback system must be established and documented in the
             student-health record.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 129 of 272
PRH Chapter 2: Student Support Services                                                     Page 2.3-7




R5. Trainee Employee Assistance Program (TEAP) (See Exhibit 2-4, Job Corps Basic
    Health-Care Responsibilities.)

      Centers must provide basic TEAP services, as described below:

      a. The general emphasis of TEAP must be on prevention, education, identification of
         substance use problems, relapse prevention, and helping students overcome barriers to
         employability.

      b. Substance use prevention and education, to include:

          1. Minimum of a one-hour presentation on substance use prevention for all new
             students during the Career Preparation Period. This presentation must explain (1)
             TEAP prevention, education, and intervention services, (2) Job Corps drug and
             alcohol testing requirements and procedures, and (3) the consequences of testing
             positive for drug or alcohol use while in Job Corps

          2. Presentation(s) on managing substance misuse, abuse, and dependency symptoms
             and issues in the workplace for students during the Career Development and
             Transition Periods

          3. At least three annual center-wide substance use prevention and education activities

          4. Clinical consultation with Center Director, management staff, Center Mental Health
             Consultant, and Health and Wellness Director regarding substance use prevention
             and education efforts for students and staff

          5. Coordination with other departments/programs on center, to include, but not be
             limited to, residential, recreation, student government association, and HEALs, to
             develop integrated prevention and education services

      c. Assessment for identification of students at risk for substance use problems to include:

          1. Review of Social Intake Form (SIF) or intake assessment of all students performed
             by counseling staff within one week of arrival

          2. Formalized assessment measures (e.g., SASSI3 or SASSIA2), and clinical judgment
             to determine students’ level of risk for substance use

          3. Collaboration with the Center Mental-Health Consultant to determine when a
             MSWR or medical separation is appropriate and should be recommended for a
             student with substance use conditions (see Chapter 2, Section 2.3, R5, e.5)

      d. Intervention services for students identified at an elevated risk for substance use, to
         include:
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 130 of 272
PRH Chapter 2: Student Support Services                                                                      Page 2.3-8




             1. Individual and group intervention services with a focus on behaviors that represent
                employability barriers

             2. Collaboration with the Center Mental-Health Consultant for students with co-
                occurring conditions of mental health issues and substance use

             3. Referral to off-center substance abuse professionals or agencies for ongoing
                treatment and/or specialized services. Any student separating from Job Corps who
                has a substance use condition must be provided with a referral for support services
                in his or her home community

        e. Drug and alcohol testing

             1. Drug testing procedures:
                (a) Students in the following categories must be tested for drug use:
                    (1) New and readmitted students must be tested within 48 hours of arrival on
                        center.
                    (2) Students who tested positive on entrance must be retested between the 37th
                        and 40th day after arrival on center.
                    (3) Students who are reasonably suspected6 of using drugs at any point after
                        arrival on center must be tested; this testing must take place as soon as
                        possible after staff suspects use.
                    (4) During a qualified emergency as defined in Section 3502(a)(4) of the
                        Coronavirus Aid, Relief, and Economic Security Act (CARES Act), Pub. L.
                        116-136, the procedures in R5.e.1(a)(1)-(3) are not applicable to students
                        participating in distance learning off-center until they begin or resume on-
                        site participation at a Job Corps center.

                 (b) Biochemical testing is never permissible on a random basis, with the exception
                     of designated licensed student drivers who are subject to 49 CFR Part 382 DOT
                     Federal Motor Carriers Safety Administration. In addition, biochemical testing
                     requested by work experience sites, union trades, or potential employers may
                     only be performed by the requesting entity.

                 (c) If a student refuses to provide a specimen or has an unexcused absence from his
                     or her follow-up drug test, he or she shall be presumed guilty of the Level I
                     infraction Drugs: Use of drugs as evidenced by a positive drug test. Students
                     who state they are unable to produce a specimen must be referred to the center
                     physician or designee for follow up.

                 (d) Collection of urine for drug testing must be in accord with chain-of-custody
                     principles and conducted by health and wellness staff or a staff member trained

6
    Reasonable suspicion is context specific, supported by specific and articulable facts, and may include (1) direct
    observation of drug use or behavioral signs or symptoms suggestive of drug use, or (2) specific reliable
    information that a student recently used drugs.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 131 of 272
PRH Chapter 2: Student Support Services                                                                      Page 2.3-9


                      in urine collection procedures.

                 (e) The Job Corps nationally contracted laboratory must be used for all required
                     drug testing. On-center urine drug testing is prohibited.

                 (f) Reinstated students cannot be subject to entry drug testing upon return to the
                     center. Transfer students cannot be subject to drug testing upon arrival at
                     receiving center. Both reinstated and transfer students shall be subject to testing
                     for drugs upon suspicion of use only.

             2. Alcohol testing procedures:
                (a) Students who are reasonably suspected7 of being intoxicated or consuming
                    alcohol on center or under center supervision must be tested; this testing must
                    take place immediately after staff suspects use.

                 (b) Centers must use devices that measure alcohol in the breath or saliva (e.g.,
                     breathalyzers or alcohol test strips/tubes/swabs). Alcohol testing must only be
                     administered by a staff member trained in the use of these testing devices. All
                     testing must be documented and the results submitted to the health and wellness
                     center.

                 (c) If a student refuses to submit to a breathalyzer or provide a sample for alcohol
                     testing, the student shall be presumed guilty of the Level I infraction Alcohol:
                     Possession, consumption, or distribution while on center or under center
                     supervision.

             3. Students testing positive for drug or alcohol use:
                (a) New students and readmitted students not previously separated for drug use
                    Zero Tolerance (ZT separation code 5.2a); possession, use or distribution of
                    drugs on center or under center supervision (ZT separation code 5.2b);
                    possession, consumption, or distribution of alcohol while on center or under
                    center supervision (ZT separation code 5.1b); or abuse of alcohol (ZT
                    separation code 5.1b) who test positive on entry must receive intervention
                    services and a follow-up drug test. The results of the follow-up drug test must
                    be received on center prior to the end of the intervention period.

                      To remain in the program, students who test positive on entry must have a
                      negative drug-test result at the end of the intervention period.

                      If an intervention period takes place during a center vacation period (i.e., winter
                      break), the intervention period is suspended and resumes the day the student is
                      scheduled to return to the center (e.g., if a student is on day #30 of his or her
                      intervention period at the time of the center vacation, the day count will be

7
    Reasonable suspicion is context specific, supported by specific and articulable facts, and may include (1) direct
    observation of alcohol use or behavioral signs or symptoms suggestive of alcohol use, or (2) specific reliable
    information that a student recently used alcohol.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 132 of 272
PRH Chapter 2: Student Support Services                                                     Page 2.3-10


                  suspended at 30 days, and resume as day #31 the day, he or she is due back on
                  center). If a student does not report to the center on the day he or she is
                  expected to return, the intervention period still resumes and the student is
                  labeled an Unauthorized Absence.

                  If an intervention period takes place during off-center distance learning due to a
                  qualifying emergency under the CARES Act, the intervention period restarts the
                  day the student returns to the center to resume on-site participation.

                  Students who are an Unauthorized Absence on the day of their scheduled
                  follow-up drug test shall be presumed guilty of the Level I infraction Drugs:
                  Use of drugs as evidenced by a positive drug test.

              (b) Readmitted students previously separated for drug use (ZT separation code
                  05.2a) that test positive on entry or any time during their second enrollment at
                  Job Corps must be separated immediately without an intervention period. Such
                  students shall not be allowed to reapply to Job Corps.

              (c) Students who test positive for drug use by an off-center facility must be retested
                  on center using the Job Corps nationally contracted laboratory as soon as
                  possible, to include:
                  (1) Work-based learning students who tested positive on a drug test
                      administered by experience sites, union trades, or potential employers;
                  (2) Students who tested positive on a drug test administered at a referral health
                      facility (e.g., hospital emergency department, urgent care facility).

                       This retest by the Job Corps nationally contracted laboratory must be
                       classified as a suspicion-of-drug-use test. For students who test positive for
                       drug use on this retest, centers must follow the same procedures outlined in
                       (c) above.

              (d) Student drivers who test positive for drug use under 49 CFR Part 382 DOT
                  Federal Motor Carriers Safety Administration must follow the same procedures
                  outlined in (c) above for positive suspicion tests. In addition, during the
                  intervention period, student drivers who fall under DOT regulations are not
                  permitted to drive.

              (e) Students who test positive for alcohol use on suspicion must be referred to the
                  TEAP specialist for assistance and the center’s student conduct system for
                  disciplinary action.

          4. Student notification of drug or alcohol test results
             (a) Students who test positive for drug use must be informed of their results by the
                 TEAP specialist, Center Physician, or designee within 24 hours of receipt of
                 positive result, or as soon as possible, given staff and student availability.
                 Minor student’s parent/guardian must be notified of positive test results as
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 133 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.3-11


                  required by applicable state laws for the state in which the center is located.

              (b) Alcohol test results must be provided to the student by the person administering
                  the test.

              (c) Drug and alcohol test results must be shared only with center personnel who
                  have a need to know for purposes of discipline, counseling, administration, and
                  delivery of services (in accordance with 42 CFR, Part 2).

              (d) If a student questions the validity of a confirmed positive drug test, he or she
                  must be referred to the Center Physician or designee for counseling.

          5. Medical Separations with Reinstatement Rights (MSWR) for substance use
             conditions:
             (a) Students may be given a MSWR for a diagnosed substance use condition,
                 allowing the student to return to Job Corps to complete his or her training within
                 180 days. To return to Job Corps, proof of treatment completion from a
                 qualified provider must be received.

              (b) A MSWR for substance use conditions can only be given if the following
                  conditions are met:
                  (1) The TEAP specialist and Center Director agree that the student has a
                      diagnosed substance use condition.
                  (2) There is a documented assessment of the student’s diagnosed substance use
                      condition by the TEAP specialist in collaboration with the center mental
                      health consultant.

              (c) A MSWR cannot be granted in lieu of ZT separation when a positive follow-up
                  test is reported during the intervention period.

              (d) If a student is placed on a MSWR during the intervention period, the
                  intervention period is suspended and resumes the day the student is scheduled to
                  return to the center.

R6. Tobacco Use Prevention Program (TUPP)

      Implement a program to prevent the onset of tobacco use and to promote tobacco-free
      environments and individuals. To support this program, a TUPP Coordinator must be
      appointed (he or she need not be a health services staff member). At a minimum, this
      program must include:

      a. Educational materials and activities that support delay and/or cessation of tobacco use

      b. A smoke-free, tobacco-free environment that prohibits the use of all tobacco products
         in center buildings and center-operated vehicles
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 134 of 272
PRH Chapter 2: Student Support Services                                                                      Page 2.3-12


         c. Designated outdoor smoking areas located a minimum of 25 feet, or as required by state
            law, away from the building entrance

         d. Prohibition of the sale of tobacco products on center

         e. Adherence to federal and state laws regarding the use of tobacco products by minors

         f. Minors who use tobacco products must be referred to the TUPP

         g. All services provided should be documented in the student health record

R7. Family Planning Program

         a. A family planning program must be provided to all students on a voluntary basis. At a
            minimum, this program must include counseling, health promotion activities, and
            medical services, including birth control. The Center Director must appoint a staff
            member to implement and monitor this program.

         b. Students who are pregnant and/or experiencing pregnancy-related medical conditions
            must be afforded the same access to medical services, leave and medical separation as
            any other student experiencing a medical condition, unless otherwise provided by law.

         c. Once a center learns that a student is pregnant, pregnancy-related services must include:

             1. Prenatal services on center and/or in the community until separation, to include a
                comprehensive gestational record.

             2. The Center Physician, in conjunction with an obstetrical/gynecological provider and
                the student, will agree upon a care-management and separation plan that takes into
                account the health and safety of the pregnant student before and after childbirth.

             3. The center must identify available community health/social resources and services,
                and will make arrangements for transportation for the purpose of obtaining such
                resources and services consistent with Chapter 6, Section 6.7, R9.d. In lieu of the
                center providing transportation, the center may approve a student’s request to be
                transported by a friend, partner or family member.

             4. The center cannot pay for an abortion unless the pregnancy is the result of rape or
                incest or unless a physician has certified that the student suffers from a physical
                disorder, injury, illness, or condition that places her in danger of death unless an
                abortion is performed.8
8
    The Departments of Labor, Health and Human Services, and Education, and Related Agencies Appropriations Act
     of 2014, Title 5, Sec. 507(a) (P.L. 113-76) provides that the prohibition on the use of Federal funds for abortions
     described in Section 506 “shall not apply to an abortion (1) if the pregnancy is the result of an act of rape or
     incest; or (2) in the case where a woman suffers from a physical disorder, physical injury, or physical illness,
     including a life-endangering physical condition caused by or arising from the pregnancy itself, that would, as
     certified by a physician, place the woman in danger of death unless an abortion is performed.”
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 135 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.3-13




          5. A student that is experiencing a pregnancy-related medical condition may be placed
             on paid administrative leave in accordance with Exhibit 6-1 (see Pay status: Paid,
             Duty status: Not Present for Duty-Administrative Leave with Pay).

      d. Pregnancy-related services must include information on the options of continuing or
         terminating the pregnancy.

      e. If required by applicable state laws in which the center is located, the center must notify
         the student’s parent/guardian of her pregnancy if she is a minor, and if required by
         applicable state law, inform the student of this requirement prior to the disclosure.

R8. HIV/AIDS

      Centers must:

      a. Test students for HIV infection under the following circumstances:

          1. As part of the cursory medical examination (see Chapter 2, Section 2.3, R2.c)

          2. If a student exhibits signs and/or symptoms of a possible AIDS-related condition

          3. Upon reasonable suspicion of student exposure to HIV

          4. When student is diagnosed with a newly contracted sexually transmitted disease

          5. Upon student request and after physician consultation

      b. Submit specimens for HIV testing to the nationally contracted laboratory. Centers shall
         not be reimbursed for HIV tests performed at other than the nationally contracted lab.

      c. Provide pre-test counseling, in accordance with state laws, to all students regarding the
         HIV test.

          1. Counsel each student about the test and its implications and document in the health
             record that the student received the HIV pre-test counseling and signed the “HIV
             Testing Information Sheet” in Form 2-02

          2. Student refusal (see Chapter 2, Section 2.3, R15)

          3. Testing waiver (see Chapter 2, Section 2.3, R15, Waiver of Medical Care)

      d. Provide post-test counseling, in accordance with state laws, to all students regarding
         HIV test results:

          1. HIV Negative Students: Individually inform and counsel (e.g., measures to
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 136 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.3-14


              prevent HIV infection/transmission) all students with a negative HIV test result
              within 14 calendar days after receipt of test results.

          2. HIV Indeterminate Students: Individually inform and counsel all students with an
             indeterminate HIV test result within five calendar days after receipt of test results.
             A student who has an indeterminate test result must be retested at three-month
             intervals until a conclusive test result (i.e., negative or positive) is obtained. If a
             conclusive result is not obtained within 6 months, no further testing is required.

          3. HIV Positive Students:
             (a) Inform and Counsel: Individually inform and counsel all students with a
                 positive HIV test result, preferably within 24 hours, but not later than 5 calendar
                 days, after receipt of the written positive result. The Center Mental Health
                 Consultant must be in attendance to assist in informing and counseling.

              (b) Contact Notification: HIV positive students must be instructed in how to notify
                  their sexual contacts and intravenous drug contacts that they may have been
                  exposed to HIV infection and to refer them for counseling and testing.

                  The Center Physician or designee must report the student’s HIV infection to the
                  state and/or local health department, which will be responsible for contact
                  notification both on- and off-center.

          4. Students Off-Center: If a student is not on-center (e.g., Unauthorized Absence,
             Missing Minor Student, on leave) when his or her positive or indeterminate test
             result is received by the center, the Center Director or designee must make every
             attempt to contact and inform the student of his or her result. The health department
             at the student’s location must be used to assist with the task of informing students
             who are no longer on-center.

          5. Document post-test informing and counseling activities in the student’s health
             record, including attempts to contact students not on-center (d.4 above).

      e. Ensure that students who test positive for HIV infection are engaged in an interactive
         process to determine if an accommodation plan is needed (see center reasonable
         accommodation policy/process or national reasonable accommodation guidelines for
         specific requirements of accommodation process).

      f. Ensure that students who test positive for HIV infection are engaged in case
         management for chronic illness on center.

      g. Provide all students with information on HIV infection; including transmission and
         prevention (see Chapter 3, Section 3.4, R21, and Chapter 2, Section 2.3, R1).
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 137 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.3-15


R9. Healthy Eating and Active Lifestyles

      Centers must provide students with an environment that supports healthy eating and active
      lifestyles, and provide students with education and experiences that promote lifelong health
      and physical well-being. At a minimum, this program must include the following
      components:

      a. Planning

          1. Establish a Healthy Eating and Active Lifestyles Committee to oversee and
             coordinate this program. At a minimum, this committee must include the Health
             and Wellness Director, Food Services Manager/Supervisor, Recreation Supervisor
             or Specialist, TEAP Specialist, Residential Manager/Counseling Manager, and
             student representative.

          2. Incorporate student interests and preferences when planning activities.

          3. Demonstrate collaboration between various departments on center.

      b. Environment

          1. Provide a variety of fitness activities open to all students, as outlined in Chapter 2,
             Section 2.2, R4.

          2. Provide healthy eating selections and limit non-nutritious eating selections, as
             outlined in Chapter 5, Section 5.10, R3.

      c. Education and counseling

          1. Provide educational activities and materials to all students that support regular
             physical activity, nutrition, and achieving a healthy weight, as outlined in Chapter
             3, Section 3.4, R21.

          2. Provide individualized weight management programming and/or counseling.
             Student participation in this program is highly recommended.

          3. Incorporate motivational interviewing and goal setting at student’s level of
             readiness for change.

      d. Assessment

          1. Document, monitor, and assess program.

R10. Health Aspects of Sports

      a. All students participating in organized contact or rigorous sports (e.g., football,
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 138 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.3-16


          basketball, boxing, and running) must be medically cleared by a health professional
          prior to participating. Physical examinations performed by center health personnel
          within one year of the organized sports activity can fulfill this requirement, at the
          discretion of the Center Physician. After one year, a current physical examination is
          required.

      b. A staff member trained in CPR/First Aid, with specific authorization in the center’s
         standing orders, must be present at all organized contact or rigorous sports activities,
         including practice sessions and sports events.

      c. At a minimum, staff certified in CPR/First Aid must be present at all student boxing
         events and contact football games.

      d. In case of possible emergency, adequate transportation must be on the scene of all
         center-sponsored organized sports.

R11. Basic Health Services Provided by Job Corps Centers

      a. Center operators are responsible for providing and paying for basic health care as
         detailed in Exhibit 2-4 (Job Corps Basic Health Care Responsibilities).

      b. Job Corps shall not pay for any health-related costs incurred by a student while on leave
         or pass unless previously authorized by the Center Director upon recommendation of a
         center health professional.

R12. Health and Medical Costs Exceeding Basic Health Services Provided by Job Corps
     Centers

      a. Centers should assist students in seeking third-party health insurance coverage that will
         be available should the student have medical needs or costs beyond the basic health
         services provided by the center.

      b. If a student is determined to have a pre-existing or acquired health condition that
         significantly interferes with or precludes further training in Job Corps, or if a student is
         determined to have a health problem that is complicated to manage or for which
         necessary treatment will be unusually costly, the center must follow medical separation
         procedures (Chapter 6, Chapter 6, Section 6.2, R5, and Chapter 6, Section 6.2, R4.c.5)
         and determine whether referral to the Office of Workers’ Compensation Programs
         (OWCP) is required (Chapter 5, Section 5.1, R40).

R13. Professional Standards of Care

      All center health staff and providers must follow accepted professional standards of care
      and are subject to prevailing state laws, including but not limited to:

      a. Maintaining a copy of current provider’s license, Drug Enforcement Agency (DEA)
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 139 of 272
PRH Chapter 2: Student Support Services                                                       Page 2.3-17


          registration, and proof of liability insurance, if applicable, in center health facility.

      b. Documenting all prescribed medications and treatment in student health record.

      c. Documenting all laboratory procedures ordered and recording the results in student
         health record.

      d. Following current standards of care when providing health services and treating
         illnesses and injuries.

R14. Medication Management (See Appendix 203, Medication Management Guidelines.)

      a. Centers must comply with all state and federal regulations regarding prescribed non-
         controlled medications, prescribed controlled substances, and over-the-counter
         medications.

      b. Centers must follow medication management guidelines as specified in Appendix 203.

R15. Waiver of Medical Care

      a. The Center Physician/Nurse Practitioner (NP)/Physician Assistant (PA) may waive any
         portion of the medical examination and laboratory testing except for the entrance drug
         testing if in his or her opinion there is sufficient justification or if a student refuses.
         Such a waiver must be clearly documented by the Center Physician/NP/PA in the
         student’s health record and include an explanation as to why the decision was made.

      b. The Center Physician/NP/PA may grant waivers of immunization requirements for
         valid medical and/or religious reasons. Such a waiver must be clearly documented by
         the center physician in the student’s health record and include an explanation as to why
         the decision was made.

R16. Health Care Guidelines

      a. All health-care guidelines must be approved and signed annually by the Center
         Physician, Center Mental Health Consultant, or Center Dentist, as appropriate.

      b. Current signed and dated health care guidelines must be kept in the Health and
         Wellness Center.

      c. Annually, each center must submit a memorandum to the Regional Office indicating
         which health care guidelines have been modified. Copies of any individual health staff
         authorizations and health care guidelines that have changed must be sent to the
         Regional Office for approval. (Refer to Exhibit 5-2, Plan and Report Submission
         Requirements, for reporting deadlines.)
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 140 of 272
PRH Chapter 2: Student Support Services                                                 Page 2.3-18


R17. Communicable Disease and Infection Control

      The center must:

      a. Report cases of disease to state and local health departments in accordance with state
         and local laws.

      b. Manage all cases of communicable disease and use protective measures as
         recommended by the Centers for Disease Control and Prevention (CDC).

      c. Biologically monitor the function of autoclaves and maintain a log of spore test results.

      d. Follow infection control measures as mandated by state and federal law.

R18. Inventory Records

      Maintain records on the dispensing, inventory, and disposal of medical and dental supplies
      and pharmaceuticals.

R19. Continuous Quality Improvement

      Center health staff must seek feedback from students, employ mechanisms to document
      quality of care provided, and document quality improvement activities.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 141 of 272
PRH Chapter 2: Student Support Services                                                                      Page 2.4-1



2.4 DISABILITIES
REQUIREMENTS

R1. Disability Coordinators

        a. The Health and Wellness Director (or a health staff designee) and Academic Manager
           (or an academic staff designee) will function as Disability Coordinators (DC) to oversee
           the program. Additional DCs may be appointed. Centers may choose to hire a full or
           part time DC to oversee the program rather than or in addition to appointing an
           academic and health DC.

        b. The roles and responsibilities of each DC will be defined in a standard operating
           procedure (SOP).

R2. Disability Accommodations

        a. Accommodations for Applicants and Students With Disabilities

             All applicants and students with disabilities must be provided the opportunity to request
             and receive reasonable accommodation in accordance with Section 188 of the
             Workforce Innovation and Opportunity Act of 2014
             https://www.congress.gov/113/bills/hr803/BILLS-113hr803enr.pdf, Section 504 of the
             Rehabilitation Act of 1973 https://www2.ed.gov/policy/speced/leg/rehab/rehabilitation-
             act-of-1973-amended-by-wioa.pdf, and their implementing regulations. Guidelines for
             providing reasonable accommodation are outlined in Form 2-03, Definitions and
             Documentation Requirements Related to Reasonable Accommodations for Applicants
             and Students with Disabilities, and on the Job Corps Disability website.

        b. Definition of Disability

             For accommodation purposes, a disability is defined as a physical or mental impairment
             that substantially limits one or more of a person’s major life activities.9 Form 2-03
             contains information explaining this definition, and related requirements, in detail.
             Whether a particular person has an impairment that satisfies this definition, and whether
             a specific accommodation is appropriate for a particular person, must be determined on
             a case-by-case basis by someone with appropriate expertise in the field.

R3. Reasonable Accommodation Process

        a. An applicant or student with a disability may request and receive reasonable
           accommodation to participate in the Job Corps program at any time during the

9
    Applicants and students who have a record of a disability, or who are regarded as having a disability, are protected
    from discrimination by federal disability nondiscrimination laws. However, the laws do not entitle these people to
    the positive actions, such as reasonable accommodations, that must be provided to applicants and students with
    current disabilities.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 142 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.4-2


          admissions process or enrollment. Each center will have a process for ensuring
          applicants/students with disabilities who request accommodation, indicate they may
          need accommodation, and/or provide documentation of a disability are engaged in an
          interactive process to consider/determine the functional limitations resulting from their
          disability and the potential accommodations that would allow them to participate in the
          Job Corps program. An SOP describing this process is required (see Exhibit 5-1) and
          the center’s reasonable accommodation process will include all the components
          outlined in Form 2-03.

      b. The DCs will coordinate the center’s reasonable accommodation process.

      c. During Career Transition Readiness all students will receive information about
         workers’ rights and responsibilities including reasonable accommodation in the
         workplace (see Chapter 3, Section 3.4, R23, k).

R4. CIS Disability Data Collection and Accommodation Plans

      a. A DC will accurately enter the required data in the disability data collection and
         accommodation plan icons in CIS as soon as possible after the student enters the
         program.

      b. For students who require TABE testing accommodations, this data will be entered prior
         to the administration of the first TABE test.

      c. Only the DCs will have access to the disability data collection entry screen, disability
         data report and the accommodation plan report with notes report in CIS.

      d. Generally, only the DCs will have access to the accommodation plan entry screen;
         however, if a designee is appointed to enter accommodation plans, this staff person can
         have access.

      e. All center staff responsible for providing accommodations will have access to the
         accommodation plan report in CIS.

      f. Accommodation plans will not contain any medical or diagnostic information.

R5. Referral Process

      a. A written referral/feedback system must be established to document a referral to the
         DCs when a student discloses a disability and may want reasonable accommodation or
         staff suspects a student may have a disability that is impacting his/her success in the
         program and should meet with the DCs to consider reasonable accommodation.

      b. All referral forms will be stored in the student’s accommodation file or in the student
         health record if no accommodation file exists.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 143 of 272
PRH Chapter 2: Student Support Services                                                    Page 2.5-1



2.5 STUDENT CONDUCT
R1. Incentives

      Centers must develop processes to recognize students for positive behavior and
      performance, including rewards and what students must do to earn them.

R2. Rules and Sanctions

      Centers must:

      a. Develop standards of conduct, including rules and sanctions. Conduct standards must:

          1. Parallel workplace expectations to the extent possible.

          2. Include, at a minimum, those infractions and corresponding actions in Job Corps’
             Zero Tolerance Policy, as detailed in Exhibit 2-1 (Infraction Levels, Definitions,
             and Appropriate Center Actions).

      b. Implement progressive disciplinary measures for behaviors identified as Minor
         Infractions, as defined in Exhibit 2-3 (Menu of Progressive Discipline Interventions and
         Sanctions for Minor Infractions).

      c. Prohibit the use of the following sanctions:

          1. Corporal punishment and measures designed to humiliate or degrade the student

          2. Physical force or solitary isolation (Physical restraint may be used only to the
             minimum extent necessary and only in situations that seriously threaten persons or
             property.)

          3. Dorm cleanup, kitchen duty, or other regular housekeeping chores used as a
             punishment

          4. Suspension of privileges for the dining hall, canteen, voting, religious services, or
             pay and allowances

          5. Restrictions to center in excess of 30 days

          6. Fines in excess of $5 per offense or per pay period

          7. Restitution in excess of $500 per enrollment

          8. Forced resignation from the program
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 144 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.5-2


R3. Investigation and Disposition of Incidents

      a. Centers must conduct investigations and Fact-Finding Boards (FFB) as follows:

          1. Convene Fact-Finding Boards in accordance with the requirements in Exhibit 2-2
             (Requirements for the Conduct of Fact-Finding Boards).

          2. Provide Fact-Finding Boards with a written investigative report of the incident
             under consideration. Boards may only consider evidence relevant to the infraction.

          3. Recommend appropriate sanctions in keeping with the level of infraction as shown
             in Exhibit 2-1 (Infraction Levels, Definitions, and Appropriate Center Actions).

          4. Report the outcomes of Fact-Finding Boards on the “Summary of Review Board
             Hearing” form and document the date and disposition of the Fact-Finding Board in
             Center Information System (CIS) within 48 hours of its completion.

      b. The National Director may suspend the timeframes for the Fact-Finding Board to issue
         its decision, if the student subject to the Fact-Finding Board is also the subject of an
         active police investigation.

R4. Appeal Process

      Centers must develop a process for the appeal of disciplinary decisions, consistent with
      Exhibit 2-2. The appeal process must, have the following features at a minimum:

      a. Students must be allowed to appeal disciplinary decisions from lower organizational
         levels to higher ones.

      b. Students must be notified in writing of their right to appeal a decision of the Center
         Director, resulting in dismissal from the program, to the Regional Appeals Board
         (RAB). Student appeals must be made within 30 calendar days of their separation.

R5. Regional Appeals Board

      In an effort to ensure due process, each Regional Office will establish a Regional Appeals
      Board (RAB) to review student appeals of disciplinary discharge from the Job Corps
      program. The RAB must operate as follows:

      a. The Regional Director will determine the composition of the RAB.

      b. In reviewing cases, the RAB must utilize only written documentation to include, at a
         minimum, the student’s appeal letter intended to preserve the student’s due process, and
         the record of the student’s hearing at the center. The RAB will not hear oral testimony
         from interested parties.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 145 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.5-3


      c. The RAB must rule on student appeals within 30 calendar days of the receipt of the
         student’s appeal letter.

      d. In making a decision, the options open to the RAB are to:

          1. Affirm the Center Director’s decision to discharge the student.

          2. Overturn the Center Director’s decision to discharge the student.

          3. Recode the separation (for zero tolerance offenses).

          4. Remand the case to the center for rehearing.

          5. Request additional information from the center and delay the RAB meeting to a
             later date. Notify the center and student if the decision will be extended beyond the
             30 calendar days for appeal resolution.

      e. If the RAB determines that all three of the following conditions are met, the RAB must
         affirm the disciplinary discharge of the student.

          1. There is substantial evidence to support the alleged facts of the case.

          2. The procedural requirements of the law and Job Corps policies were adequately
             met.

          3. The facts of the case constitute an offense for which disciplinary discharge is
             permitted.

      f. If the RAB determines from the record that either of the following conditions pertain,
         the RAB must reverse the disciplinary discharge.

          1. The evidence provided does not support the facts alleged.

          2. The facts are supported by the evidence presented, but these facts do not constitute
             an offense for which disciplinary discharge is permitted.

      g. If the RAB determines that substantial procedural requirements were not met, the RAB
         may take either of the following actions.

          1. It may reverse the Center Director’s decision to discharge.

          2. It may remand the case to the center for rehearing.

      h. If the RAB determines that there is not enough information in the record to make a
         determination, the RAB may delay the RAB meeting to another date and request
         additional written information from the center, the student, or any other source. The
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 146 of 272
PRH Chapter 2: Student Support Services                                                     Page 2.5-4


          RAB must provide all interested parties an opportunity to respond to the additional
          information before the RAB makes its final decision. The RAB must notify the center
          and student if the delay will extend beyond the 30 calendar day resolution period.

      i. If the RAB overturns the decision of a Center Director to discharge a student from the
         program, the Regional Office must reestablish the student as follows:

          1. If the student is allowed to resume training at the same center, the center must
             reestablish the student in the Center Information System (CIS) and arrange for the
             student’s immediate return to the center.

          2. If the student is transferred to another center, the sending center must take the
             following actions:

              (a) Re-establish the student in CIS

              (b) Initiate the transfer in CIS

              (c) Provide the student with transportation and an itinerary to the receiving center

              (d) Provide a complete copy of the student’s personnel record (including medical
                  records) to the receiving center

      j. Manage an automatic appeal of felonies/misdemeanors (dropped charges/not guilty) as
         follows:

          1. If the student is found not guilty, or if the charges are dropped, the center will
             forward the case to the RAB for disposition.

          2. The RAB will decide if the student should be:
             (a) Re-established at the same center
             (b) Re-established and transferred to another center
             (c) Re-entered into CIS with a different code

          3. The center must complete appropriate CIS entries as advised by the RAB.

      k. Regional Offices must maintain a log of all cases reviewed by the RAB and the
         disposition of the cases.

      l. RAB decisions must be communicated in writing to the student and the center.

      m. RAB decisions are final and represent the official decision of the Secretary of Labor.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 147 of 272
PRH Chapter 2: Student Support Services                                                Page 2.5-5


R6. Bullying and Sexual Harassment Training

      Centers must provide students regular proactive education on bullying, sexual harassment,
      appropriate behavior, appropriate staff/student boundaries, and consequences.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 148 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.6-1



2.6 EVALUATION OF STUDENT PROGRESS
REQUIREMENTS

R1. Evaluation of Student Progress

      Centers must:

      a. Inform all new students that they will be formally evaluated at least every 60 days on
         their knowledge of and ability to demonstrate all eight Career Success Standards.

      b. Ensure that each student participates in ongoing evaluations, with appropriate staff, at
         least every 60 days.

      c. Arrange for each student’s interdepartmental Career Management Team (CMT) to
         conduct a formal evaluation prior to the student’s entry into the Career Development
         Period (CDP) and the Career Transition Period (CTP), at a minimum.

      d. Schedule special evaluations as needed, at any time during a student’s enrollment.

R2. Content of Evaluations

      Centers must:

      a. Assess each student’s progress in all major career development areas: academics, career
         technical training, industry certification attainment, work-based learning, career
         pathway preparation, social development, and recreation using the Evaluation module
         in CIS, including documentation of student progress in the My Pathway to Achieving
         Career Excellence (MyPACE) Career Plan and Pathway Achievement Record (PAR)
         tasks.

      b. Evaluate student performance on all eight Career Success Standards as well as any
         additional expectations the center wishes to evaluate.

      c. Provide each student with a schedule of individualized projects and activities to assist
         him or her in meeting the Career Success Standards in which a “Needs Improvement”
         rating is received.

      d. Collaborate with students in setting, affirming, and/or revising short-term, mid-term,
          and long-term personal, training, and career goals using the student’s MyPACE Career
          Plan and Pathway Achievement Record (PAR):

          1. Review the student’s mid-term career (placement) goal, PAR, and supporting
             documentation of completed tasks.

          2. Confirm the student’s career pathway remains appropriate (Review Exhibit 2-5
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 149 of 272
PRH Chapter 2: Student Support Services                                                       Page 2.6-2


              Placement Pathway Prerequisites for Entry).

          3. If the student requests a change in their mid-term pathway goal, the center must
             take the following action steps:
              (a)   Student must submit a justification statement for mid-term career pathway
                    change.
              (b)   Interdepartmental CMT must review and agree with career pathway change;
                    assist student in revising MyPACE Career Plan, and assign new PAR.
              (c)   Center Director or designated senior manager must approve the revised
                    MyPACE Career Plan and assignment of new PAR.

          4. At a minimum, update the student’s MyPACE Career Plan and PAR as a result of
             each evaluation, to reflect accomplishments and goal revisions.
      e. Ensure students are evaluated by career development staff who are in and have direct
         contact with the students, such as counselors, instructors, residential
         advisors/residential counselors, and work site supervisors. Require evaluators to
         discuss their evaluations with students privately and in person.

      f. Provide each student with an updated copy of his or her MyPACE Career Plan and
         PAR following each evaluation or whenever the plan or career pathway is changed, and
         upload revisions into the Center Information System (CIS) e-Folder.

R3. Transition to Career Development Period

      Centers must:

      a. Ensure that each student receives ongoing evaluations, conducted by an
         interdepartmental Career Management Team (CMT).

      b. Ensure each student’s interdepartmental (CMT) conducts a formal evaluation prior to
         the student’s entry into Career Development, which assesses the student’s progress,
         determine readiness to participate, and identifies any needs for support services.

      c. Collaborate with the student to review, verify, and finalize his or her initial My
         Pathway to Achieving Career Excellence (MyPACE) Career Plan, including:

          1. Short-term training goals (career technical training program selection and academic
             goal)

          2. Mid-term career goal (job placement, apprenticeship, advanced training, military
             enlistment, or post-secondary education). An assessment to determine if the career
             pathway is appropriate for the student (Refer to Exhibit 2-5 Placement Pathway
             Prerequisites for Entry)
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 150 of 272
PRH Chapter 2: Student Support Services                                                   Page 2.6-3


          3. Long-term career goal (ultimate career that the student will progress toward)

          4. Tasks associated with career development and transitional needs as identified in
             Chapter 2, Section 2.1, R4 My Pathway to Achieving Career Excellence Career
             Plan

      d. Collaborate with each student to identify Career Success Standards that support their
         MyPACE Career Plan.

      e. Schedule support services for each student, as needed, to address barriers to full
         participation in Career Development.

      f. Assign each student to Career Development activities based on their individual progress
         and readiness to participate.

      g. Assign student a Pathway Achievement Record (PAR) based on his/her mid-term
         placement goal (direct job placement, apprenticeship, advanced training, military
         enlistment, or postsecondary education). The interdepartmental CMT will assign staff
         during the Career Development Period (CDP) to:

          1. Monitor, assist, and support the student in the completion of PAR tasks and
             activities, including transitional needs.

          2. Identify completion timelines and follow up.

      h. Ensure career plans include signatures from representatives for each department
         identified on the career plan.

      i. Submit each student’s initial MyPACE Career Plan to the Center Director or senior
         management designee for review and approval. (Reference Form 2-06 MyPACE Career
         Plan Checklist and Exhibit 2-5 Placement Pathway Prerequisites for Entry)

      j. Retain a copy of approved MyPACE Career Plan and PAR in each student’s permanent
         personnel file and upload any updated versions in the student’s e-Folder.
                                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 151 of 272
PRH Chapter 2: Student Support Services                                                                                              Exhibit 2-1 (Page 1)


                                              EXHIBIT 2-1
                    INFRACTION LEVELS, DEFINITIONS, AND APPROPRIATE CENTER ACTIONS
 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                        Significant
                                                                                          CENTER          READMIT       SEPARATION   Incident Report
   INFRACTION                                  DEFINITION                                 ACTION          ELIGIBLE         CODE      (SIR) Required?
 Possession of a      Knowingly possessing an instrument whose primary use is         Fact-Finding       Not Eligible       5.1a           Yes
 weapon on center     to inflict bodily harm, including, but not limited to:          Board, automatic
 or under center        • Firearms and ammunition                                     discharge if
 supervision            • Explosives and incendiaries                                 deemed
                        • Knives                                                      responsible
                        • Homemade weapons

                      Example: A knife is found in a student’s locker. The Fact-
                      Finding Board determines the knife belonged to the student.

                      Example: A knife is found in a student’s locker. The Fact-
                      Finding Board determines the knife was placed there by
                      another student for the purpose of getting the student kicked
                      out of the program, and the student did not know it was
                      there. In that case, the Fact-Finding Board would determine
                      that the student did not knowingly possess the weapon and
                      would not be found responsible for the infraction.
 Assault              Taking a physical action with the intent to cause immediate     Fact-Finding       Not Eligible      5.1a            Yes
                      bodily harm to another person unless taken in immediate         Board, automatic
                      response to another person taking such an action with the       discharge if
                      intent to prevent its continuation.                             deemed
                                                                                      responsible
                      Example: A student (aggressor) strikes another student
                      (victim). The victim defends him or herself by tackling the
                      aggressor in an attempt to stop further assault. Upon
                      investigation, the aggressor is charged with assault, but the
                      victim is not. However, if the victim had become a
                      secondary aggressor and proceeded to pummel the initial
                      aggressor, then both would be charged with assault.

                      Example: A student (aggressor) attempts to strike another
                      student (victim) and misses. The aggressor is charged with
                      assault because the aggressor intended to cause bodily harm.
                                   Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 152 of 272
PRH Chapter 2: Student Support Services                                                                                             Exhibit 2-1 (Page 2)

 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                       Significant
                                                                                         CENTER          READMIT       SEPARATION   Incident Report
  INFRACTION                                 DEFINITION                                  ACTION          ELIGIBLE         CODE      (SIR) Required?
 Threat of assault    Taking any action that intentionally causes another            Fact-Finding       Not Eligible       5.1a           Yes
                      person to fear imminent bodily harm.                           Board, automatic
                                                                                     discharge if
                      Example: One student raises a tray in the cafeteria as if to   deemed
                      strike another student to intentionally cause fear.            responsible
 Threat to safety     Taking any action that causes another person to reasonably     Fact-Finding       Not Eligible      5.1a            Yes
                      fear bodily harm, including threats expressed verbally or      Board, automatic
                      via email, text, blog or social media.                         discharge if
                                                                                     deemed
                      Example: A student uses social media to invite members of      responsible
                      the community to come fight another student on center.

                      Example: A student makes a terroristic threat to bomb a
                      dormitory.
 Sexual assault       Causing or engaging in sexual contact, or inappropriate        Fact-Finding       Not Eligible      5.1a            Yes
                      touching of a sexual nature of another, without the            Board, automatic
                      voluntary, affirmative consent of all individuals involved.    discharge if
                                                                                     deemed
                      Example:                                                       responsible
                      • Forced sexual intercourse or sodomy
                      • Attempted rape
                      • Child molestation
                      • Fondling/groping
                                   Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 153 of 272
PRH Chapter 2: Student Support Services                                                                                           Exhibit 2-1 (Page 3)

 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                     Significant
                                                                                       CENTER          READMIT       SEPARATION   Incident Report
   INFRACTION                                 DEFINITION                               ACTION          ELIGIBLE         CODE      (SIR) Required?
 Drugs: Possession    Knowingly possessing, using, or distributing any of the      Fact-Finding       Not Eligible       5.2b           Yes
 or distribution of   following:                                                   Board, automatic
 drugs on center or   • Illegal drugs, as defined by the Controlled Substances     discharge if
 under center              Act including seeds and residue, except when the drug   deemed
 supervision               is possessed and/or used in accordance with a valid     responsible
                           prescription

                          Note: Under Federal law, no valid prescription can be
                          provided for Schedule I drugs, including marijuana

                      •   Synthetic drugs
                      •   Legalized marijuana
                      •   Prescription drugs not prescribed for the individual
                      •   Substances used for the purpose of intoxication
                      •   Over-the-counter medications for the purpose of
                          intoxication
                      •   Drug paraphernalia
                      •   Drug sale ledger or distribution list
                                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 154 of 272
PRH Chapter 2: Student Support Services                                                                                                   Exhibit 2-1 (Page 4)

 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                             Significant
                                                                                           CENTER           READMIT          SEPARATION   Incident Report
   INFRACTION                                DEFINITION                                    ACTION           ELIGIBLE            CODE      (SIR) Required?
 Drugs: Use of        •   Testing positive on a follow-up to an initial positive       Fact-Finding       Eligible after         5.2a           Yes
 drugs as                 drug test. The follow-up test is administered between        Board, automatic   one year, but if
 evidenced by a                 th        th                                           discharge if       individual
 positive drug test       the 37 and 40 day after arrival on center.                   deemed             tests positive
                      •   Testing positive on a drug test administered on suspicion    responsible        for drug use
                          at any time.                                                                    upon
                                                                                                          readmission,
                      NOTE: Job Corps has a policy of Zero Tolerance for drug                             they will be
                      use once the student is enrolled in the program. However,                           separated
                      students with a history of drug use are not automatically                           immediately
                      disqualified from enrolling in Job Corps. As described in                           and not
                      Chapter 2, Section 2.3, R5, students will be tested within                          allowed to
                      48 hours of initial arrival to the center. An initial positive                      reapply
                      drug test is considered to reflect drug use prior to the
                      student’s enrollment. Students who test positive are
                      provided intervention services and retested between the
                      37th and 40th day after arrival on center, at which point a
                      positive test is a Level I infraction.

                      NOTE: Students who refuse to provide a specimen or have
                      an unexcused absence from a follow-up drug test shall be
                      presumed guilty of this infraction.
                                     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 155 of 272
PRH Chapter 2: Student Support Services                                                                                                 Exhibit 2-1 (Page 5)

 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                           Significant
                                                                                           CENTER          READMIT         SEPARATION   Incident Report
   INFRACTION                                 DEFINITION                                   ACTION          ELIGIBLE           CODE      (SIR) Required?
 Alcohol:              While on center or while off center but on a center-            Fact-Finding       Eligible after       5.3c           Yes
 Possession,           supervised activity, knowingly:                                 Board, automatic   one year
 consumption, or       • Possessing alcohol                                            discharge if
 distribution while    • Consuming alcohol                                             deemed
 on center or          • Distributing alcohol to others                                responsible
 under center
 supervision           NOTE: Students who are aged 21 or older may drink alcohol
                       when off center and not under center supervision; however,
                       they cannot bring alcohol onto the center.

                       In addition, if students of any age return to the center
                       intoxicated, it is categorized as a Level II “intoxication”
                       infraction described below.

                       NOTE: Students who refuse to submit to a breathalyzer or
                       provide a sample for alcohol testing shall be presumed guilty
                       of this infraction.
 Abuse of Alcohol      A pattern of alcohol consumption-related incidents              Fact-Finding       Eligible after      5.3c            Yes
                       demonstrated by receiving more than two Level II                Board, automatic   one year
                       “Intoxication on center or under center supervision”            discharge if
                       infractions where the intoxication is the result of alcohol     deemed
                                                             rd                        responsible
                       while enrolled in the program. The 3 infraction elevates
                       the behavior to Level I Abuse of Alcohol.
 Arrest for a felony   • Being arrested by law enforcement for a felony.               Fact-Finding       Not Eligible        5.1a            Yes
 or violent            • Being arrested by law enforcement for a misdemeanor           Board, automatic
 misdemeanor on             involving the use, attempted use, or threatened use of     discharge if
 or off center              physical force against the person or property of           deemed
                            another.                                                   responsible

                       NOTE: If the student is subsequently found guilty of
                       only a non-violent misdemeanor, as defined below,
                       he/she shall instead be charged with committing the
                       Level II infraction “Arrest for a non-violent
                       misdemeanor on or off center”.

                       If the charges are dropped or if the student is found not
                       guilty, he/she will be exonerated.
                                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 156 of 272
PRH Chapter 2: Student Support Services                                                                                                    Exhibit 2-1 (Page 6)

 LEVEL I – ZERO TOLERANCE INFRACTIONS
                                                                                                                                              Significant
                                                                                            CENTER          READMIT           SEPARATION   Incident Report
   INFRACTION                                DEFINITION                                     ACTION          ELIGIBLE             CODE      (SIR) Required?
 Illegal Activity     Being convicted of a felony or misdemeanor as defined by          Fact-Finding       Not Eligible           5.1a           Yes
                      Federal or state law, where the crime occurred while the          Board, automatic
                      student was enrolled in Job Corps.                                discharge if
                                                                                        deemed
                                                                                        responsible
 Robbery or           Taking money or possessions of another from his/her person        Fact-Finding       Not Eligible          5.1a            Yes
 extortion            by force or intimidation.                                         Board, automatic
                                                                                        discharge if
                                                                                        deemed
                                                                                        responsible
 Arson                The malicious setting of fire to a structure or personal          Fact-Finding       Not Eligible          5.1a            Yes
                      property belonging to another person or entity.                   Board, Automatic
                                                                                        Discharge if
                                                                                        deemed
                                                                                        responsible
 Cruelty to           The torture, ill-treatment, abandonment, willful infliction of    Fact-Finding       Not Eligible          5.1a            Yes
 animals              injury or pain, beating, maiming, mutilating, or killing of any   Board, Automatic
                      animal, whether belonging to the individual or another.           discharge if
                                                                                        deemed
                                                                                        responsible
 Inciting a           Persuading, encouraging, instigating, taunting, pressuring or     Fact-Finding       Not Eligible          5.1a            Yes
 disturbance or       threatening persons to disrupt a peaceful situation. Causing      Board, Automatic
 creating disorder    disorder or disrupting a peaceful situation.                      discharge if
                                                                                        deemed
                                                                                        responsible

 LEVEL II INFRACTIONS
                                                                                                                                              Significant
                                                                                           CENTER           READMIT           SEPARATION   Incident Report
  INFRACTION                                  DEFINITION                                    ACTION          ELIGIBLE             CODE      (SIR) Required?
 Possession of a       Knowingly possessing, without authorization or                   Fact-Finding       Eligible after 1       5.1b           Yes
 potentially           legitimate purpose, an instrument or substance that could        Board              year
 dangerous item        readily be used to inflict bodily harm.

                      Example: Box cutter, scissors, trade tools, drain cleaner.
 Theft/stealing       Taking the property of another person or entity, with the         Fact-Finding       Eligible after 1      5.1b            Yes
                      intent of permanently depriving the owner.                        Board              year
                                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 157 of 272
PRH Chapter 2: Student Support Services                                                                                              Exhibit 2-1 (Page 7)

 LEVEL II INFRACTIONS
                                                                                                                                        Significant
                                                                                         CENTER       READMIT           SEPARATION   Incident Report
   INFRACTION                                 DEFINITION                                  ACTION      ELIGIBLE             CODE      (SIR) Required?
 Intoxication on      While on center or while off center but on a center-            Fact-Finding   Eligible after 1       5.3b           Yes
 center or under      supervised activity, exhibiting a state in which one’s          Board          year
 center supervision   capacity to act or reason normally has been inhibited by
                      the ingestion of a substance with the intent to cause such a
                      state.

                      NOTE: Suspected intoxication from use of alcohol may
                      be confirmed by a breathalyzer test if alcohol is found
                      in the breath or saliva. However, this definition
                      includes intoxication as a result of substances other
                      than alcohol, so a negative breathalyzer does not
                      preclude a student from being charged with an
                      intoxication infraction.

                      NOTE: Possessing, consuming, or distributing alcohol while
                      on center or while off center but on a center- supervised
                      activity is categorized as a Level I infraction, as described
                      above.
 Possession of        Possessing items that one knows, or reasonably should know,     Fact-Finding   Eligible after 1      5.1b            Yes
 stolen goods         are stolen.                                                     Board          year
 Bullying or          • Making repeated (2 or more instances)                         Fact-Finding   Eligible after 1      5.1b            Yes
 harassment                communications with the intent to threaten or hurt         Board          year
                           another person mentally or emotionally, including
                           statements made orally, in writing or via email, blog,
                           text or other social media.
                      • Making discriminatory remarks or ethnic slurs.
                      • Performance of curses, hexes, or other rituals or actions
                           intended to harm others.
                                    Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 158 of 272
PRH Chapter 2: Student Support Services                                                                                                  Exhibit 2-1 (Page 8)

 LEVEL II INFRACTIONS
                                                                                                                                            Significant
                                                                                             CENTER       READMIT           SEPARATION   Incident Report
  INFRACTION                                  DEFINITION                                      ACTION      ELIGIBLE             CODE      (SIR) Required?
 Sexual               Making an unwelcome sexual advance(s), request(s)                   Fact-Finding   Eligible after 1       5.1b           Yes
 harassment           for sexual favors, sexually offensive remark(s), a                  Board          year
                      sexual gesture(s) or other communication(s) of a
                      sexual nature that contribute to an intimidating, hostile
                      or offensive environment. Depending on its severity, a
                      single incident may constitute sexual harassment.
                      Harassment does not have to be of a sexual nature,
                      however, and can include offensive remarks about a
                      person’s gender including behavior, comments, jokes,
                      slurs, email messages, pictures or other conduct that
                      contributes to an intimidating or offensive
                      environment. Sexual harassment may occur between
                      males and females or between members of the same
                      sex.

                      Example: A student tells an offensive joke, warranting
                      on-the-spot intervention and counseling that the joke is
                      inappropriate. The student continues to tell offensive
                      jokes, which is then deemed sexual harassment.

                      Example: An overly explicit unwanted sexual advance.
 False accusation     Making a false accusation against another individual that           Fact-Finding   Eligible after 1      5.1b             No
                      could have resulted in a Level I infraction or staff                Board          year
                      disciplinary action, without any credible supporting
                      evidence.
 Unfair money         Lending money and either demanding repayment with                   Fact-Finding   Eligible after 1      5.1b             No
 lending              interest or using intimidating methods to obtain repayment.         Board          year
 Hazing or            Participating in any ritual, ceremony, ordeal or other activity     Fact-Finding   Eligible after 1      5.1b            Yes
 initiation           that involves humiliating or verbally or emotionally abusing        Board          year
                      someone as a way of admitting him/her into a group or of
                      granting him/her status. It shall not constitute a defense to the
                      charge of hazing or initiation that the participant(s) took part
                      voluntarily, that they voluntarily assumed the risks or
                      hardship of the activity, or that no physical or mental injury
                      was suffered. All participants engaged in a hazing or
                      initiation activity are subject to disciplinary action.
                                   Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 159 of 272
PRH Chapter 2: Student Support Services                                                                                               Exhibit 2-1 (Page 9)

 LEVEL II INFRACTIONS
                                                                                                                                         Significant
                                                                                          CENTER       READMIT           SEPARATION   Incident Report
   INFRACTION                                 DEFINITION                                   ACTION      ELIGIBLE             CODE      (SIR) Required?
 Gang                 Wearing of gang clothing, colors; using signs or handshakes      Fact-Finding   Eligible after 1       5.1b           Yes
 representation or    associated with known gangs identified by law enforcement;       Board          year
 activity             using gang names or displaying gang symbols or slogans.
 Vandalism            Intentionally damaging or destroying equipment or property       Fact-Finding   Eligible after 1      5.1b            Yes
                      belonging to another person or entity, including tagging.        Board          year
 Plagiarism           Passing off the ideas or words of another as one’s own           Fact-Finding   Eligible after 1      5.1b             No
                      without crediting the source.                                    Board          year

                      Example: Copying a report from the internet and submitting
                      as one’s own work.
 Cheating             • Providing questions/answers to another student                 Fact-Finding   Eligible after 1      5.1b             No
                          during a test.                                               Board          year
                      • Receiving questions/answers from another student
                          during a test.
                      • Using online resources during a test.
 Arrest for a non-     Being arrested by law enforcement for a misdemeanor             Fact-Finding   Eligible after 1      5.3b            Yes
 violent               that does not involve the use, attempted use, or                Board          year
 misdemeanor on        threatened use of physical force against the person or
 or off center         property of another.

                       NOTE: Violent misdemeanors are categorized as Level I
                       infractions and defined above.

                      If the charges are dropped or if the student is found not
                      guilty, he/she will be exonerated.
 Bringing             Behaving in a manner that is likely to cause others to have a    Fact-Finding   Eligible after 1      5.1b            Yes
 disrepute to the     diminished or lower opinion of the center or the Job Corps       Board          year
 program              program.

                      Example: While off center, creating some kind of
                      disturbance in the community that did not result in an
                      arrest (rowdy behavior which bothered citizens or
                      merchants).

                      Example: Video recording occurrences of Level I, II, or III
                      Infractions (such as videos of fights) and posting the footage
                      on the internet.
                                   Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 160 of 272
PRH Chapter 2: Student Support Services                                                                                             Exhibit 2-1 (Page 10)

 LEVEL II INFRACTIONS
                                                                                                                                        Significant
                                                                                        CENTER       READMIT           SEPARATION    Incident Report
   INFRACTION                               DEFINITION                                   ACTION      ELIGIBLE             CODE       (SIR) Required?
 Pattern of minor     Receiving more than 4 minor infractions within a 60            Fact-Finding   Eligible after 1       5.3a             No
 infractions          calendar day timeframe.                                        Board          year

                            th
                      The 5 infraction elevates the behavior to Level II, Pattern
                      of Minor Infractions.
 Unauthorized         Leaving the Job Corps center campus or a center-supervised     Fact-Finding   Eligible after 1      5.3d             Yes
 Exit                 activity without approval from a staff member authorized to    Board          year
                      approve student leave and passes.

                      Example: A student leaves campus for any reason such as
                      meeting a friend, conducting personal business, etc. without
                      first securing appropriate approval.
                                     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 161 of 272
PRH Chapter 2: Student Support Services                                                                                                    Exhibit 2-1 (Page 11)

 MINOR INFRACTIONS
                                                                                                                                             Significant
                                                                                                                                          Incident Report
   INFRACTION                                   DEFINITION                                           CENTER ACTION                        (SIR) Required?
 Failure to follow      Exhibiting a pattern of behavior infractions that impacts   Progressive interventions:                                   No
 center rules           the rights of other enrollees or their ability to benefit   More than 4 occurrences during a 60 calendar day
 impacting the          from the program, including:                                period results in automatic Level II infraction and
 rights or ability of   • Using profanity, or abusive or obscene language           Fact-Finding Board
 others to benefit      • Interfering with the learning of others through
 from the program            disruptive behavior
                        • Smoking in unauthorized areas
                        • Cutting lines
                        • Maintaining or operating a private vehicle on center
                        • Gambling
                        • Failing to follow safety rules

                        Example: Failure to use safety equipment and protective
                        gear; horseplay; misuse of tools.
 Failure to follow      Exhibiting a pattern of behavior infractions that           Progressive interventions:                                  No
 center rules           demonstrates the individual’s lack of commitment to         More than 4 occurrences during a 60 calendar day
 impacting the          program participation or implicates self-endangerment       period results in automatic Level II infraction and
 individual’s           including:                                                  Fact-Finding Board.
 participation or       • Refusing to perform assignments
 progress in the        • Failing to follow instructions
 program                • Being absent or excessively tardy without permission
                            from assigned activity including work, classes, and
                            scheduled health appointments
                        • Engaging in overt sexual behavior
                        • Violating center dress code
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 162 of 272
   PRH Chapter 2: Student Support Services                                                         Exhibit 2-2 (Page 1)



                             EXHIBIT 2-2
        REQUIREMENTS FOR THE CONDUCT OF FACT-FINDING BOARDS
                                            Conduct of Fact-Finding Boards
                                             Level I                                      Level II
TIMEFRAME                  Decision within 3 training days           Decision within 5 training days
COMPOSITION                One senior staff member                   Two staff, one student
(Does not include Center
Director (CD), Center
Standards Officer (CSO),
Counselor, or Security)
STUDENT                    Student removed from center immediately      Student removed from center immediately and
PARTICIPATION              and placed on Fact-Finding Board Leave.      placed on Fact-Finding Board Leave if
                                                                        determined to be a threat to self or others, in
                                                                        accordance with the PRH
STUDENT RIGHTS             May provide written input for                 If on center, appear before Board
                           consideration                                 May make written input to Board
CONSIDERATIONS             Fact finding only                             Fact finding
                                                                         Seriousness of infraction
                                                                         Mitigating circumstances
BOARD                      Confirm documentation is present             Consider documentation (incident report,
DETERMINATION              (incident report, witness and staff          summary, witness and staff statements and or
                           statements and/or other paperwork            other paperwork relevant to the exact charge)
                           relevant to the specific charge(s))
                                                                        Boards may not use, review, or consider
                           If documentation supports charges,           Evaluations of Student Progress, or non-
                           confirm responsibility, sign summary and     supporting statements at Board unless directly
                           forward packet to CD                         related to charge(s)

                           If documentation is inadequate to support    Vote, without the charged student present, to
                           charges, request additional information or   determine responsibility and make a
                           reduce charges and forward packet to CD      recommendation to CD for retention or separation

                                                                        Forward packet with recommendation to CD for
                                                                        decision
DISPOSITION OF             Automatic discharge/separation Level I       Presumption of discharge
RESPONSIBILITY             Zero Tolerance
DOCUMENTATION              Form: Summary of Fact-Finding Board          Form: Summary of Fact-Finding Board Hearing
                           Determination signed by Board member         signed by Board members

                           CIS: Enter the exact date the Fact-Finding   CIS: Enter the exact date the Fact-Finding Board
                           Board was held and its final disposition.    was held and its final disposition. Provide
                                                                        rationale if Board recommendation is not upheld.
CENTER                     If paperwork supports charges, sign          Review the Board’s recommendation
DIRECTOR’S ROLE            summary and initiate separation
                           processing                                   Determine if recommendation is to be upheld,
                                                                        overturned, or if charges are to be reduced; sign
                                                                        decision and provide rationale if Board
                                                                        recommendation is not upheld
STUDENT                    In writing                                   Verbally (if present on center), and in writing
NOTIFICATION
APPEALS                    May appeal to Regional Appeal Board          May appeal Board decision to CD, and CD’s
                           (RAB) within 30 days                         decision to Regional Appeal Board within 30
                                                                        days
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 163 of 272
PRH Chapter 2: Student Support Services                                                                 Exhibit 2-3 (Page 1)


                         EXHIBIT 2-3
  MENU OF PROGRESSIVE DISCIPLINE INTERVENTIONS AND SANCTIONS
                   FOR MINOR INFRACTIONS
                  Minor Infractions: Menu of Progressive Discipline Interventions and Sanctions
         Select a minimum of one intervention and one sanction from the lists below for Minor Infractions.
                                                                                                            5th Offense in
                                                                                                          60 Calendar Day
     1st Offense              2nd Offense                3rd Offense                4th Offense                 Period
 Interventions:          Interventions:          Interventions:               Interventions:
   Counseling             Counseling            • Individual or group         • Referral to Center
    referral                referral                 counseling referral           Standards Officer
   Verbal apology         Wellness referral     • Community service           • Community
   Peer counseling         (if applicable)          (6-8 hours)                   service (8- 10
                           Written and           • Assignment to and              hours)
                            verbal apology           meetings with adult
                           CSS essay or             mentor
                            assignment            • Intervention with
                            related to CSS           relevant staff                                      Elevate to Level II,
                            skill deficiency         member                                              Pattern of Minor
                           Community                o Equal                                             Infractions and
                            service (4 hours)          Employment                                        refer to Fact-
                                                       Opportunity                                       Finding Board for
                                                       (EEO) Officer for                                 Adjudication
                                                       discriminatory
                                                       behavior
                                                     o Safety Officer for
                                                       safety violations
 Sanctions:              Sanctions:              Sanctions:                   Sanctions:
   $1 fine                $2 fine                $3 fine                      $5 fine
   Verbal or written      Letter of caution      Behavior contract            Behavior contract
    reprimand              Weekend                7-day restriction            7-day restriction
                            restriction
 Notes:
   As reflected in the Center’s Behavior Management Plan, Peer Court may be incorporated into the Progressive
    Discipline process to recommend the appropriate interventions and sanctions.
   Interventions must be tailored to address specific skill deficiencies identified in the infraction report.
   CSS refers to Career Success Standards.
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 164 of 272
PRH Chapter 2: Student Support Services                                            Exhibit 2-4 (Page 1)


                                EXHIBIT 2-4
               JOB CORPS BASIC HEALTH CARE RESPONSIBILITIES
A.     Medical

       1.      Assessment and diagnosis of illness and injury, to include:
               •     Cursory medical evaluation by a qualified health professional; must be
                     completed within 48 hours after the student’s entry.
               •     Entrance physical examination by a qualified health professional within 14
                     days after entry using Job Corps approved history and physical forms.
               •     Required entry laboratory studies
                     o       Hemoglobin or hematocrit
                     o       Pregnancy test (all females)
                     o       Pap smear (all females ≥ 21 years of age)
                     o       Chlamydia and gonorrhea testing
                     o       HIV testing
                     o       Urine drug screen
               •     Immunizations, to include boosters for incomplete immunization series, and
                     hepatitis B vaccine for health occupations training students.
               •     Tuberculin skin test (Mantoux).
               •     Vision and hearing screening.
               •     Daily walk-in clinic and appointment system for above and for episodic illness
                     or injury assessment by center physician and/or nurse.
               •     Inpatient unit visits for minor conditions, such as respiratory infections, or flu
                     symptoms.

       2.      Treatment, as highlighted below, will be provided when necessary. Third-party payer
               information will be given to providers when off-center care is required.
               •      Primary emergency care for illness and injury, including first aid and CPR, and
                      secondary care within capabilities, e.g., injection of epinephrine, and
                      immediate transfer to hospital emergency room for specialized diagnosis and
                      treatment, if needed.
               •      Treatment of urgent and other conditions not needing specialized care and that
                      are within the capabilities of qualified health professionals on staff.
               •      Management of chronic health conditions as directed by qualified health
                      professionals.
               •      Referral to off-center physicians for detailed specialized assessment.
               •      Access to prescription medications.

               If a student sustains an on-the-job injury that requires extensive or specialized
               treatment, he or she will be medically separated as a Medical Separation with
               Reinstatement Rights (MSWR) and a referral will be sent to the Office of Workers’
               Compensation Programs (OWCP).
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 165 of 272
PRH Chapter 2: Student Support Services                                             Exhibit 2-4 (Page 2)


B.     Oral Health

       1.      Assessment and diagnosis, to include:
               •     Dental readiness inspection within 14 days after entry to identify urgent care
                     need for oral conditions that if not treated are expected to result in dental
                     emergencies in the near future.
               •     Elective oral examination upon student request, including x-rays to precede
                     dental treatment.

       2.      Treatment, to include:
               •     Dental procedures to treat oral disease and correct oral health conditions that
                     may represent employability barriers. Specific procedures include:
                     o        Restorations
                     o        Extraction of pathological teeth
                     o        Root canal therapy on anterior and other strategic teeth
                     o        Replacement of missing upper anterior teeth with a removable
                              prosthesis
                     o        Dental hygiene treatment that involves nonsurgical periodontal care to
                              treat periodontal disease
               •     Referral to off-center facilities as necessary for emergent or urgent conditions
                     treatable beyond the expertise of a general dentist.

       3.      Oral disease prevention education and management, to include:
               •       Oral strategies, such as oral hygiene instruction, risk assessments, and group
                       education.
               •       Oral-health promotion activities with an emphasis on overall wellness and
                       employability.

C.     Mental Health

       1.      Assessment and possible diagnosis, to include:
               •     Assessments and recommendations for Job Corps applicants.
               •     Review of Social Intake Form (SIF) or intake assessment performed by
                     counseling staff of students who indicate mental health history, current mental
                     health problems, or who request to see the center mental health consultant
                     within 1 week of arrival.
               •     Mental-health assessments with recommendations for referred students.

       2.      Mental-health promotion and education, to include:
               •      Minimum of a 1-hour presentation on mental health promotion for all new
                      students during the Career Preparation Period with an emphasis on
                      employability.
               •      At least one annual center-wide mental-health promotion and education
                      activity.
               •      Clinical consultation with Center Director, management staff, and Health and
                      Wellness Director regarding mental health related promotion and education
                      efforts for students and staff.
               •      Coordination with other departments/programs on center to develop integrated
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 166 of 272
PRH Chapter 2: Student Support Services                                              Exhibit 2-4 (Page 3)


                      promotion and education services.

       3.      Treatment, to include:
               •     Short-term counseling with mental health checks as needed. The focus of these
                     sessions should be on retention and behaviors that represent employability
                     barriers.
               •     Collaboration with Trainee Employee Assistance Program (TEAP) Specialists
                     in the short-term counseling of students with co-occurring conditions of mental
                     health and substance use.
               •     Collaboration with center physician and Health and Wellness staff on
                     psychotropic medication monitoring of stable students, with the advice of
                     consulting psychiatrist, if appropriate.
               •     Collaboration with counseling staff in developing and/or leading psycho-
                     educational skill building groups to promote (e.g., relaxation training, anger
                     management, mood regulation, assertiveness skills, handling relationships,
                     sleep hygiene, etc.).
               •     Information exchange through regular case conferences between the Center
                     Mental Health Consultant, counselors, and other appropriate staff members
                     based on individual student needs.
               •     Crisis intervention, as needed.
               •     Referral to off-center mental-health professionals or agencies.

D.     Trainee Employee Assistance Program (TEAP)

       1.      Substance use prevention and education, to include:
               •      Minimum of a 1-hour interactive presentation on substance use prevention for
                      all new students during the Career Preparation Period.
               •      Presentation(s) on managing substance misuse, abuse and dependency
                      conditions in the workplace students during the Career Development and
                      Transition Periods.
               •      At least three annual center-wide substance use prevention and education
                      activities.
               •      Clinical consultation with Center Director, management staff, Center Mental
                      Health Consultant, and Health and Wellness Director regarding substance use
                      related prevention and education efforts for students and staff.
               •      Coordination with other departments/programs on center to develop integrated
                      prevention and education services.

       2.      Assessment for identification of students at risk for substance use problems to include:
               •     Review of Social Intake Form (SIF) or intake assessment of all students
                     performed by counseling staff within 1 week of arrival.
               •     Formalized assessment measures (e.g., SASSI3 or SASSIA2) and clinical
                     judgment to determine students’ risk levels for substance use.
               •     Collaboration with the Center Mental Health Consultant to determine when a
                     MSWR or medical separation is appropriate and should be recommended for a
                     student with substance use conditions.

       3.      Intervention services for students identified at an elevated risk for substance use, to
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 167 of 272
PRH Chapter 2: Student Support Services                                         Exhibit 2-4 (Page 4)


               include:
               •      Individual and group intervention services with a focus on behaviors that
                      represent employability barriers.
               •      Collaboration with the Center Mental Health Consultant for students with co-
                      occurring conditions of mental health and substance use.
               •      Referral to off-center substance abuse professionals or agencies for ongoing
                      treatment and/or specialized services.

       4.      Drug and alcohol testing, to include:
               •      Drug and alcohol testing procedures
               •      Policies related to positive drug or alcohol tests
               •      Notification of drug or alcohol test results
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 168 of 272
 PRH Chapter 2: Student Support Services                                  Exhibit 2-5 (Page 1)



                            EXHIBIT 2-5
              PLACEMENT PATHWAY PREREQUISITES FOR ENTRY




      PLACEMENT PATHWAY PREREQUISITES FOR ENTRY


Advanced Training pathway prerequisites for entry include:

      Minimum appropriate TABE scores in both Reading & Math (may vary by AT)
      100% TAR completion
      Minimum age 17 ½ for program entry with parental consent
      Driver’s License
      Good to excellent center behavioral record
      Each AT will have its own requirements for background check (e.g., home state and
       state the JC center is located, or nation-wide)
      No physical issues that impact performance
      No mental health issues that impact performance
      Ability to have phone interview(s)
      (Varies by AT program) Certifications
      (May be required by AT) Enrollment in Community College as well as AT program
      (May be required by AT) Sending center provides trade related tools and clothing
      (May be required by AT) Must have positive impact on center
      Other criteria as required by specific AT



Military pathway prerequisites for entry include:
      Each military branch has its own minimum ASVAB score (lowest score is 31) and
       varies based on demand
      Complete national background check
      No prescribed medications, major mental health issue, or legal charges. Some waivers
       can be applied for but very difficult to obtain
      No debts exceeding more than $500
      Maintain satisfactory behavior on center
      Student can’t be receiving federal payments (e.g., social security payments)
      Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 169 of 272
 PRH Chapter 2: Student Support Services                            Exhibit 2-5 (Page 2)


     Some restrictions on tattoos (if visible and what content)
     If under 18, need parental consent to enlist
     Meet physical requirements based on height and weight measurement formula
     Minimum completion of 675 hours actual CTT training and attainment of either a Tier 1
      HSD or a Hi-Set/GED (the exception is the marine branch which requires a Tier 1
      diploma)
     CTT Certifications
     Other criteria as determined by specific military branch


Apprenticeship pathway prerequisites for entry include:


     100% CTT and e-TAR completion
     HSD or HSE/GED
     (Varies by apprenticeship program) CTT Certifications
     Required hours of pre-apprenticeship varies per CTT (e.g., NTC requires 1000 hours)
     (If required) Meet physical requirements
     (If required) Driver’s License
     Most apprenticeship programs require minimum age of 18 years to be covered by
      Workmen’s Compensation
     Other specific criteria as required by Apprenticeship program


Post-secondary education pathway (ACT/College) prerequisites for entry
include:

     HSD or HSE/GED
     (For college) Apply for FAFSA. Requires parental income documentation until the age
      of 25
     (For college) Requires SAT, ACT or other placement assessment by institution
     (For college) Maintain a 2.5 GPA or lose FAFSA funding
     (Varies with institution) Background check
     Other specific criteria as determined by post-secondary institution
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 170 of 272
 PRH Chapter 2: Student Support Services                        Exhibit 2-5 (Page 3)



Entry-Level Job pathway prerequisites include:

     100% CTT and e-TAR completion
     HSD or HSE/GED
     Driver’s license
     Certifications
     (If required) Physical requirements
     (If required) Background check
     Other specific criteria as determined by employer
     Verification of job placement
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 171 of 272
PRH Chapter 2: Student Support Services                                         Appendix 201 (Page 1)


                            APPENDIX 201
             COMMUNICATING WITH PERSONS WITH DISABILITIES
These requirements are separate from accommodation requirements. Your obligation to
communicate effectively with people with disabilities – whether those people are students, staff,
applicants for admission or employment, parents, guardians, or members of the public – is separate
from your obligation to provide reasonable accommodations for qualified people with disabilities.

The Workforce Innovation and Opportunity Act (WIOA)
https://www.congress.gov/113/bills/hr803/BILLS-113hr803enr.pdf, nondiscrimination regulations,
which apply to Job Corps, distinguish between these two obligations, for a very simple reason:
without clear, accurate, effective communication, any encounter between a person with a disability
and a program from which he or she is seeking services, such as Job Corps, will be meaningless.

Therefore, when a person with a disability that affects his or her ability to communicate approaches
Job Corps, the first thing you should do is find out how to communicate as effectively with that
person as you do with people without disabilities.

It is important to understand that under the law, the burden is on Job Corps to provide the auxiliary
aids and services (communication aids) that are needed for equally effective communication with a
particular person with a disability. This means that you cannot and must not require the person with a
disability to supply, or pay for his or her own interpreter, communication device, or whatever else is
necessary for clear communication between him or her and Job Corps.

Furthermore, in deciding what type of aid or service is appropriate and necessary in order for you to
communicate equally effectively with a particular person with a disability, the law requires you to
“give primary consideration to” the requests of that person. Why? Because:

       •       He or she is the best source of information about his or her own needs.
       •       Not everyone who appears to have “the same” disability, or type of disability, is able
               to use and understand the same communication method. For example, while some
               people with hearing impairments understand American Sign Language, others
               communicate in Signed English, while still others do not understand sign language at
               all, and need a different communication method such as CART transcription.

Although Job Corps is not necessarily required to provide the precise communication aid requested
by a person with a disability when an equally effective, less costly alternative is available, the law
places on you the clear obligation to provide some method of communication that is effective for that
particular person with a disability. This essentially means that you must engage in an interactive
process with the person with a disability, similar to the process required for reasonable
accommodations (see Form 2-03), to find out what communication method(s) the person can
genuinely understand. This process itself, of course, requires you to communicate effectively with the
person with a disability.
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 172 of 272
PRH Chapter 2: Student Support Services                                             Appendix 202 (Page 1)


                           APPENDIX 202
      TRANSMISSION, STORAGE, AND CONFIDENTIALITY OF MEDICAL,
           HEALTH, AND DISABILITY-RELATED INFORMATION
Any medical, health, or disability-related information about a particular person – whether that person
is an applicant to Job Corps, an enrollee, an employee, an applicant for employment, or anyone else –
must be treated with extreme care. Federal law requires that all such information be treated as strictly
confidential, and that it be transmitted and stored in a way that ensures confidentiality.

This appendix explains the rules for transmission, storage, and confidentiality of medical and
disability-related information in Job Corps.

What information is disability-related?

This category is broader than you might think. It includes any information that indicates (even if it
doesn’t explicitly state) that a particular person has a disability. For example, the fact that a particular
applicant or student has an Individual Education Plan, or had one at some point during their
education, means that he or she has a learning disability. Therefore, that fact is “disability- related
information” that must be treated as confidential.

The category “disability-related information” is not limited to hard-copy or electronic records. It also
includes discussions about the fact that a particular individual has a disability, or about specific
details (such as a person’s physical or behavioral symptoms, use of particular devices or equipment,
or types of treatment) that indicate that he or she has a disability. Of course, some of the latter types
of details will also fall under the category of medical information, and must be kept confidential as
well.

Confidentiality: The General Rule is Do Not Tell

The Federal disability nondiscrimination laws that apply to Job Corps list specific categories of
persons who are allowed to obtain medical (including health) or disability-related information about a
particular individual. This means that unless you know that a given person falls into one of the
specified categories, you must assume that the person is not entitled to medical or disability-related
information about someone else; in other words, your default setting must be “don’t tell.”

Who may be informed either about the fact that a particular individual has a disability, or
about specific details related to a disability or medical/health condition?

Only people in the following categories, and only when they need to know (“need to know” is
interpreted narrowly):
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 173 of 272
PRH Chapter 2: Student Support Services                                            Appendix 202 (Page 2)


       •       Admissions counselors who:
               o     Need to know whether they will need to provide one or more accommodations,
                     or communication aids, for an applicant and/or his or her parent or guardian
                     during the admissions process
               o     Need to know whether an applicant is entitled to a waiver of the upper age
                     limit for admission because he or she has a disability
               o     Must make a decision about an applicant’s financial eligibility based on his or
                     her status as a family of one

       •       Instructors, residential staff, other center staff – only those who need to know about:
               o       An accommodation the person will be provided
               o       Necessary restrictions on a person’s duties, activities, diet

       •       First aid and safety personnel – only if:
               o       The condition might require emergency treatment
               o       The participant might need special assistance in an emergency evacuation

       •       Administrative staff of the center, center operator, Regional or National Office, or
               DOL (or other operating federal agency) who are doing monitoring or data validation

       •       Government officials investigating compliance with requirements related to
               nondiscrimination and/or equal opportunity

       •       Health and wellness staff who are examining or treating a particular person

       •       Others – only on a need-to-know basis (interpreted narrowly)

Knowledge Versus Access

The categories of persons who are permitted to have access to a particular individual’s underlying
medical, health, or disability-related documents are still more limited: even among those who may be
informed either about the fact that an individual has a disability, or about specific details related to a
disability or medical condition. Very few people will genuinely need to see or use those documents.

Examples:

       •       Access to medical documentation that a participant is entitled to status as a family of
               one, or waiver of the upper age limit, should be limited to staff members who need to
               document the basis for such decisions.

       •       First aid personnel may need access to underlying documentation related to a person’s
               medical condition in an emergency.

       •       Administrators or health and wellness staff who are considering whether a request for
               a reasonable accommodation should be granted may need to review documentation
               that is submitted in support of the request. In these cases, however, you should think
               about removing personally identifiable information from the documents. This
               approach has the advantage not only of protecting confidentiality, but also of helping
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 174 of 272
PRH Chapter 2: Student Support Services                                           Appendix 202 (Page 3)


               ensure that the decision-makers base their determination solely on the facts of a
               particular case.

       •       Instructors, residential staff, or other center staff who are working with, or providing
               accommodations for, a particular person will rarely, if ever, need to see the person’s
               medical records or other documents that demonstrate that he or she has a disability.

Storage of Records that Contain Medical or Disability-Related Information

Federal disability nondiscrimination laws that apply to the Job Corps program require that any
documents or other records that contain medical or disability-related information about a particular
individual must be kept in files (either hard-copy or electronic) that are separate from all other
information about the individual. Medical and disability-related information should be collected on
separate forms and placed in the files reserved for medical and disability-related information. If a
center, center operator, or staff member wants a document to be kept in a student’s general file or an
employee’s personnel file, and that document happens to contain some medical or disability-related
information, the medical or disability-related information must simply be removed from the
document before it is put in the general or personnel file.

The files that contain medical and disability-related information must be stored in a way that satisfies
the strict confidentiality and access requirements described above. In the majority of cases
(particularly where hard copies of records are used), satisfying those requirements will mean that all
medical- and disability-related records as a group must be stored separate from all other student,
applicant, or employee files – in a separate drawer, file cabinet, or storage room, or on a separate
server.

Regardless of whether the medical/health/disability files are maintained in electronic or hard- copy
form, access to these files must be limited to the categories of persons listed in the “Knowledge
Versus Access” section above. Hard copies of files must be kept locked, and access to the key or
combination must be furnished only to authorized persons. Electronic files must be protected via
passwords or other similar methods.

The requirement of separate storage makes sense when considered in the light of the laws requiring
strict confidentiality of medical and disability-related information. The confidentiality requirements
that apply to most information about a particular individual are less strict than the requirements that
apply to medical and disability-related information. Therefore, while a number of different categories
of outreach and admission/career transition services, center, or operator staffers may be permitted
access to general information about a particular individual, a much narrower group is legally
authorized to have access to the medical and disability-related records about that same individual.
The most logical way to impose stricter limitations on access to the latter records is to store them
separately. The alternative would be to drastically limit the categories of people who have access to
the individual’s entire file, in order to protect the medical, health, and disability-related information
the file contains. Then, only the categories of persons listed in the “Knowledge Versus Access”
section above would be able to use, or even look at, the file.

Transmission of Medical, Health, and Disability-Related Information

When student, applicant, or employee records are being transmitted, the requirements described
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 175 of 272
PRH Chapter 2: Student Support Services                                            Appendix 202 (Page 4)


above still apply. Any and all records that are medical-, health-, or disability-related, or that contain
any of those types of information, must be kept separate from other records about the individual. If
hard copies are being transmitted, put medical, health, and disability-related information in a separate
file, and place that file in a sealed envelope that is clearly marked as containing such information.
You may want to consider using numbers, rather than names, on the outside of such envelopes to
identify whose records they contain.

Staff members who receive or sort files about individuals – for example, center records department
staff who handle applicant and student files – must not open any envelopes containing medical,
health, or disability-related information, unless the specific staff member is in one of the categories of
authorized persons that are listed in the “Knowledge Versus Access” section above. Instead, those
envelopes must be transferred to persons who are legally authorized to have access to such
information. In the case of applicant files that arrive on center from an outreach and admissions
contractor, for example, the sealed envelopes should be sent to the Health and Wellness Director or
other person designated to conduct the initial direct threat review and clinical care review.

Oral Transmission

Keep in mind that the confidentiality of medical, health, and disability-related information must be
maintained when the information is being transmitted orally – in other words, when it is being
discussed aloud. This means that you must be sure that all such discussions take place in private
locations where unauthorized persons cannot overhear the conversation, either voluntarily or
involuntarily. Cubicles, for example, are inappropriate places to confer about medical or disability-
related matters, or even to mention such information, unless the discussion is conducted in such a
way that it is impossible for anyone who overhears to identify the person whose information is being
discussed.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 176 of 272
PRH Chapter 2: Student Support Services                                          Appendix 203 (Page 1)



                                APPENDIX 203
                     MEDICATION MANAGEMENT GUIDELINES
Job Corps centers must comply with all state and Federal regulations regarding prescribed non-
controlled medications, prescribed controlled substances, and over-the-counter medications, and
follow medication management guidelines as specified below.

Over-the-Counter (OTC) Medications: OTC medications are drugs that have been found to be
safe and appropriate for use without the supervision of a health care professional, such as a
physician or nurse, and can be purchased without a prescription. Centers must comply with all
state and Federal regulations regarding OTC medications and shall:

        1.      Make available OTC medications in the Health and Wellness Center (HWC).
                Document OTC medication use in the Student Health Record (SHR). If state
                law permits, stock bottles of OTC medications may be used in HWC.

        2.      Train and authorize non-health staff members to access OTC medications in first
                aid lockboxes for student use in compliance with state law. Eligibility, training,
                and authorizations will vary by state.

        3.      Outside of the HWC, store OTC medications in first aid lockboxes and make
                available, similar to a medicine cabinet, in education, trades, security, recreation,
                cafeteria, and residential areas for students use. OTC medications must be
                provided in individually packaged single doses in a properly sealed and properly
                labeled container.

        4.      Document OTC medication use outside of the HWC on a sign-out sheet kept with
                the OTC medication box. The sign-out sheet should include: the student’s name,
                the medication taken, the signature of the student, and signature of the observing
                staff member. Each OTC lockbox and sign-out sheet must be returned the HWC
                at least weekly to restock and document. Information from the sign-out sheet must
                be recorded in the Student Health Record (SHR).

        5.      Report suspected inappropriate OTC medication use by a student to the HWC
                staff as soon as possible.

        6.      Center specific policies that comply with Federal and state laws must be outlined
                in a Standard Operating Procedure (SOP) for OTC medications (see Chapter 5,
                Exhibit 5-1).

Prescribed Non-controlled Medications: Prescription medications are drugs that can only be
acquired or purchased through a prescription order written by a physician or other prescribing
practitioner. Prescribed non-controlled medications are prescriptions that not classified as
controlled substances. Centers must comply with all state and Federal regulations regarding
prescribed non-controlled medications and shall:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 177 of 272
PRH Chapter 2: Student Support Services                                         Appendix 203 (Page 2)


        1.      Determine which center health practitioners are legally authorized to prescribe,
                dispense, or administer prescribed non-controlled medications according to state
                and Federal laws.

        2.      Confirm the rationale for long-term prescribed non-controlled medications at least
                monthly with case conference between the Health and Wellness Director (HWD)
                (or designee who is authorized under his/her state license to administer drugs) and
                the prescribing health professional. Medication rationale and review includes
                student adherence, side effects, and whether or not the medication is leading to
                the desired effect.

        3.      Document prescription orders and the administration of doses. Monthly
                Medication Administration Records (MAR) must be filed in the SHR.
                Prescription orders should be transcribed to a MAR exactly as the order reads.

        4.      Review and approve prescriptions by the center physician/nurse
                practitioner/physician assistant generated for students by health practitioners in
                the community or at the student’s place of residence by the center physician/nurse
                practitioner.

        5.      Ensure that all prescribed non-controlled medications are given to the correct
                student in the right dose and by the proper route. In cases of a medication error,
                the center medical provider/center dentist/center psychiatrist (if applicable),
                HWD, and center director must be notified. Document in the SHR. All
                medication errors will be immediately reported to the Regional Office and the
                regional nurse specialist.

        6.      Provide the student with required consumer medicine information in accordance
                with state pharmacy laws each time a prescription is filled.

        7.      Handle, package, store, and observe prescribed non-controlled medications when
                the HWC is closed in compliance with Federal and state pharmacy laws. Center
                specific policies that comply with state laws must be outlined in a SOP for
                prescribed non- controlled medicines (see Chapter 5, Exhibit 5-1).

                a.       If applicable according to state law where the center is located, the HWD
                         will identify and train/certify unlicensed, non-health staff to be legally
                         authorized to observe self-administration of doses when the HWC is
                         closed. Non-health staff observing medication self-administration must
                         meet state laws, be trained, and have a personal authorization on file for
                         this task.

                b.       Any medication dose observed after hours must be documented on a
                         Medication Observation Record (MOR), and a HWC staff member should
                         file the MOR in the SHR at least weekly.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 178 of 272
PRH Chapter 2: Student Support Services                                        Appendix 203 (Page 3)


        8.      Four types of prescribed non-controlled medication should always be classified
                for self-management. These include: asthma inhalers, insulin (including vials or
                pens, syringes, and needles), Epi Pens, and oral contraceptives.

        9.      Dispose of surplus or expired prescribed non-controlled medications in
                compliance with state and Federal laws.

        10.     Send prescribed non-controlled medication(s) home with a student when he/she
                leaves the center. If a student leaves center when the HWC is closed, medications
                must be promptly sent to the student in compliance with the sending and
                receiving state laws.

Prescribed Controlled Substances: Controlled substances are highly regulated prescription
medications that are classified in five categories by safety and potential for abuse. There are
additional requirements for this classification of prescribed medications. Centers must comply
with Federal and state regulations regarding prescribed controlled substances (or medications)
and shall:

        1.      Purchase, store, and administer all controlled substances in accordance with the
                regulation at 21 CFR Part 1300. Each center must maintain a controlled
                medication log and have a Drug Enforcement Administration (DEA) registration.
                The center can obtain its own DEA registration or use the center clinician’s DEA
                registration number when ordering controlled substances.

        2.      Limit the use of controlled medications and stock only a small supply of those
                medications that will be prescribed by the center physician, center dentist, or
                psychiatrist with a DEA registration. Documentation must be maintained showing
                that controlled medications in stock were prescribed by one of these individuals.

        3.      Not stock Schedule II medications on center except when prescribed for a specific
                student. In such a case, the center shall order not more than enough controlled
                substance for a month’s treatment for the student.

        4.      Confirm the rationale for long-term controlled substances at least monthly with
                case conference between the Health and Wellness Director (HWD) (or designee
                who is authorized under his/her state license to administer controlled substances)
                and the prescribing health professional. Medication rationale and review includes
                student adherence, side effects, and whether or not the medication is leading to
                the desired effect.

        5.      Review and approve prescriptions for controlled substances by the center
                physician/nurse practitioner/physician assistant generated for students by health
                practitioners in the community or at the student’s place of residence by the center
                physician/nurse practitioner.

        6.      Store all Schedule II, Schedule III, and Schedule IV medications under a double-
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 179 of 272
PRH Chapter 2: Student Support Services                                         Appendix 203 (Page 4)


                lock system in a secured area of the HWC. Only Health and Wellness staff who
                are authorized under their state license to dispense or administer controlled
                medications shall have access to the controlled medications.

        7.      Ensure that two staff members (one must be staff authorized under their state
                license to dispense or administer controlled substances) receive and sign for
                medications received, noting the name(s) of the medications, dosage, amount, and
                date on a controlled substances log.

        8.      Maintain a log of all Schedule II, Schedule III, and Schedule IV medications.
                When dispensing or administering these medications by order of the clinician, the
                date, time, medication, and dosage must be noted on the log and the nurse
                dispensing or administering the medication must sign his or her full name or
                initial in accordance with state prescribing regulations. The log must be
                maintained in the locked area designated for controlled medications.

        9.      Document prescription orders and the administration of doses. Monthly
                Medication Administration Records (MAR) must be filed in the SHR.
                Prescription orders should be transcribed to a MAR exactly as the order reads.

        10.     Provide the student with required consumer medicine information in accordance
                with pharmacy laws each time a prescription is filled.

        11.     Ensure that all controlled substances are given to the correct student in the right
                dose and by the proper route. In cases of a medication error, the center medical
                provider/center dentist/center psychiatrist (if applicable), HWD, and center
                director must be notified. Document in the SHR. All medication errors will be
                immediately reported to the Regional Office and the regional nurse specialist.

        12.     Inventory and reconcile controlled medications at least once a week. Two
                authorized staff members must note the results on the controlled medications
                log. Any miscounts or missing medications identified during the inventory must
                be immediately reported to the Regional Office and regional nurse specialist by
                the Center Director.

        13.     Handle, package, store, and observe controlled substances when the HWC is
                closed in compliance with Federal and state pharmacy laws. Center specific
                policies that comply with Federal and state laws must be outlined in a SOP for
                prescribed controlled substances (see Chapter 5, Exhibit 5-1).

                a.       If applicable according to state law where the center is located, the HWD
                         will identify and train/certify unlicensed, non-health staff to be legally
                         authorized to observe self-administration of doses when the HWC is
                         closed. Unlicensed staff observing medication self-administration must
                         meet state laws, be trained, and have a personal authorization on file for
                         this task.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 180 of 272
PRH Chapter 2: Student Support Services                                      Appendix 203 (Page 5)




               b.       Any medication dose observed after hours must be documented on a
                        Controlled Substance Medication Observation Record (CMOR), and a
                        HWC staff member should file the CMOR in the SHR at least weekly.

       14.     Send prescribed controlled substances home with a student when he/she leaves the
               center. If a student leaves center when the HWC is closed, medications must be
               promptly sent to the student in compliance with the sending and receiving state
               laws.

       15.     Properly dispose of controlled substances that need to be destroyed because of
               expiration dates, contamination, or wastage, and document such actions on the
               controlled substances log. The log must be signed by two staff members (one
               must be staff authorized under their state license to dispense or administer
               controlled substances).
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 181 of 272
PRH Chapter 2: Student Support Services                                              Form 2-01 (Page 1)


                         FORM 2-01
  NOTICE OF MEDICAL INFORMATION USE, DISCLOSURE, AND ACCESS
 THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE
USED AND DISCLOSED, AND HOW YOU CAN GET ACCESS TO THIS INFORMATION

                                       Please Review Carefully

                 This Notice Is Required by the Health Insurance Portability and
                                   Accountability Act of 1996

We, the                                        Health Center, are required by law to maintain the
privacy of your protected health information and to provide you, the Job Corps student, with notice of
our legal obligations and privacy practices with respect to your protected health information. We are
required to abide by the terms of this Notice (or any Revised Notice currently in effect). We have the
right to change the terms of the Notice and to make those changes effective for all protected health
information that we maintain. If we make changes to the Notice, we will issue you a Revised Notice
at your assigned Job Corps location. This Notice is effective as of April 14, 2003. We may use and
disclose medical information about you under certain circumstances listed below. In each case, we
will share only the minimum information necessary.

Treatment, Payment, and Health Care Operations

Treatment. We may share the contents of your medical files, including date of visits, symptoms
presented, diagnosis, medications prescribed, treatment given or recommended, and referrals to other
health providers with other health center staff members so that we may effectively treat you and
follow up on your care. In addition to sharing this information with health center nurses, doctors,
dentists, mental health professionals, Trainee Employee Assistance Program (TEAP) specialists, or
other health providers, we may share this information with health center clerks, receptionists, or other
persons responsible for filing and entering data within the health center, and organizing patient flow
and/or contacting you to set appointments or inform you of prescription availability or other medical
information. We may share your prescription and other medical information with pharmacists or
other providers of medicines or devices, and with center drivers who pick up medications at
pharmacies or other stores, for the purpose of obtaining prescriptions, other medications, and devices
for you. We may share information with medical laboratories necessary in identifying specimens for
the purpose of testing. Center health care providers also may share your health information with
specialists or other off-center health care providers for purposes of consultation or referral.

Payment and Health Care Operations. We may share the contents of your medical files, including
referral and other information about care you received off center, with Medicaid and/or private
insurance companies for the purposes of facilitating your access to health services not provided or
paid for by Job Corps. We also may share information about illness or injuries you may incur in the
performance of your duties with workers’ compensation coordinators, for the purpose of determining
your eligibility for benefits, the payment to you of benefits, and the provision of care to you under
those benefits.
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 182 of 272
PRH Chapter 2: Student Support Services                                             Form 2-01 (Page 2)


Other Uses and Disclosures for Which Consent, Authorization, or Opportunity to Agree or
Object Is Not Required

In addition to the above uses and disclosures of your medical information, federal law permits us to
disclose medical information about you under the following circumstances:

       •       We may use or share any information required by law;

       •       We may share information about infection, disease, or other conditions with public
               health department authorized to receive such health information, as well as
               information about failure to follow prescribed treatments for these cases of infection or
               disease, to assist them in preventing or controlling health conditions and tracking vital
               events;

       •       We may contact you to provide appointment reminders or information about treatment
               alternatives or other health-related benefits and services;

       •       We may share information for certain public health activities, including for purposes
               related to the quality, safety, or effectiveness of products regulated by the Food and
               Drug Administration;

       •       We may share information with government authorities about individuals we believe
               may be victims of abuse, neglect, or domestic violence;

       •       We may share information for health oversight activities, including audits, licensing,
               and inspections of the health center, and determinations of our compliance with the
               medical privacy rules by the U.S. Department of Health and Human Services;

       •       We may share information in certain court proceedings;

       •       We may share information for law enforcement purposes;

       •       We may share information with a coroner, medical examiner, or funeral director to
               enable those people to perform their jobs with respect to people who have died;

       •       We may share information with organ donor organizations as necessary to allow
               authorized organ, eye, or tissue donations from people who have died;

       •       We may share information for certain approved limited research purposes;

       •       We may share information to avert a serious threat to health or safety;

       •       We may share information for workers’ compensation purposes;

       •       We may share information for certain specialized government functions, including
               certain military or national security uses.

Other uses and disclosures will be made only with your written authorization. Job Corps requires you
to authorize certain other uses and disclosures of your protected health information as a condition of
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 183 of 272
PRH Chapter 2: Student Support Services                                              Form 2-01 (Page 3)


enrollment in Job Corps. Those uses and disclosures are outlined in a written authorization form that
you have signed already, or that we will ask you to sign. You may revoke your authorization for these
uses and disclosures, in writing, at any time, unless we have relied on the Authorization. Please note,
however, that federal law permits Job Corps to condition enrollment in its programs on receiving a
valid authorization from you of certain uses and disclosures of your protected health information.
Although the health center must honor any withdrawal of authorization you make, and cannot
condition treatment on your authorization, such a withdrawal may affect your continued enrollment in
Job Corps. Also, you may be asked to sign other voluntary authorizations. You may revoke a
voluntary authorization, in writing, at any time, unless we have relied on that authorization.

Your Rights

The right to request restrictions. You have the right to request restrictions on certain uses and
disclosures we make of your protected health information for treatment, payment, or health care
operations, and may request restrictions on disclosures to family members or friends relevant to your
care. However, in most instances the health center is not required to agree to your request. Generally,
your health information will not be disclosed to family members or friends if you object to such
disclosure, but in an emergency or other circumstance in which we cannot obtain your agreement, we
may disclose limited information if it appears necessary for your care, consistent with state law. In
addition, in case of a disaster, your health information may be shared with the Red Cross or other
public or private entities assisting in disaster relief efforts for the purpose of notifying your family
members or other loved ones of your location, general condition, or death. Furthermore, if you are a
minor, we may be required to share health information about you with your parent or guardian,
although some types of information you may be able to restrict us from sharing with your parent or
guardian. (We will follow state laws in those instances.)

The right to receive your health information confidentially. You have the right to receive your
health information privately. For example, if you are expecting a letter containing information from
your doctor to arrive at your mailbox, and you share a mailbox with others and do not wish for others
to discover the letter, you may request that the letter be delivered to you in another way or at another
location, or you may arrange to pick up the letter.

The right to inspect and copy your health information. You have the right to look at and get a
copy of your health information for as long as we maintain those records. However, under the law,
we may deny you access to certain types of information, including psychotherapy notes kept by
mental health professionals, information compiled in anticipation of a civil, criminal, or
administrative action, certain information related to clinical or research studies, and classified
information. Denials of this nature are final. In addition, we may deny you access to your health
information if a health care provider believes that providing the information is likely to endanger the
life or physical safety of you or someone else, or, if your information refers to someone else, the
access requested is likely to cause substantial harm to that person. Also, if your personal
representative requests access to your health information, we may deny that person access if a health
care provider believes the access is likely to cause substantial harm to you or another person. You
may have denials of this nature reviewed by another health provider who was not involved in the
initial denial decision, and we will abide by the decision of that reviewer.

The right to amend your health information. You have the right to have us amend (correct or
clarify) your health information that we keep in our records, for as long as we maintain those records.
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 184 of 272
PRH Chapter 2: Student Support Services                                                Form 2-01 (Page 4)


In most circumstances, however, if you ask us to change, add, or delete certain information that we
did not create, or that is not a part of your record, or that you are not permitted to access, we do not
have to make the amendment. Furthermore, we do not have to make any changes you request that
would cause your record to be anything other than accurate and complete.

The right to be informed of disclosures we make of your health information. You have the right
to know what health information we have given to others about you for the 6 years prior to the date of
your request. Certain exceptions apply. For instance, we do not have to tell you of instances in which
we have disclosed information for purposes of treatment, payment, or health care operations, or
information that we gave directly to you or your representative, or certain directory information and
information given to persons involved in your care, or information disclosed for national security
purposes, or to law enforcement or corrections officials, or disclosures we made before we were
required to comply with these notice standards.

The right to receive a paper copy of this Notice. You have the right to request and receive a paper
copy of this notice.

The right to complain about our use of your health information pursuant to the Health
Insurance Portability and Accountability Act of 1996. You may complain to us and to the
Secretary for the U.S. Department of Health and Human Services if you believe your privacy rights
pursuant to the Health Insurance Portability and Accountability Act of 1996 have been violated. To
file a complaint with us or to request further information regarding your rights to privacy in your
health information, please contact



                 (designated health center privacy official: name, title, phone number)

In addition, you may file a complaint with the Secretary for Health and Human Services within 180
days of the date you learn of our objectionable action or omission. You must put your complaint in
writing, you must name us specifically (including the name of your Job Corps center), and you must
describe what we have done to which you object.
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 185 of 272
PRH Chapter 2: Student Support Services                                           Form 2-01 (Page 5)


Where to File Complaints Concerning Health Information Privacy:

If your Job Corps center is located in Connecticut, Maine, Massachusetts, New Hampshire, Rhode
Island, or Vermont:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       Government Center
       J.F. Kennedy Federal Building, Room 1875
       Boston, MA 02203
       Voice Phone: (617) 565-1340
       FAX: (617) 565-3809
       TDD: (617) 565-1343

If your Job Corps center is located in New Jersey, New York, Puerto Rico, or Virgin Islands:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       Jacob Javits Federal Building
       26 Federal Plaza, Suite 3312
       New York, NY 10278
       Voice Phone: (212) 264-3313
       FAX: (212) 264-3039
       TDD: (212) 264-2355

If your Job Corps center is located in Delaware, District of Columbia, Maryland, Pennsylvania,
Virginia, or West Virginia:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       Public Ledger Building
       150 S. Independence Mall West, Suite 372
       Philadelphia, PA 19106-9111
       Main Line: (215) 861-4441
       Hotline: (800) 368-1019
       FAX: (215) 861-4431
       TDD: (215) 861-4440
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 186 of 272
PRH Chapter 2: Student Support Services                                            Form 2-01 (Page 6)


If your Job Corps center is located in Alabama, Florida, Georgia, Kentucky, Mississippi, North
Carolina, South Carolina, or Tennessee:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       Atlanta Federal Center, Suite 3B70
       61 Forsyth Street, SW
       Atlanta, GA 30303-8909
       Voice Phone: (404) 562-7886
       FAX: (404) 562-7881
       TDD: (404) 331-2867

If your Job Corps center is located in Illinois, Indiana, Michigan, Minnesota, Ohio, or Wisconsin:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       233 N. Michigan Avenue, Suite 240
       Chicago, IL 60601
       Voice Phone: (312) 886-2359
       FAX: (312) 886-1807
       TDD: (312) 353-5693

If your Job Corps center is located in Arkansas, Louisiana, New Mexico, Oklahoma, or Texas:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       1301 Young Street, Suite 1169
       Dallas, TX 75202
       Voice Phone: (214) 767-4056
       FAX: (214) 767-0432
       TDD: (214) 767-8940

If your Job Corps center is located in Iowa, Kansas, Missouri, or Nebraska:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       601 East 12th Street, Room 248
       Kansas City, MO 64106
       Voice Phone: (816) 426-7278
       FAX: (816) 426-3686
       TDD: (816) 426-7065
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 187 of 272
PRH Chapter 2: Student Support Services                                          Form 2-01 (Page 7)


If your Job Corps center is located in Colorado, Montana, North Dakota, South Dakota, Utah, or
Wyoming:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       1961 Stout Street, Room 1185 FOB
       Denver, CO 80294-3538
       Voice Phone: (303) 844-2024
       FAX: (303) 844-2025
       TDD: (303) 844-3439

If your Job Corps center is located in American Samoa, Arizona, California, Guam, Hawaii, or
Nevada:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       50 United Nations Plaza, Room 322
       San Francisco, CA 94102
       Voice Phone: (415) 437-8310
       FAX: (415) 437-8329
       TDD: (415) 437-8311

If your Job Corps center is located in Alaska, Idaho, Oregon, or Washington:

       Office for Civil Rights
       U.S. Department of Health and Human Services
       2201 Sixth Avenue, Suite 900
       Seattle, WA 98121-1831
       Voice Phone: (206) 615-2287
       FAX: (206) 615-2297
       TDD: (206) 615-2296

If you would like to file a complaint by e-mail, send it to: OCRComplaint@hhs.gov or go to
https://ocrportal.hhs.gov/ocr/smartscreen/main.jsf.

For more information, please contact the Office for Civil Rights, Department of Health and Human
Services, Mail Stop Room 506F, Hubert H. Humphrey Building, 200 Independence Avenue, SW,
Washington, DC 20201. Telephone number: (202) 205-8725.

The right to complain about our use of your health information pursuant to the Rehabilitation
Act of 1973. You may complain to the Director of the Civil Rights Center, U.S. Department of
Labor, if you believe your rights pursuant to the Rehabilitation Act of 1973 have been violated. To
file a complaint or to request further information regarding your rights to privacy in your health
information, please contact:
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 188 of 272
PRH Chapter 2: Student Support Services                                            Form 2-01 (Page 8)


       Director
       Civil Rights Center
       U.S. Department of Labor
       200 Constitution Avenue, NW, Room N-4123
       Washington, DC 20210
       Voice Phone: (202) 693-5602
       TTY: (202) 693-6515
       E-mail Address: CRCexternalcomplaints@dol.gov

We are here to help you succeed and we will not take any negative action against you for making a
complaint, whether you complain to us, to the Secretary for Health and Human Services, to the
U.S. Department of Labor, or all three.

                      ACKNOWLEDGMENT OF RECEIPT OF NOTICE


I,                                     , have received a copy of this Notice. I have read this Notice
and I understand that it explains how my health information may be used and shared with others, and
what my rights are with respect to my health information.


____________________________________                 ___________________________________
Signature                                           Date
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 189 of 272
PRH Chapter 2: Student Support Services                                               Form 2-02 (Page 1)


                                    FORM 2-02
                          HIV TESTING INFORMATION SHEET
Human Immunodeficiency Virus (HIV) is the virus that causes Acquired Immunodeficiency
Syndrome (AIDS). This virus can only be transmitted to others through sexual contact, the
introduction of infected blood into the bloodstream (e.g., by the sharing of syringes or needles), or
from an infected mother to her infant, either during the birth process or by breast-feeding. A person
who is infected with HIV is likely to come down with AIDS. However, AIDS usually does not
develop until many years after a person has been infected, and persons with HIV infection may look
and feel completely healthy.

Tests are available to determine the presence of antibodies to HIV. Antibodies are substances made
by the body to fight infection. The presence of antibodies (a positive antibody test) indicates that a
person is infected with HIV and is capable of infecting others with the virus. However, it takes time
for the body to make antibodies after the virus gets into the body. For this reason, the antibody test
for a person who has recently been infected with HIV may show that a person is “negative” (does not
have antibodies) or “indeterminate” (neither positive nor negative) even though that person actually
carries the virus in his/her body. A test taken at a later time, when the body has had more time to
make antibodies, would show that the person is positive.

If your HIV antibody test results are known, it helps your doctor decide how best to treat you for
certain illnesses. If you are infected with the virus, you can receive treatment to help prevent or delay
the illnesses that can occur with AIDS. It may also help you to make personal decisions if you know
that you have HIV infection and could infect someone else. If your blood test is positive, Job Corps
will conduct medical and psychosocial evaluations in order to provide appropriate medical care and
counseling, as well as to determine whether it is appropriate for you to remain in Job Corps.

If your blood test is positive and the test results become known by others, they might think you have
AIDS or that you might infect them. This may not be true, but you might be discriminated against by
friends, family, employers, landlords, insurance companies, or others. Therefore, you should be
extremely careful in disclosing your test results.

HIV test results and other related medical records may only be released to Job Corps staff with a need
for that information for purposes of counseling, administration and delivery of health services, and to
the local and/or state health department, when required by law.

Acknowledgement of receipt of information:



Student Signature                                                    Date
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 190 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-03 (Page 1)


                                                    FORM 2-03
                 DEFINITIONS AND DOCUMENTATION REQUIREMENTS
                 RELATED TO REASONABLE ACCOMMODATIONS FOR
                  APPLICANTS AND STUDENTS WITH DISABILITIES
          PROCESS FOR AN APPLICANT OR STUDENT WITH A DISABILITY TO
         REQUEST REASONABLE ACCOMMODATION TO PARTICIPATE IN THE
                            JOB CORPS PROGRAM

BACKGROUND

What is the definition of disability?10

A disability is a physical or mental impairment that substantially limits one or more major life
activities; a record (or past history) of such an impairment; or being regarded as having a
disability.

What is a physical impairment?

A physical impairment is any physiological disorder or condition, cosmetic disfigurement, or
anatomical loss affecting one or more of the following body systems:

             •        Cardiovascular                          •        Musculoskeletal
             •        Circulator                              •        Neurological
             •        Digestive                               •        Reproductive
             •        Endocrine                               •        Respiratory (including speech organs)
             •        Genitourinary                           •        Skin
             •        Hemic and Lymphatic                     •        Special Sense Organs
             •        Immune

What is a mental impairment?

A mental impairment is any mental or psychological disorder, such as intellectual disability,
organic brain syndrome, emotional or mental illness, and specific learning disabilities.




10
     The Americans with Disabilities Act Amendments Act (ADAAA) went into effect January 1, 2009. The ADAAA
     makes it much easier for an individual to meet the definition of disability, be protected from discrimination, and
     be entitled to reasonable accommodations. Changes to this act apply to all federal disability nondiscrimination
     laws including the Workforce Innovation and Opportunity Act and Section 504 of the Rehabilitation Act that
     apply to Job Corps. While these laws are not identical, they are consistent, and have been modified to conform to
     the ADAAA. While all regulations that apply to Job Corps have not been updated, the ADAAA changes still
     apply to these regulations.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 191 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 2)


Are there conditions, situations, or orientations that are not considered physical or mental
impairments?

The following conditions, situations, or orientations are not considered physical or mental
impairments:

       •       Homosexuality and bisexuality

       •       Normal pregnancy

       •       Environmental, cultural, and economic disadvantages (e.g., a prison record or a
               lack of education)

       •       Limited English proficiency/English as a second language

In addition, federal disability nondiscrimination laws do not protect people with the following
conditions, even if the conditions would otherwise satisfy the definition of “disability.”

       •       Transvestitism, transsexualism, pedophilia, exhibitionism, voyeurism, gender
               identity disorders not resulting from physical impairments, or other sexual
               behavior disorders

       •       Compulsive gambling, kleptomania, or pyromania

       •       Psychoactive substance-use disorders resulting from current illegal use of drugs

       •       Environmental, cultural, or economic disadvantages (e.g., poverty, lack of
               education, prison record)

What are major life activities?

Major life activities include, but are not limited to: caring for oneself; performing manual tasks;
seeing; hearing; eating; sleeping; walking; standing; sitting; reaching; lifting; bending; speaking;
breathing; learning; reading; concentrating; thinking; communicating; interacting with others;
and working. Other major life activities include the operation of a major bodily function,
including functions of the immune system; special sense organs and skin; normal cell growth;
and digestive, genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory,
cardiovascular, endocrine, hemic, lymphatic, musculoskeletal, and reproductive functions. The
operation of a major bodily function includes the operation of an individual organ within a body
system. This list is not exhaustive, but carries examples of some activities that can be considered.

What is a substantial limitation?

When making a determination on whether an individual is substantially limited in performing a
major life activity:

       •       The determination requires an individualized assessment.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 192 of 272
PRH Chapter 2: Student Support Services                                            Form 2-03 (Page 3)



       •       The determination should not require extensive analysis.

       •       An impairment need not prevent, or severely or significantly limit a major life
               activity in order to be considered substantially limiting. Nonetheless, every
               impairment does not constitute a disability.

       •       The term “substantially limits” should be construed broadly in favor of expansive
               coverage; “substantially limits” is not meant to be a demanding standard.

       •       An impairment is a disability if it substantially limits the ability of an individual
               to perform a major life activity as compared to most people in the general
               population. An impairment need not prevent, or significantly or severely restrict
               the individual from performing a major life activity in order to be considered
               substantially limiting.

       •       Although determination of whether an impairment substantially limits a major life
               activity as compared to most people will not usually require scientific, medical, or
               statistical evidence, such evidence may be used if appropriate.

       •       An individual need only be substantially limited, or have a record of a substantial
               limitation, in one major life activity to be covered under the first or second prong
               of the definition of disability.

       •       When determining whether a person is substantially limited in a major life
               activity, the beneficial effects of mitigating measures, except ordinary eyeglasses
               or contact lens, will be ignored. Mitigating measures are things such as:

               o      Medication, medical supplies, equipment, or appliances, low-vision
                      devices (defined as devices that magnify, enhance, or otherwise augment a
                      visual image, but not including ordinary eyeglasses or contact lenses),
                      prosthetics including limbs and devices, hearing aid(s) and cochlear
                      implant(s) or other implantable hearing devices, mobility devices, and
                      oxygen therapy equipment and supplies;

               o      Use of assistive technology;

               o      Reasonable accommodations or auxiliary aids or services;

               o      Learned behavioral or adaptive neurological modifications; or

               o      Psychotherapy, behavioral therapy, or physical therapy.

Evidence showing that impairment would be substantially limiting without mitigating measures
could include evidence of limitations that a person experienced prior to using a mitigating
measure, evidence concerning the expected course of a particular disorder absent mitigating
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 193 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 4)


measures, or readily available and reliable information of other types.

While the beneficial effects of mitigating measures are ignored; if the mitigating measure itself
causes any limitations, they will be considered. The use of a mitigating measure cannot be
required.

An impairment that is episodic or in remission meets the definition of disability if it would be
substantially limiting when it is active. This means that chronic impairments with symptoms or
effects that are episodic rather than present all the time can be a disability even if the symptoms
or effects would only substantially limit a major life activity when the impairment is active.
Examples of impairments that may be episodic include epilepsy, hypertension, asthma, diabetes,
major depressive disorder, bipolar disorder, and schizophrenia.

The effects of an impairment lasting fewer than 6 months can be substantially limiting. At the
same time, the duration of an impairment is one factor that is relevant in determining whether the
impairment substantially limits a major life activity. Impairments that last only a short period of
time are typically not covered, although they may be covered if sufficiently severe.

Are there certain impairments that will always result in substantial limitation in
performing certain major life activities?

The following impairments are examples from the Americans with Disabilities Act Amendments
Act (ADAAA) regulations of impairments that should be easily found to substantially limit a
major life activity:

       •       Deafness substantially limits hearing

       •       Blindness substantially limits seeing

       •       An intellectual disability substantially limits brain function

       •       Partially or completely missing limbs or mobility impairments requiring the use
               of a wheelchair substantially limit musculoskeletal function

       •       Autism substantially limits brain function

       •       Cancer substantially limits normal cell growth

       •       Cerebral palsy substantially limits brain function

       •       Diabetes substantially limits endocrine function

       •       Epilepsy substantially limits neurological function

       •       Human Immunodeficiency Virus (HIV) infection substantially limits immune
               function
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 194 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-03 (Page 5)



           •        Multiple sclerosis substantially limits neurological function

           •        Muscular dystrophy substantially limits neurological function

           •        Major depressive disorder, bipolar disorder, post-traumatic stress disorder,
                    obsessive compulsive disorder, and schizophrenia substantially limit brain
                    function

May the condition, manner, or duration under which a major life activity can be
performed be considered in determining whether an impairment is a disability?

For conditions that are not so obviously disabilities, the regulations state that in determining
whether an individual is substantially limited in a major life activity, it may be useful in
appropriate cases to consider, as compared to most people in the general population:

           •        The condition under which the individual performs the major life activity;

           •        The manner in which the individual performs the major life activity; and/or

           •        The duration of time it takes to perform a major life activity or the amount of time
                    the activity can be performed.

What are reasonable accommodations?

Reasonable accommodations are any changes to the environment or in the way things are
customarily done, that give a person with a disability an opportunity to participate in the
application process, job, program, or activity that is equal to the opportunity given to similarly
situated people without disabilities. Although many people with disabilities can (and do) apply
for and participate in the Job Corps program without any reasonable accommodations, barriers
do exist that keep other potential applicants or students with disabilities from applying or
participating, and that could be overcome with some form of accommodation. Reasonable
accommodation may involve providing an appropriate service or product; modifying or adjusting
a job, work/academic environment, policy, program, or procedure; or any other action that
removes those barriers for the person with a disability.

Who is entitled to reasonable accommodations?

Under federal law, only a person who meets one or both of the first two prongs of the disability
definition (i.e., actual disability or record of a disability) is entitled to reasonable
accommodation.11


11
     People who are regarded as having a disability are protected from discrimination by federal disability
     nondiscrimination laws. However, these people are not entitled to the positive actions, such as reasonable
     accommodations, that must be provided to people with actual, current disabilities or those with a record (past
     history) of a disability.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 195 of 272
PRH Chapter 2: Student Support Services                                            Form 2-03 (Page 6)


How do federal disability nondiscrimination laws relating to drug addiction and alcoholism
interact with Job Corps’ Zero Tolerance Policy and alcohol-related policies?

Drug Addiction

The definition of “individual with a disability” under federal law explicitly excludes persons who
are currently engaging in the illegal use of drugs. This exclusion means that even though a
particular person’s drug addiction constitutes a disability, it is not against the law to take adverse
action against that person – to separate him or her from Job Corps, or otherwise give him or her
less favorable treatment than others – because of that drug addiction.

Only people who are currently using drugs illegally are excluded from protection under the
relevant federal laws. The following categories of persons are considered individuals with
disabilities under those laws, and are therefore protected from discrimination on the basis of the
drug addiction itself:

       •       Persons with a drug addiction diagnosis who have successfully completed a
               supervised drug rehabilitation program (an in-patient, out-patient, or employee
               assistance program), and who are no longer using drugs illegally.

       •       Persons with a drug addiction diagnosis who have been rehabilitated successfully
               in some other way (e.g., recognized self-help programs such as Narcotics
               Anonymous) and who are no longer using drugs illegally.

       •       Persons who have a drug addiction diagnosis, are currently participating in a
               supervised rehabilitation program, and who are no longer using drugs illegally.

A center may request documentation that an applicant/student:

       •       Has a drug addiction diagnosis

       •       Has completed/is participating in a rehabilitation program or been rehabilitated
               successfully in some other way

       •       Is not currently using, only if an applicant/student is requesting to be considered a
               person with a drug addiction disability (most likely so he/she can request
               reasonable accommodation)

An applicant who has a diagnosis of drug addiction but is not requesting accommodation cannot
be required to provide documentation that he/she is not currently using drugs. A person who
casually used drugs illegally in the past but did not become addicted is not an individual with a
disability, and therefore is not protected from discrimination.
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 196 of 272
PRH Chapter 2: Student Support Services                                                                Form 2-03 (Page 7)


Alcoholism12

Even those who are currently using alcohol are protected by Federal disability nondiscrimination
laws from adverse actions taken because of the alcoholism itself. However, students are subject
to the center’s disciplinary policies and measures regarding the use and abuse of alcohol, as well
as to Job Corps’ Zero Tolerance policy regarding the use of drugs.

It is important to understand the difference between taking adverse action against someone
because of his or her alcoholism itself, and taking adverse action against him or her because of
the behavior that the alcoholism causes. Taking adverse action because of someone’s behavior
(rather than because of his or her status as an alcoholic) is not considered discrimination.

For example, suppose a student who is an alcoholic is discovered drinking alcohol on-center – an
action that is prohibited under the center’s disciplinary policy. In this case, it is not
discriminatory for the center to take action to discipline the student: the center is taking this
action not because the center staff knows the student is an alcoholic, but because the student has
violated the standards of conduct – in other words, because of the student’s behavior. The policy
is not intended to punish students for being alcoholics; it prohibits and punishes the actual use of
alcohol – in other words, the behavior. For these reasons, the policy does not violate federal
disability nondiscrimination law.


POLICY

An applicant or student with a disability is entitled to request and receive reasonable
accommodation to participate in the Job Corps program at any time during the admissions
process or enrollment. Each center is required to have a reasonable accommodation Standard
Operating Procedure (SOP). The SOP should describe the center’s process for ensuring
applicants/students with disabilities who may need accommodation are engaged in an interactive
process to consider/determine the functional limitations resulting from their disability and the
potential accommodations that would allow them to participate in the Job Corps program. The
center’s Disability Coordinators (DCs) should ensure that a reasonable accommodation process
SOP is in place, and should coordinate the center’s reasonable accommodation process.

The reasonable accommodation process will have some variations depending on when the
accommodation process begins, either during admissions or after enrollment. The center’s
reasonable accommodation SOP, and process should include both of these situations and the
following components:

            •        Requesting accommodation

            •        Determining the need for accommodation


12
     As with illegal use of drugs, a person’s use of alcohol does not constitute a disability unless it is an addiction that
     substantially limits one or more of the person’s major life activities.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 197 of 272
PRH Chapter 2: Student Support Services                                       Form 2-03 (Page 8)


       •       Ensuring appropriate documentation

       •       Reviewing a request

       •       Determining reasonableness

       •       Entering the accommodation plan

       •       Notifying staff/viewing the accommodation plan

       •       Determining accommodation effectiveness

       •       Documenting the accommodation process

       •       Maintaining the accommodation file

       •       Storing accommodation and disability documentation

       •       Confidentiality


PROCESS

Requesting Accommodation

A reasonable accommodation request can be communicated in any form (e.g., oral, written, sign
language). However, the request must be documented on the Job Corps Reasonable
Accommodation Request Form – Program (included in this document). This form cannot be
changed, and must be used to document the request.

The Admissions Counselor (AC) will inform each applicant of his or her right to request
reasonable accommodation, and then review the request form with the applicant. If the applicant
wants to request accommodation or discuss the need for accommodations with a DC, the request
form should be completed. The AC may assist with completion of the request form, as
necessary.

If the applicant does not want to request accommodation, the AC should inform the applicant
about his or her right to request reasonable accommodation at any point during the admissions
process or during enrollment in the program. If a reasonable accommodation request is made
after enrollment, a DC will go through the form with the student, and may assist with its
completion, as necessary. All requests for reasonable accommodation to participate in the
program will be reviewed at the center level (center of assignment).
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 198 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 9)


Determining the Need for Accommodation

There must be an interactive process between the center and applicant/student (and
parent/guardian, when appropriate) to determine accommodation needs.

       •       Applicant to Participate in Program – If an applicant:

               o       Makes an accommodation request by completing the Job Corps
                       Reasonable Accommodation Request Form – Program;

               o       Indicates on the Job Corps Reasonable Accommodation Request Form –
                       Program s/he would like to discuss the need for accommodation with a
                       DC; or

               o       Provides documentation that indicates s/he may be an individual with a
                       disability who may need reasonable accommodation to participate in Job
                       Corps.

               The DC must engage the applicant in an interactive process (even if the applicant
               did not request accommodation) to review request and/or determine possible
               accommodation needs.

       •       Student to Participate in Program – Applicants are not required to request
               accommodation during the admissions process and once enrolled in the program
               may request accommodation at any time. A student may complete the request
               form and/or make an accommodation request to any staff person. All requests
               should be referred to a DC.

If an applicant/student with a disability determines s/he does not want accommodations, a DC
should ensure the decline is documented by ensuring completion of either the Job Corps
Reasonable Accommodation Request Form – Program or the Reasonable Accommodation
Review Due To Documentation of Disability Form as appropriate.

Ensuring Appropriate Documentation

If an applicant makes a reasonable accommodation request, the AC should ask the applicant for
reasonable documentation about his or her disability and functional limitations. A DC will gather
this information if the request is made after enrollment. Only the documentation that is needed to
establish that (1) a person has a disability, and (2) the disability necessitates a reasonable
accommodation, may be requested. It is important to obtain this type of information since the
accommodation needs of an individual with a disability will depend on his or her functional
capacities and limitations rather than his or her diagnosis. The applicant/student may be provided
assistance to obtain the appropriate documentation to support the request. If an applicant/student
provides insufficient documentation of a disability in response to the center’s initial request, the
center should explain why the documentation is insufficient and allow the person an opportunity
to provide the missing information in a timely manner. A center cannot ask for documentation
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 199 of 272
PRH Chapter 2: Student Support Services                                         Form 2-03 (Page 10)


when (1) both the disability and the need for reasonable accommodation are obvious, or (2) the
person has already provided the center with sufficient information to substantiate that she or he
has a disability and needs the reasonable accommodation requested.

DCs should not spend a lot of time analyzing whether an applicant/student meets the definition
of disability or requesting extensive documentation. Instead, the focus should be on the
accommodation, whether it is reasonable, whether it can be provided without an undue hardship,
and whether there are other accommodations that can be considered.

The documentation about the disability and the functional limitations should come from an
appropriate health-care or rehabilitation professional (e.g., physicians, psychiatrists,
psychologists, nurses, physical therapists, occupational therapists, speech therapists, vocational
rehabilitation specialists). In addition, if the applicant has received a past accommodation, the
associated documentation should be obtained (e.g., Individualized Education Program (IEP) or
504 Plan from the school system, along with supporting educational and psychological
assessments when available).

All documentation should be reviewed to ensure the accommodation requested is supported by
the documentation provided. Accommodations afforded to an applicant or student must be
relevant to that individual’s manifestations and functional limitations resulting from the
impairment. For example, a student who has diabetes and who has been granted accommodations
that includes schedule adjustments and frequent breaks related to the manifestations of his
diabetes would not be entitled to the use of a calculator on the non- allowable portions of the
Test of Adult Basic Education (TABE) unless there was also a corresponding disability in the
area of math calculations. For examples of possible types of documentation for specific
disabilities, see the Reasonable Accommodation Guidelines section of the Job Corps Disability
website.

Reasonable accommodation is not provided to struggling students without disabilities. Keep in
mind that reasonable accommodation has a legal foundation and is intended to provide barrier
removal for some limitation imposed by a person’s disability.

If a student’s or applicant’s disability or need for reasonable accommodation is not obvious, and
she or he refuses to provide the reasonable documentation requested by the center, then she or he
is not entitled to reasonable accommodation. If an applicant/student suspects that he or she may
have a disability that has not been diagnosed and is unable to pay for an evaluation, the AC or a
DC should provide the applicant/student with referral information.

Documentation to Support Accommodations for Standardized Testing

Types of accommodations that are allowable in a standardized testing situation such as the
TABE usually are more limited than in other environments such as the academic and career
technical training classrooms because certain accommodations may significantly alter what the
test is intended to measure. Currently, centers should be using McGraw-Hill’s guidelines on
appropriate accommodations as a general guide for the types of accommodations that are
allowed for use with students with disabilities during TABE testing (see Appendix 301).
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 200 of 272
PRH Chapter 2: Student Support Services                                        Form 2-03 (Page 11)


Appropriate documentation must support accommodations. An accommodation cannot be
provided simply because the student requests one or because staff members believe it would be
helpful to a student. For example, a student with a documented reading disability would not
likely be entitled to the use of a calculator. Certain accommodations are never appropriate in the
standardized testing environment such as rephrasing the TABE test questions by simplifying,
rewording, or otherwise changing the structure of the test and therefore impacting the
standardization beyond what Job Corps allows.

Reviewing a Request

The Reasonable Accommodation Committee (RAC) is led by the center’s DCs and always
includes the applicant or the student. The RAC’s primary functions are to:

       •       Review an applicant’s request or need for accommodation (if documentation of
               disability is present) to participate in the Job Corps program when a center has
               recommended denial of an application or when the center intends to enroll the
               individual;

       •       Review a student’s request or need for accommodation (if documentation of
               disability is present) to participate in the Job Corps program;

       •       Assist applicant or student in determining needed accommodations by identifying
               the functional limitations resulting from the disability (i.e., student cannot read
               print material because text appears as a series of jumbled letters and needs access
               to a text-reader, audio tapes, or other oral communication supports, student has
               mobility impairment, and needs first floor dorm room);

       •       Ensure accommodation review considers accessibility needs and barrier removal
               for all areas of the center (residential/classroom/common areas/transportation,
               etc.) in which it is needed;

       •       Meet with students when issues with implementation or effectiveness of
               accommodation plans are identified during the effectiveness review process and
               when referrals are made to the DC that indicate an accommodation plan review
               may be needed;

       •       Assist with accommodation review during the work-based learning and transition
               periods; or

       •       Review TABE waiver requests to evaluate accommodation supports and
               effectiveness, make recommendations about additional accommodation needs, if
               appropriate, and provide feedback for the regional paperwork.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 201 of 272
PRH Chapter 2: Student Support Services                                       Form 2-03 (Page 12)


Reviewing a Simple Accommodation Request

If the accommodation request is straightforward and does not involve significant expense, the
review can be an informal meeting (phone or face-to-face) between a DC and the
applicant/student (and parents, service providers, if applicable). Agreed upon accommodations
can be determined at this meeting and approved by a DC.

Reviewing a Complex Accommodation Request with RAC

If the request involves complex accommodation issues and/or significant expense, a RAC
meeting may be required. Participants will vary depending on the nature of the request, but must
always include a DC (chairperson) and applicant/student and his or her parents (if the
applicant/student is a minor or requests his or her parents attend the meeting). Other possible
members may include:

       •       Academic Manager and the Health and Wellness Director, if the center has a
               dedicated position for a DC; otherwise, it is presumed that the Academic Manager
               and the Health and Wellness Director are DCs, see Chapter 2, Section 2.4, R1.

       •       Center Mental Health Consultant, physician, dentist, or TEAP Specialist

       •       Career Technical Training Manager

       •       Student’s counselor

       •       Representatives of center departments directly impacted by the accommodation
               request

       •       Community social service agency if the applicant/student is receiving benefits in
               the community

A DC will provide information on the applicant’s/student’s accommodation request, functional
limitations, and manifestations of the disability, as appropriate. The RAC will then determine:

       •       Whether Job Corps can provide the requested accommodation or an alternate
               accommodation that is equally effective. If no specific accommodations have
               been requested, the RAC will assist in identifying accommodations.

       •       The center staff responsible for ensuring the accommodation is made and the date
               by which the accommodation will be in place. Accommodations for applicants
               should be in place by the scheduled arrival date of the applicant.

       •       The amount and type of contribution to be obtained from other sources toward the
               purchase or acquisition of the requested accommodation.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 202 of 272
PRH Chapter 2: Student Support Services                                         Form 2-03 (Page 13)


       •       If appropriate accommodations can be developed/agreed to at this meeting, an
               accommodation plan can be developed. If additional information is needed or
               research into specific accommodations is necessary, a DC or appropriate staff
               should stay in contact with the applicant/student until a plan can be developed.

A summary of any informal or formal meetings with the applicant/student should be included as
a note in the Center Information System (CIS) Notes tab. RAC meeting documentation (i.e.,
copy of agenda/list of attendees) should be maintained for all RAC meetings. For more
information on reviewing a request and the RAC meeting process see the Reasonable
Accommodation Guidelines section of the Job Corps Disability website.

Accommodation Request or Documentation of Disability within Applicant File Review

If the center’s File Review Team has decided to recommend denial of an applicant who has a
disability because it is believed that the applicant either poses a direct threat or that the
applicant’s health care needs exceed those of basic care as provided within Job Corps, the
center’s RAC will need to engage the applicant in the interactive process to determine whether or
not accommodations would sufficiently reduce the barriers to enrollment such that the applicant
can enroll in the program. Accommodation considerations within the assessment process will
only include those related to the symptoms and behaviors that are presenting barriers to
enrollment. For more information, see Forms 1-07, 2-04, and 2-05.

Determining Reasonableness

There are many gray areas in the interpretation of what constitutes a reasonable accommodation,
therefore, Job Corps has no specific list of accommodations that will or will not be provided.
Each request for accommodation should be evaluated individually, and a determination made
regarding whether it is reasonable.

If granting a requested accommodation would pose an undue hardship or fundamental alteration
to the program, Job Corps is not obligated to provide it. Undue hardship means that providing the
accommodation would be unduly costly or extensive. Fundamental alteration means that
providing the accommodation would alter the nature or operation of the program.

When considering if a request is an undue hardship or fundamental alteration, consider:

       •       What is the net cost of the accommodation, taking into consideration the
               availability of tax credits, deductions, or outside funding?

       •       What are the overall financial resources of the center, center operator, contractor,
               outreach and admissions agency, or placement agency; any parent companies of
               any of these entities; and Job Corps as a whole? Does the center have the funds to
               provide the accommodation? Can the National Office provide funding?

       •       Can other agencies/organizations provide or contribute to the cost of providing
               the accommodation?
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 203 of 272
PRH Chapter 2: Student Support Services                                        Form 2-03 (Page 14)



       •       Will the accommodation allow the individual applicant to participate in and
               benefit from the Job Corps program?

       •       Could the requested accommodation benefit other persons with disabilities?

       •       Will the requested accommodation affect the daily operation of the center, prevent
               or reduce the benefit other students receive from the program, or affect the ability
               of staff to do their job?

In cases where the center determines that providing the accommodation would be an undue
hardship or fundamental alteration, the center must take any other action that would not result in
such a hardship or alteration, but would allow the applicant to participate in the program. Job
Corps is required to make every effort to accommodate an applicant with a disability at the
appropriate center in accordance with the assignment procedures in Chapter 1. However, if this
assignment is not sensible, the applicant should be assigned to a center that offers comparable
training, and is able to accommodate the applicant’s particular needs.

Funding High Cost Accommodations

Generally, centers are responsible for any costs associated with providing reasonable
accommodation to students with disabilities. In rare cases, a high cost accommodation (e.g., sign
language interpreter) may be needed. In these cases, if the center is unable to fund the
accommodation or locate a funding source in the community, a request can be made through the
appropriate Regional Office for National Office funding assistance. The Job Corps Reasonable
Accommodation Funding Request Form must be used to request National Office funding. If
supplemental funding is necessary after an initial request has been approved, it must be requested
using the Job Corps Reasonable Accommodation Supplemental Funding Request Form. Both
forms are available in this appendix, and additional guidance for completing these forms is
available from the Regional Disability Coordinators.

Recommending Denial of an Accommodation

Recommending denial of an accommodation should be a rare occurrence. No accommodation
can be denied at the center level. If the center feels providing the accommodation would be an
undue hardship or a fundamental alteration to the nature or operation of the program and no
alternate accommodation can be agreed upon, the decision must be forwarded to the Regional
Director for a final decision.

Before sending a recommendation for denial to the region, center staff should contact its
Regional Disability Coordinator for guidance and review the following statements to determine
if the reasonable accommodation process was completed.

       •       The center held an interactive RAC meeting that included the applicant/student;

       •       The interactive process is well documented;
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 204 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 15)



       •       The RAC considered specific accommodations;

       •       If appropriate, the center contacted the Job Accommodation Network (JAN) and
               documented the date, name of the JAN staff person who assisted, and JAN’s
               accommodation recommendations;

       •       The reason for the recommendation for denial of the accommodation is clearly
               documented, and is because providing the accommodation would be an undue
               hardship or a fundamental alteration to program;

       •       The center offered another solution that would permit the applicant/student to
               participate in the program to the greatest extent possible. The
               applicant’s/student’s decision to decline this offer is documented.

       •       If the recommendation for denial is based on undue hardship due to cost, funding
               from the National Office was requested.

If all steps were taken, the center should complete the Accommodation Recommendation for
Denial form (included in this appendix) and submit along with all other
documentation/notes/forms related to the request to the Regional Office for a final decision. The
Regional Director will make a determination after consultation with Regional Disability
Coordinators, other appropriate staff, and the National Office (i.e., National Health Staff) as to
whether there is an obligation to grant the accommodation request.

If the Regional Director determines that the accommodation should be granted, the
accommodation will be provided. If the Regional Director determines that there is no obligation
to grant the accommodation, the applicant/student will be provided a written statement from the
Regional Office that includes the reason for the denial and why no other accommodation is
possible.

The center will make every effort to respond to the request in a timely manner and will inform
the applicant/student if the request is being sent to the region for review or delayed for any other
reason. Centers should complete the review of an accommodation request within 30 days of the
arrival of the applicant’s file on center. When this is not possible, a DC should document the
reason.

Entering the Accommodation Plan

After accommodation determinations have been made and as soon as possible after the student
enters the program, the accommodation plan will be entered in CIS using the accommodation
plan icon. For students who require TABE testing accommodations, the plan will be entered
prior to the administration of the first TABE test. Accommodation plans should not include
information about an individual student’s diagnosis, medication needs, or other health-related
history or information. The DC and student will sign the plan. A copy of the plan must be
provided to the student, and the original should be maintained in the student’s accommodation
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 205 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 16)


file.

Notifying Staff/Viewing the Accommodation Plan

As necessary (i.e., when accommodation plans are added or updated in CIS), but at least
biweekly, a DC should e-mail all staff members who interact with students a list of students with
accommodation plans available in the CIS, the list should specifically indicate any plans that are
new or updated. Copies of these e-mails should be maintained by a DC. Managers are
responsible for ensuring that approved accommodations are implemented in their areas of
supervision.

Staff should access plans in CIS using the accommodation plan icon. Access to the plan’s
content must be determined on a “need to know” basis. Since in most cases accommodations
need to be provided throughout all departmental areas of the center, access to the plans may need
to be center-wide.

Determining Accommodation Effectiveness

As the student participates in the program, new needs may be identified or accommodation
adjustments may be required. The effectiveness of a student’s accommodation will be evaluated
as part of student performance panels on a regular basis throughout his or her enrollment in Job
Corps (at least every 60 days). Student and staff feedback is required as part of this process and
this feedback should be documented in the accommodation file. Forms and additional guidance
for supporting this process are available on the Job Corps Disability website.

Note: Staff should not wait for a performance panel review to request a modification of an
existing plan if a need for a change has been identified.

Documenting the Accommodation Process

Documentation of actions and decisions can be very important if an applicant/student alleges
discrimination. Therefore all interactions with the applicant/student and activities related to the
provision of reasonable accommodation should be documented. The Notes tab in CIS will be
used to document the process. For examples of notes, see the Reasonable Accommodation
Guidelines section of the Job Corps Disability website.

Maintaining the Accommodation File

A separate accommodation file (similar to the student’s health record) should be maintained for
each student receiving accommodation. Appropriate staff should have access to the information
and medical records should be stored separately (in student’s health record).

All accommodation files will contain documents and information to support the provision of
accommodation and notes/updates documenting the accommodation process. For suggested
content and layout for an accommodation file, see the Reasonable Accommodation Guidelines
section of the Job Corps Disability website. All suggested contents may not be required for each
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 206 of 272
PRH Chapter 2: Student Support Services                                           Form 2-03 (Page 17)


accommodation file. If a different layout is preferred, it should be consistent for all
accommodation files.

Storing Accommodation and Disability Documentation

Storage of Accommodation Files

Each student should have only one accommodation file, and all accommodation files must be
stored as a group in a separate drawer, file cabinet, or storage room that is locked. When the
student separates, the accommodation file should be sealed and sent to records to be combined
with other files into a single record and stored in a central location on center. See Appendix 202
for more information on storage of disability-related information.

Storage of Non-Health Disability Documentation, No Accommodation Plan

If a student with a disability does not wish to receive accommodations, either Reasonable
Accommodation Review/Documentation of Disability Form or a Job Corps Reasonable
Accommodation Request Form – Program will be completed for the student. A “disability, no
accommodations” file will be created for each student that has a disability, but no
accommodation plan. This file will contain the appropriate form and any non-health disability-
related documentation such as an IEP. These files should be stored in the same location as the
accommodation files, but should be differentiated (e.g., stored as a group in a separate area of the
cabinet or color coded).

When the student separates, these files should be sealed and sent to records to be combined with
other files into a single record and stored in a central location on center. See Appendix 202 for
more information on storage of disability-related information.

Confidentiality

Information regarding disability and prior accommodation will be discussed during the process.
To maintain confidentiality, documentation is made available on a need-to-know basis only, and
participants in the process should not discuss information about the request outside of the
process. Those responsible for implementing the accommodation will be informed of the
accommodation and the reasons for it only to the extent necessary to ensure effective
implementation of the accommodation. See Appendix 202 for more information on
confidentiality of disability-related information.

For more detailed information, tools, forms, tips, and resources to support the center reasonable
accommodation process, see the Reasonable Accommodation Guidelines section of the Job
Corps Disability website.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 207 of 272
PRH Chapter 2: Student Support Services                                          Form 2-03 (Page 18)


  JOB CORPS REASONABLE ACCOMMODATION REQUEST FORM – PROGRAM

If you are a person with a disability, you may request accommodations (changes in the way
things are done, or other types of help) to assist you in successfully participating in the Job Corps
program. You may be qualified to receive reasonable accommodation if you ever:

       •       Had an IEP or 504 Plan in school
       •       Had special education support
       •       Had extra supports or pullout classes in school
       •       Were given extra time to complete assignments or tests in school
       •       Got help in a resource room in high school
       •       Were allowed extra time to get to and from class
       •       Received any adjustments to the scheduled school day for appointments or
               because of side effects of medication
       •       Were/are a client of Vocational Rehabilitation or a related program
       •       Receive Supplemental Security Income (SSI) or Social Security Disability
               Insurance (SSDI)

If you are worried about talking about your disability, it is important to understand that Job
Corps upholds strict policies on confidentiality, which means this information will only be
shared with those who need to know. The main reason for you telling us about your disability is
so you can get the support you need to participate effectively/successfully while enrolled in the
Job Corps program.

In high school, you may have gone to a separate resource room for instruction if you received
special education services. In Job Corps, students with disabilities attend all the same classes and
participate in all of the same programs as students without disabilities.

Depending on your disability and the type of accommodation you are asking for, we may ask
you to provide documentation about your disability and how it affects you so we can determine
your need for reasonable accommodation. Each center has staff that can assist you with the
accommodation process.

If you indicate that you would like accommodations, would like to discuss accommodations with
a Center Disability Coordinator, or provide information indicating that accommodations may be
necessary, a Center Disability Coordinator will contact you to talk about the need for
accommodation.

You are not required to have an accommodation plan. Should you choose to have an
accommodation plan, you will work jointly with a Center Disability Coordinator to develop one.
If an accommodation you have requested cannot be provided because it is unreasonable, every
effort will be made to offer you an equally effective alternate accommodation that is reasonable.

Your Admission’s Counselor or a Center Disability Coordinator (if you are requesting
accommodation after arrival on center) will guide you through completion of this form.
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 208 of 272
PRH Chapter 2: Student Support Services                                              Form 2-03 (Page 19)


SECTION A – APPLICANT/STUDENT

 Name:                                                ID#:
                                                      Phone:
 Address:
                                                      E-mail:

 I would like to request accommodations to participate in the Job Corps program. (Please list the
  accommodations requested.)
  •
  •
  •

 I think I may need an accommodation, but I am not sure what I will need. I would like to talk directly
  with a Center Disability Coordinator about my accommodation needs.


Applicant/Student Signature                                                  Date


Parent/Guardian Signature                                                    Date

The Admission’s Counselor should forward the center this form and related documentation in the sealed
envelope containing health/disability information.

SECTION B – DISABILITY COORDINATOR

I have met with the applicant/student  by telephone  in person to discuss his or her accommodation
needs. The applicant/student:

 Has a  drafted agreed upon accommodation plan pending enrollment* or has an  agreed upon
  accommodation plan.

 Does not wish to receive accommodations. The applicant/student has been informed that s/he may
  request reasonable accommodation at any time.

 The center cannot agree to an accommodation plan. The Accommodation Recommendation for
  Denial form and related documentation are being sent to the Regional Office for review.


Applicant/Student Signature                                                  Date


Parent/Guardian Signature                                                    Date


Disability Coordinator Signature                                             Date

*Upon enrollment, the student’s plan is entered into CIS, printed out and the student asked to review and
sign the printed copy if in agreement. The student is given a copy of the signed plan.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 209 of 272
PRH Chapter 2: Student Support Services                                       Form 2-03 (Page 20)


                      REASONABLE ACCOMMODATION REVIEW/
                       DOCUMENTATION OF DISABILITY FORM

Job Corps policy requires that the Center Disability Coordinators engage an individual in the
interactive reasonable accommodation process if the applicant or student either requests an
accommodation (see the Job Corps Reasonable Accommodation Request Form–Program) or
provides documentation of a disability. Center Disability Coordinators must use this form to
document the interactive process for an applicant or student who has not requested
accommodations, but who has provided documentation of the disability.

 Name:                                            ID#:
                                                  Phone:
 Address:                                         E-
                                                  mail:

 Documentation source(s) (e.g., IEP, Chronic Care Management Plan, health documentation,
  etc.)
  •
  •

I have met with the applicant/student  by telephone  in person to discuss his or her
accommodation needs. The applicant/student:

 Has a  drafted agreed upon accommodation plan pending enrollment* or has an  agreed
  upon signed accommodation plan.

 Does not wish to receive accommodations. The applicant/student has been informed that s/he
  may request reasonable accommodation at any time.

 The center cannot agree to an accommodation plan. The Accommodation Recommendation
  for Denial Form and related documentation are being sent to the Regional Office for review.


Applicant/Student Signature                                            Date


Parent/Guardian Signature                                              Date


Disability Coordinator Signature                                       Date

*Upon enrollment, the student’s plan is entered into CIS, printed out and the student asked to
review and sign the printed copy if in agreement. The student is given a copy of the signed plan
and the original is stored in the accommodation file.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 210 of 272
PRH Chapter 2: Student Support Services                                                    Form 2-03 (Page 21)


    JOB CORPS REASONABLE ACCOMMODATION FUNDING REQUEST FORM

Centers are responsible for any costs associated with providing reasonable accommodation to an
applicant or student with a disability. If a center cannot fund an accommodation or locate a
funding source in the community, a request can be made through the appropriate Regional Office
for National Office funding assistance for high-cost accommodations (those greater than $5,000).

All requests for funding assistance should be made as part of the accommodation process.
Funding requests for accommodations already provided will not be considered. National Office
funding for medications and personal use items is not available. This form can only be used to
request funding assistance for an individual applicant or student. No requests that contain
multiple students on the same form will be considered.

Please complete the appropriate section of the following form. All requests should be expedited
so as not to unreasonably delay entry or provision of accommodation to the applicant/student.

 A. CENTER DISABILITY COORDINATOR REQUEST
 Complete this section of the form and send it to your Regional Disability Coordinator within 7 days of the
 applicant’s or student’s reasonable accommodation committee meeting. You should include the applicant’s IEP
 or other documentation that indicates the applicant’s functional limitations and any past accommodations. You
 must contact your Regional Disability Coordinator for guidance on completing this form and providing
 supporting documentation.
 Center:                                                    Center Disability Coordinator:
 E-mail:                                                  Phone:
 Applicant/Student Name:                                  Date File Received on Center:
 Accommodation Request Date:                              RAC Meeting Date(s) and Attendees:




 Describe the nature of the applicants/student’s disability and resulting functional limitation(s).




 In the space below, list each accommodation with a one-time fixed cost (e.g., software, equipment, etc.,)
 that is being requested and provide the vendor estimates for these items with supporting documentation
 that was used to determine these costs. For accommodations requiring on-going costs (e.g., sign language
 interpreters), these costs should be estimated for a one-year period utilizing the Cost Analysis Form that
 will be provided to you by your Regional Disability Coordinator. This form must be completed and
 submitted with this funding request.
 Accommodation:                                           One-time Fixed Cost:
 Accommodation:                                           One-time Fixed Cost:
 Accommodation:                                           One-time Fixed Cost:
 Accommodation:                                           One-time Fixed Cost:
 Accommodation:                                           On-going Cost:
 Accommodation:                                           On-going Cost:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 211 of 272
PRH Chapter 2: Student Support Services                                                    Form 2-03 (Page 22)


 Total Estimated Fixed Costs:          Total Estimated On-going Costs:       Total Estimated Costs:

 List other possible funding sources consulted along with their contact information. If any funding is being
 provided by these sources, please list amount.




 How will this/these accommodations remove or minimize the barriers presented by the
 applicant’s/students’ functional limitation(s)?




 Were any alternate accommodations considered? If yes, list and describe why not chosen.




 Could the requested accommodation(s) benefit other students with disabilities enrolled in the program? If
 yes, describe the benefit.




 If you are requesting funding for a sign language interpreter, you must review the Deaf/Hard of Hearing
 Guidance available on the Job Corps Disability website, including the guidance on interpreting services. A DC
 must have the applicant/student complete the interview form available on the overview page of the guidance.
 This form should be included with your request.
 Date Guidance reviewed:
 List any other accommodations that will/are being provided.




 Disability Coordinator Signature:                        Center Director Signature:


 Date Forwarded to Regional Disability Coordinator:
 B. REGIONAL DISABILITY COORDINATOR REVIEW
 Please review the center’s request. If the center section of the form is not complete or inadequate
 documentation/information has been provided, please contact the Center Disability Coordinator to resolve these
 concerns. If the center section of the form is complete and adequate documentation/ information has been
 provided, complete this section of the form and send it with a summary of your review to the Regional Office
 Program/Project Manager and cc National Health Staff within 7 days of receipt from the center.
 Regional Disability Coordinator:                             E-mail:
 Phone:                                                       Date Request Received:
 Date Request Reviewed:                                       Date Forwarded to Regional Office:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 212 of 272
PRH Chapter 2: Student Support Services                                                       Form 2-03 (Page 23)


 Regional Disability Coordinator Signature:


 C. REGIONAL PROGRAM/PROJECT MANAGER REVIEW
 Please review the center’s request. If the sections A or B of the form are not complete or inadequate information
 has been provided, please contact the Regional Disability Coordinator to resolve these concerns. If sections A
 and B of the form are complete and adequate documentation/information has been provided, complete this
 section of the form and send to National Health Staff at the address below within 5 days of receipt from the
 Regional Disability Coordinator.

                                              National Health Staff
                                           U.S. Department of Labor
                                               Office of Job Corps
                                   200 Constitution Avenue, NW, Room N-4507
                                             Washington, DC 20210
 Program/Project Manager:                                  Phone:
 E-mail:                                                   Date Request Received:
 Date Request Reviewed:                                    Date Forwarded to National Office:
 Regional Director Signature:                              Program/Project Manager Signature:


 D. NATIONAL HEALTH STAFF REVIEW
 Please review the center’s request and supporting documentation. If the required signatures are missing, or
 additional information is needed, please return the form to the Regional Disability Coordinator to resolve these
 concerns. If the previous sections of the form are complete and adequate information has been provided, draft an
 approval letter and begin the National Office signature process within 3 days of receipt of form from the
 Regional Program/Project Manager.
 National Office Health Staff Person:                       Position:
 Phone:                                                     E-mail:
 Date Request Received:                                     Date Request Reviewed:
                                                            Amount Approved (if different from original
 Date Approval Letter Drafted:
                                                            request, please explain):
 E. NATIONAL OFFICE SIGNATURE APPROVAL PROCESS
 National Health staff will coordinate the signature approval process in the following order; the National Health
 and Wellness Director, Division Chief, Budget Chief, Deputy Director, and National Director. Complete this
 section of the form within 7 days of beginning the signature approval process.
 Health and Wellness Director Signature:                    Date:


 Division Chief Signature:                                 Date:


 Budget Chief Signature:                                   Date:


 Deputy Director Signature:                                Date:


 National Director Signature:                              Date:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 213 of 272
PRH Chapter 2: Student Support Services                                                     Form 2-03 (Page 24)


 Final Amount Approved (if no funding is approved
 or amount is different from original request, please         Final Disposition Date:
 explain):
 F. NATIONAL OFFICE FINAL DISPOSITION
 If funding is approved, National Health staff will provide signed documentation to the Budget Chief, Regional
 Office Program/Project Manager, Center Disability Coordinator, and Regional Disability Coordinator. If the
 request is denied, National Health staff will notify the Regional Office Program/Project Manager, Center
 Disability Coordinator, and Regional Disability Coordinator.
 National Health Staff Making Notification:                   Position:

 Phone:                                                    E-mail:
 Date Notification Provided:                               National Health Staff Signature:
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 214 of 272
PRH Chapter 2: Student Support Services                                                        Form 2-03 (Page 25)


                        JOB CORPS REASONABLE ACCOMMODATION
                         SUPPLEMENTAL FUNDING REQUEST FORM

Please complete this form to request supplemental funding for an accommodation funding
request that has been approved using the Job Corps Reasonable Accommodation Funding
Request Form. If this is a new accommodation funding request or all funds have been used from
your initial request, complete the Job Corps Reasonable Accommodation Funding Request Form.


 A. CENTER DISABILITY COORDINATOR REQUEST
 Complete this section of the form and send it to your Regional Disability Coordinator and cc the Regional Office
 Program/Project Manager. Attach the most recent follow up you provided to your Regional Disability
 Coordinator and the student’s accommodation plan.
 Center Disability Coordinator:                             E-mail:
 Phone:                                                     Student Name/ID:
 Describe the accommodation that supplemental funding is being requested for and why additional funding
 is being requested (attach supporting documentation).




 Amount of Additional Funding           Date of Last Request:                   Amount Previously Requested:
 Being Requested:
 Center Director Signature:


 Disability Coordinator Signature:


 Date forwarded to Regional Disability Coordinator:


 B. REGIONAL DISABILITY COORDINATOR REVIEW
 Please review the center’s request. If the center section of the form is not complete or inadequate information has
 been provided, please contact the Center Disability Coordinator to resolve these concerns. If the center section of
 the form is complete and adequate information has been provided, complete this section of the form and send it
 to the National Health Staff and cc the Regional Program/Project Manager within 7 days of receipt from the
 center.
 Regional Disability Coordinator:                             E-mail:
 Phone:                                                       Date Request Received:
 Date Request Reviewed:                                       Date Forwarded to Regional Office:
 Regional Disability Coordinator Signature:
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 215 of 272
PRH Chapter 2: Student Support Services                                                              Form 2-03 (Page 26)


                ACCOMMODATION RECOMMENDATION FOR DENIAL FORM

 Center:                                                       Date:
 Applicant/Student:                                            ID#:
 Regional Office:                                              Date Submitted to Regional Office:

If this request is for an applicant and you have already completed the Applicant File Review Center Recommendation for
Denial Form, please attach this form to it and skip to Section B. If this request is for a student, please complete Sections A
through C.

Section A

 Reasonable Accommodation Committee Participants
 Name:                                                         Position:
 Name:                                                         Position:
 Name:                                                         Position:
 Name:                                                         Position:

 Summarize the Applicant’s Input:




Section B

Please list any accommodations that the center has identified as being unreasonable and then identify any alternative
options that are deemed reasonable that the applicant rejected. If none can be identified, please state none and explain
why in the Summary section of the document.

                                    Applicant
      Accommodation                Requested?              Alternative Options            Basis for Unreasonableness
                                                                                          Unduly costly
                                  Yes       No
                                                                                          Fundamental Alteration
                                                                                          Unduly costly
                                  Yes       No
                                                                                          Fundamental Alteration
                                                                                          Unduly costly
                                  Yes       No
                                                                                          Fundamental Alteration

Section C

Please show calculated costs for each accommodation being recommended for denial that has been identified as unduly
costly and/or document why the accommodation requires a fundamental alteration to the program.

                                       Cost Analysis or Fundamental Alteration
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 216 of 272
PRH Chapter 2: Student Support Services                                                          Form 2-03 (Page 27)


                                                  Summary/Notes




Center Director’s Signature:



Signature                                                                   Date



                                                Regional Office Only
                    Accommodation                                              Disposition
                                                             Concur with Recommendation            Deny
                                                             Concur with Recommendation            Deny
                                                             Concur with Recommendation            Deny

*If the region does not support the recommendation for denial of the accommodation(s), then the center must be notified
that it is responsible for providing the requested/agreed upon accommodation.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 217 of 272
PRH Chapter 2: Student Support Services                                           Form 2-04 (Page 1)


                           FORM 2-04
      INDIVIDUALIZED ASSESSMENT OF POSSIBLE DIRECT THREAT
Purpose

To provide additional information and guidance on the direct-threat assessment process currently
outlined in Chapter 1, Section 1.5, R4. This supersedes information in PRH Change Notice 11-03.

Background

Job Corps requires, as a qualification standard, that an applicant not pose a direct threat to the
health or safety of himself/herself or others, including students and staff. Like any qualification
standard, this requirement must apply to all applicants, not just to those with disabilities. If,
however, an individual poses a direct threat as a result of a disability, Job Corps must determine
whether a reasonable accommodation would either eliminate the risk or reduce it to an
acceptable level.

This document provides Job Corps Health and Wellness staff, including Trainee Employee and
Assistance Program (TEAP) specialists, with guidance designed to help them properly and
lawfully assess an individual applicant’s ability to safely participate in the Job Corps program.

If the assessor determines that the individual poses a direct threat and the threat results from a
disability, the assessor must consider whether any accommodations or modifications would
reduce the risk, and list any suggested accommodations or modifications. Please note that the
assessor must not consider whether, in his/her view, a particular accommodation or modification
is “reasonable;” that determination must be made by the Center Director or his/her designee, on
the basis of a number of specific factors that are required by law.

Instructions

The attached form may be used to conduct an individualized assessment of an applicant’s
possible direct threat to self or others.

Federal disability nondiscrimination laws define a “direct threat” as a significant risk of
substantial harm to the health and safety of the individual or others that cannot be
eliminated or reduced by reasonable accommodation or modification. A “significant risk”
means a high, not a slight, probability; a speculative or remote risk is insufficient.

Determining whether an individual poses a significant risk of substantial harm to himself/herself
or others must be made on a case-by-case basis. Job Corps should identify the specific risk
posed by the disability. For individuals with psychiatric disabilities, Job Corps must identify the
specific behavior of the individual that would pose the direct threat. Federal disability
nondiscrimination laws make clear that an individual does not pose a direct threat simply
because he or she has a history of psychiatric disability, or is currently receiving treatment for a
psychiatric disability.
When evaluating whether an individual with a disability or medical condition poses a direct
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 218 of 272
PRH Chapter 2: Student Support Services                                            Form 2-04 (Page 2)


threat, please keep in mind that there are special rules governing when disability-related
inquiries, i.e., questions which are likely to elicit information about a disability can be made.

       •       In the context of evaluating an applicant for Job Corps, a direct-threat assessment
               may be done whenever Job Corps believes that a known or apparent disability or
               medical condition poses a direct threat to the health or safety of the individual or
               others. This typically will occur: (1) after the applicant has received conditional
               assignment to a Job Corps center and has completed the questions on the “Job
               Corps Health Questionnaire (ETA 6-53);” and (2) after specific, objective, factual
               information about that particular conditionally enrolled applicant is gathered that
               is medically related to any “yes” responses given to the questions in sections 8 or
               9 of the questionnaire; if (3) the initial review of this specific, objective, factual
               information supports a reasonable belief that the conditionally enrolled applicant
               may have a medical condition or disability that poses a significant risk of
               substantial harm to the health or safety of the individual or others, i.e., direct
               threat. If all of these criteria are satisfied, the Health and Wellness Director will
               forward the applicant’s information to the appropriate licensed health provider
               employed by the center for a detailed direct-threat assessment.

Who May Conduct the Assessment?

The clinical assessment of risk and degree of potential harm that may be caused by the
individual’s medical condition or disability is generally a medical matter properly determined by
licensed health providers. Such providers employed by Job Corps include nurses, physicians,
Center Mental Health Consultants, dentists, and TEAP specialists. This group, therefore, has a
significant role to play in determining whether, in a given Job Corps setting, a particular
individual’s medical condition or disability poses a significant risk of substantial harm to the
health or safety of himself/herself or others. Medical health conditions that may pose a direct
threat should be assessed by nurses and/or physicians; mental health conditions should be
assessed by mental health consultants; oral health conditions should be assessed by dentists; and
conditions related to substance use should be assessed by TEAP specialists. In some cases, it
may be necessary to consult an outside specialist with expertise in the particular medical
condition or disability and its effects.

Basis for the Assessment

The determination that an individual has a medical condition or disability that poses a “direct
threat” must be based on an individualized assessment of the individual’s present ability to safely
participate in the Job Corps program. This assessment must be made by a licensed health
provider, based on a reasonable medical judgment that relies on the most current medical
knowledge and the best available objective evidence. Before conducting a direct-threat
assessment, the assessor may need to educate himself/herself about the current state of medical
knowledge, and about the specific facts of the particular individual’s medical history and/or the
circumstances in which he or she has been or will be placed in the Job Corps program.

As noted above, the assessment must focus on the current medical condition or disability of the
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 219 of 272
PRH Chapter 2: Student Support Services                                             Form 2-04 (Page 3)


specific individual named on the form. The determination cannot be based on generalizations
about the medical condition or disability; the assessor must identify the specific risk that is posed
by the medical condition or disability of the named individual in the applicable Job Corps
context. Additionally, the harm must be serious and likely to occur, not remote and speculative.
Subjective perceptions, irrational fears, patronizing attitudes, and stereotypes have no place in
the assessment process.

Factors to Be Considered

In determining whether an individual has a medical condition or disability that poses a direct
threat, the assessor must consider four specific factors: duration of the risk, nature and severity of
the potential harm; likelihood that the potential harm will occur; and imminence of the potential
harm.

If the assessor considers these four factors and determines that a direct threat is posed by the
medical condition or disability, he/she must consider whether the risk can be eliminated or
reduced to an acceptable level by reasonable accommodation or modification.

Relevant factors in making the direct threat assessment (including the consideration of whether
the risk may be lessened or eliminated) may include:

        •       Input from the individual with the medical condition or disability

        •       The medical history of the individual, including his or her experience in previous
                situations similar to those he or she would encounter in the program

        •       Opinions of medical doctors, rehabilitation counselors, or therapists who have
                expertise in the condition involved and/or direct knowledge of the individual

Under federal disability nondiscrimination laws, the burden is on Job Corps to prove that a
particular individual has a medical condition or disability that poses a direct threat. This means
that if the objective, factual evidence is equivocal, or is insufficient to prove that the participation
of that specific individual would pose a direct threat, the assessor must assume that no direct
threat exists.

The four factors for determining direct threat are described below.

        1.      Nature and severity of the risk. In the professional judgment of the assessor:

                a.      What kind of harm is potentially posed by this individual’s medical
                        condition or disability? List the specific symptoms or behaviors and the
                        information on which the judgment is based.

                b.      What is the seriousness of the potential harm in this particular case (e.g.,
                        death, incapacitation, serious injury, minor injury/emotional distress)?
                        List the specific information on which the judgment is based.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 220 of 272
PRH Chapter 2: Student Support Services                                            Form 2-04 (Page 4)



       2.      Duration of the risk. In the professional judgment of the assessor, how long will
               the risk last? List the specific information on which the judgment is based.

       3.      Likelihood that the potential harm will occur. In the professional judgment of
               the assessor, is the likelihood that potential harm will occur high, moderate, or
               low? List the specific information on which the judgment is based.

       4.      Imminence of the potential harm. In the professional judgment of the assessor,
               how soon is the harm likely to occur? List the specific information on which the
               judgment is based.

Taking all four of these factors into consideration, the assessor should determine whether the
applicant’s condition poses a significant risk of substantial harm.

Accommodations or Modifications

If the individual is a person with a disability, the center’s reasonable accommodation team must
convene and consider accommodations and/or modifications that the individual may need. See
Form 2-03 for definition of a disability. Once the accommodations and/or modifications have
been identified, the qualified licensed professional who conducted the original assessment must
review the previous findings to each of the factors giving consideration to the identified
accommodations to determine whether or not the accommodations and/or modifications
eliminate the threat or reduce it to below the level of threat.

If it is determined that the accommodations and/or modifications will remove the barriers to
enrollment and are considered unreasonable, then the team must forward the list of identified
accommodations and/or modifications to the Center Director for a “reasonableness” and/or
undue hardship determination (see below). If the accommodations and/or modifications
identified would not eliminate the threat or sufficiently reduce it to below the level of threat, then
the reasonable accommodation team (inclusive of the licensed professional) must indicate which
accommodations and/or modifications would be insufficient and explain why.

Examples of Accommodation/Modification Consideration for Direct Threat

       •       Schedule adjustments to allow the applicant to attend necessary off-center
               appointments

       •       Shortened training day or later start to the training day to adjust for medication
               side- effects

       •       Passes during the training day to allow applicant to leave class and meet with
               counselor to de-escalate behaviors as needed

Every effort should be made to identify appropriate accommodations and/or modifications, and
reasonable accommodation teams are encouraged to use identified resources (e.g., Job
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 221 of 272
PRH Chapter 2: Student Support Services                                      Form 2-04 (Page 5)


Accommodation Network) to assist them, as appropriate.

Center Director Reasonableness Determination

If there is a recommendation for an applicant to be enrolled with accommodations or
modifications which you believe are not reasonable and/or pose an undue hardship, the Center
Director is responsible for making that determination using the “Accommodation
Recommendation of Denial Form” found on the Job Corps Disability website and including that
form along with the applicant file that is being submitted to the Regional Office with a
recommendation for denial. The final determination is made by the Regional Office.

Guidance on how to make this determination is available in the “Evaluating a Request and
Denying a Request” sections of Form 2-03. Please attach the completed “Accommodation
Recommendation of Denial Form” found on the Job Corps Disability website.

For more information on direct threat, see the Equal Employment Opportunity Commission
(EEOC) Enforcement Guidance on the Americans with Disabilities Act and Psychiatric
Disabilities (http://www.eeoc.gov/policy/docs/psych.html).
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 222 of 272
PRH Chapter 2: Student Support Services                                                          Form 2-04 (Page 6)


   FORM FOR INDIVIDUALIZED ASSESSMENT OF POSSIBLE DIRECT THREAT

Applicant’s Name: ____________________________________ Date of Review: _________________________

Center Name: ________________________________________ ID #: __________________________________

Interview Conducted By:              Telephone                  In Person                  Videoconference

In determining whether, in your professional judgment, the individual named above has a medical condition or
disability that poses a direct threat, consider the following and respond accordingly.

Factors to be considered in determining whether a “significant risk of substantial harm” exists include: (1) duration
of the risk, (2) nature and severity of the potential harm, (3) likelihood that the potential harm will occur, and (4)
imminence of the potential harm.

Under the law, the burden is on Job Corps to prove that a specific individual poses a direct threat. Therefore, if the
objective, factual information about the specific individual named above is equivocal, or is insufficient to prove that
a direct threat exists, you must assume that the individual’s disability or medical condition does not pose a direct
threat.

If you determine that a “significant risk of substantial harm” exists, consider whether any accommodations or
modifications would reduce the risk, and list any suggested accommodations or modifications. Do not consider
whether, in your view, a particular accommodation or modification is “reasonable.” That determination must be
made by the center director or his/her designees.

1. What is the nature and severity of the potential harm?

    a.   What kind of harm is potentially posed by this individual’s medical condition or disability?
         (Check the specific symptom(s) or behavior(s) or list under "Other")

         □ Abusive Behavior Towards Authority                            □ Other (specify): ___________________
             and/or Peers                                                     ________________________________
         □   Drug and Alcohol Use/Dependence
         □   Homicidal Behavior
         □   Paranoid Thinking
         □   Self-Injury
         □   Serious or Life Threatening Medical
             Condition
         □   Severe Sensory Impairment
         □   Severely Impaired Concentration
         □   Severely Impaired Impulse Control
         □   Severely Impaired Judgment
         □   Suicidal Behavior
         □   Threat of Sexually Inappropriate
             Behavior
         □ Threat of Violence – Assaultive
             Behavior
         □ Unpredictable Changes in Behavior
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 223 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-04 (Page 7)


     b.   What is the seriousness of the potential harm in this particular case (e.g., death, incapacitation,
          serious injury, minor injury/emotional distress)? ____________________________________________
           _____________________________________________________________________________________
           _____________________________________________________________________________________
           _____________________________________________________________________________________

2. What is the duration of the risk (i.e., how long will the risk last)?
   __________________________________________________________________________________________
   __________________________________________________________________________________________
   __________________________________________________________________________________________


3.   What is the likelihood that the potential harm will occur (i.e., high, moderate, or low)?
     __________________________________________________________________________________________
     __________________________________________________________________________________________
     __________________________________________________________________________________________

4.   What is the imminence of the potential harm (i.e., how soon is the harm likely to occur)?
     __________________________________________________________________________________________
     __________________________________________________________________________________________
     __________________________________________________________________________________________

5. Reasonable Accommodation Consideration

     Is this applicant a person with a disability?          Yes  No
     (i.e., documentation of a mental health, medical, substance-abuse, cognitive, or other type of disability is present
     in the applicant file or the disability is obvious (i.e., blind, deaf).

     If no, please skip to #6. If yes, convene the reasonable accommodation committee (RAC) along with the
     applicant and list below any accommodations and/ or modifications discussed with the applicant that could either
     remove or reduce the direct threat.

     Note: Accommodations or modifications are not things that treat the impairment; they are things that will help
     the individual participate in the program. See Program Instruction 08-26 “Reasonable Accommodation and Case
     Management” for guidance.

     ☐ The RAC has been unable to identify any accommodations appropriate to support this applicant.
     ☐ The following accommodations/modifications listed below have been discussed with the applicant and
     considered as a part of this assessment:

     Please avoid suggesting extreme accommodations already known to likely be unreasonable unless the applicant
     has requested a specific support (i.e., 24 hour supervision). If unsure if a support or modification is really an
     accommodation or is actually a case management support, please contact your regional health and disability
     consultants for assistance.

      Based on the specific symptoms and/or behaviors checked in Section 1a, please check the appropriate
      accommodations below discussed with the applicant. Please note: This list is not all inclusive. These are
      suggestions for your use and you may need to consider functional limitations and accommodations beyond
      this list which can be entered in the "Other" section.
      Are there any changes we can make to our center policies, procedures, or practices to eliminate
      or reduce the level of threat?
      • Schedule adjustments to allow the student to attend necessary off-center appointments    Yes       No
      • Shortened training day or later start to the training day to adjust for medication side  Yes       No
        effects
      • Modified first 30 days on center with a reduction in tasks to minimize stress            Yes       No
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 224 of 272
PRH Chapter 2: Student Support Services                                                         Form 2-04 (Page 8)


     • Provide applicant with pass to leave class if he/ she begins to feel anxious, angry or      Yes     No
       upset and go to designated “calm down” area
     • Allow frequent breaks during the day                                                        Yes     No
     • Allow telephone calls during work hours to doctors and others for needed support            Yes     No
     • Reduce mandatory participation in large group activities                                    Yes     No
     • Provide additional orientation on conduct and behavioral expectations                       Yes     No
     Other:


     Are there any physical changes or placement considerations in the dorm we can make to eliminate
     or reduce the level of threat?
     • Provide single dorm room                                                          Yes       No
     • Modified door/window locks for safety                                             Yes       No
     • Placement in residential dorm with fewer students and/or more experienced         Yes       No
       Residential Advisors (RAs)/Residential Counselors (RCs)
     • Provide dorm room closer to RA’s/RC’s office                                      Yes       No
     • Allow mobility coach                                                              Yes       No
     • Allow refrigerator in room                                                        Yes       No
     Other:


     Can we adjust our level of supervision or structure at the center to eliminate or reduce the level
     of threat?
     • Provide staff mentor as needed (like a job coach)                                      Yes       No
     • Provide student mentor as needed                                                       Yes       No
     Other:


     Can our instructors and/or RA/RC staff adjust their communication methods in a way to
     eliminate or reduce the level of threat?
     • Provide detailed guidance                                                        Yes                No
     • Provide frequent feedback                                                        Yes                No
     • Provide praise and positive reinforcement                                        Yes                No
     Other:


     Is there any special equipment or device to consider that can eliminate or reduce the level of threat?
     • Provide visual barriers to reduce startle responses                                    Yes       No
     • Use of headphones to minimize distractions                                             Yes       No
     Other:


     Allow special medical equipment in room and in trade.
     • Permission to use a service animal                                                          Yes     No
     Other:


     Summarize any special considerations and findings of the RAC as well as the applicant’s input:




   Please Note: Job Corps cannot impose accommodations upon an individual. If the applicant does not accept
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 225 of 272
PRH Chapter 2: Student Support Services                                                            Form 2-04 (Page 9)


     or agree to a specific accommodation, there is no need to consider that specific accommodation in your
     determination of whether the accommodations listed will reduce the barriers to enrollment sufficiently or not
     nor is there a need to complete a reasonableness review related to that specific accommodation.

         Reasonable Accommodation Considerations:
         Did the applicant participate in the RAC meeting?                                             Yes        No
         (Note: The applicant must be a part of the discussion for reasonable
         accommodation).


         RAC Participants:
         Name:                                                    Position:
         Name:                                                    Position:
         Name:                                                    Position:

         If there is a recommendation for an applicant to be enrolled with the accommodations or modifications listed
         in #5 above which you believe are not reasonable and/or pose an undue hardship, the Center Director is
         responsible for making that determination using the “Accommodation Recommendation of Denial Form”
         found on the Job Corps Disability website and including that form along with the applicant file that is being
         submitted to the regional office with a recommendation for denial. The final determination is made by the
         regional office.

         Guidance on how to make this determination is available in the “Evaluating a Request and Denying a
         Request” sections of Form 2-03. Please attach the completed “Accommodation Recommendation of Denial
         Form.”

     If there are agreed upon accommodations between the RAC and applicant listed above, then consider whether
     those accommodations reduce or eliminate the direct threat to allow for the applicant to be enrolled.

     •     If the accommodations would sufficiently reduce or eliminate the direct threat, then you do not need to
           complete the remainder of this assessment and the center can assign the applicant a start date. Retain all the
           paperwork included in completing this assessment within the applicant’s Student Health Record.

     •     If the accommodations would NOT sufficiently reduce or eliminate the direct threat, please proceed to #6.

6.   Based on the factors above, does the named individual have a medical condition or disability that poses a
     significant risk of substantial harm to the safety of himself/herself or of others if he or she participates in
     Job Corps?

     □ In my professional judgement, the individual’s participation poses a direct threat.
     □ In my professional judgement, the individual’s participation does not pose a direct threat.



Printed or Typed Name and Title of Licensed Health Provider Completing Form



Signature of Licensed Health Provider Completing Form                                 Date
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 226 of 272
PRH Chapter 2: Student Support Services                                             Form 2-05 (Page 1)


                                  FORM 2-05
                         HEALTH CARE NEEDS ASSESSMENT
Purpose

To provide additional information and guidance on the health care needs assessment process
currently outlined in Chapter 1, Section 1.5, R4.

Background

Based on a review of previous applications, Job Corps has learned that the majority of applicants’
treatment and/or monitoring needs can be met, but there may be situations in which a particular
applicant’s needs are beyond what the Job Corps’ health and wellness program can provide as
defined as basic health care in Exhibit 2-4: Job Corps Basic Health Care Responsibilities. Current
disability data indicate that the majority of our applicants with medical, mental health, oral health,
and substance abuse conditions have stable health and require only routine and episodic health
care interventions with accommodations. However, a small percentage of applicants may have
complex, newly diagnosed, persistent or recurring medical, mental health, oral health, and/or
substance abuse health care issues that require services and/or care management beyond Job
Corps’ basic health care as determined Job Corps health and wellness staff.

This document provides guidance to Job Corps health and wellness staff on how to determine
whether Job Corps can meet the medical, mental health, oral health, and/or substance abuse
treatment/monitoring needs of a particular applicant.

This determination is derived in part by a review of the “Job Corps Health Questionnaire (ETA 6-
53).”

The “Job Corps Health Questionnaire (ETA 6-53)” serves three main purposes:

       1.      Determine the health care needs of the applicant and assist in the assessment of
               whether Job Corps can meet those needs

       2.      Alert center staff to the potential need for evaluation of direct threat to self or
               others

       3.      Obtain consent for required routine medical assessments and/or consent to receive
               basic health care services

If the individual is a person with a disability, the center’s reasonable accommodation committee
(RAC) must convene and consider accommodations and/or modifications that the individual may
need. Before making a recommendation about the applicant’s enrollment, the qualified licensed
professional who conducted the original assessment must review the previous findings giving
consideration to the identified accommodations to determine whether or not the accommodations
and/or modifications can remove the barriers to enrollment due to health care needs.
        Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 227 of 272
PRH Chapter 2: Student Support Services                                           Form 2-05 (Page 2)


Instructions

The attached form may be used to conduct an individualized assessment of an applicant’s health
care needs.

Who May Conduct the Assessment?

The clinical assessment of health care needs caused by the individual’s medical condition or
disability fall under the health and wellness department on each center. As such, these clinical
assessments are to be carried out by qualified licensed/certified health providers only. Those
providers employed or subcontracted by Job Corps include nurses, physicians, center mental
health consultants (CMHCs), dentists, and Trainee Employee Assistance Program (TEAP)
specialists. This group, therefore, has a significant role to play in determining whether, in a given
Job Corps setting, a particular individual’s health care needs can be managed within the scope of
Job Corps basic health services. Medical health conditions should be assessed by nurses and/or
physicians; mental health conditions should be assessed by mental health consultants; oral health
conditions should be assessed by dentists; and conditions related to substance use should be
assessed by TEAP specialists. In some cases, it may be necessary to consult an outside specialist
with expertise in the particular medical condition or disability and its effects.

Indicators that a review is needed

1.     Within the past six months, two or more emergency room visits or one or more
       hospitalizations for medical, mental health, oral health, and/or substance abuse reasons.

2.     New diagnosis or recurrence of medical, mental health, extensive untreated oral health,
       and/or substance abuse condition that would require frequent medication adjustments,
       significant health resources and/or substantial change to the training day (e.g., daily
       dialysis, only able to attend Job Corps three hours per day, hourly medication or
       behavioral monitoring, daily assistance with activities of daily living, long-term weekly
       on-center therapy provided by the CMHC, complex full-mouth
       reconstruction/rehabilitation).

3.     Failure to follow previous treatment recommendations by licensed health providers that
       have adversely affected the applicant’s health, behavior, and/or adaptive functioning, and
       now requires significant health care management. (Note: Some students are non-adherent
       and experience adverse consequences, but may still benefit from enrollment. Examples
       might include substance abuse relapse, poor diabetic control, poor asthma control, etc.)

4.     Applicant has followed treatment recommendations by licensed health providers with no
       improvement in applicant’s health, behavior, and/or adaptive functioning which continue to
       place applicant in need of significant health care management.

5.     Applicant’s condition or behavior has not been successfully managed in a similar
       academic, work, or group environment in the past year.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 228 of 272
PRH Chapter 2: Student Support Services                                           Form 2-05 (Page 3)



6.     Applicant is in treatment for a condition that is not in the scope of Job Corps Basic Health
       Care Responsibilities (e.g., orthodontic braces for malocclusion).

Elements of the Review Process

The review should, at a minimum, be comprised of the following elements:

       1.      A review of specific condition(s) identified on “Job Corps Health Questionnaire
               (ETA 6-53),” or self-disclosed by applicant.

       2.      Review of health documentation in the file.

       3.      Request additional recent health information, to determine applicant needs, if
               appropriate and medically necessary. Collaborate with OA counselor.

               •      If the “Job Corps Health Questionnaire (ETA 6-53)” indicates a health
                      condition and there is no supporting information included and no note from
                      the OA counselor indicating their attempt to secure information, contact the
                      OA counselor to gather information.

               •      If the “Job Corps Health Questionnaire (ETA 6-53)” indicates a health
                      condition and there is supporting information or a note from the OA
                      counselor indicating they could not secure the information and the center
                      wants additional information, the center will need to request that
                      information from the applicant, provider, or facility.

               •      If a center wants additional tests or evaluations from the applicant and this
                      information is necessary to make an enrollment decision, the center may
                      request the applicant obtain these if they have insurance and/or access to a
                      facility that can provide the testing or evaluations at a rate the applicant can
                      afford. The center will need to work with the applicant and OA counselor
                      to identify specific resources. If applicant cannot afford to obtain additional
                      tests or evaluations, or has not provided the additional health information
                      requested within a reasonable amount of time, the center must make their
                      best recommendation based on the information available.

               •      In cases where a minor is involved, the center should collaborate with the
                      OA counselor to get parent/guardian permission for health information.

       4.      Documented communication with treating provider, if possible and required if
               there are conflicting recommendations between the center health consultant and the
               treating provider. If unable to contact treating provider, all attempts need to be
               clearly documented. This should be included on Form 2-05.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 229 of 272
PRH Chapter 2: Student Support Services                                           Form 2-05 (Page 4)


       5.      Interview with the applicant, either face to face, videoconferencing, or via
               telephone. Documentation of the interview process should be included on Form 2-
               05. If unable to contact applicant, all attempts need to be clearly documented
               including collaboration with OA counselor.

       6.      Identification of the functional limitations (specific symptoms/behaviors) and
               health care needs of the applicant that are barriers to enrollment.

       7.      If condition rises to a level of a disability, then refer to the RAC for consideration
               of accommodations and/or modifications for discussion with applicant. See Form
               2-03 for definition of a disability.

       8.      Consider if accommodations and/or modifications would remove the barriers to
               enrollment and make condition manageable at Job Corps as defined by basic health
               services in Exhibit 2-4.

Decision Tree (based on file review, treating provider information, if available, interview with
applicant, and reasonable accommodations, if appropriate)

       1.      Health care needs manageable at Job Corps as defined by basic health care
               services in Exhibit 2-4, but require community support services which are not
               available near center. Documentation of efforts to arrange for less frequent
               treatment in home state and/or to secure community support near center included
               on the health care needs assessment in section 7. (i.e., name of
               organizations/facilities and specific individual contacted). Applicant should be
               considered for center closer to home where health support and insurance coverage
               is available. File is forwarded to Regional Office for final determination.

               •      If community support is not available near requested center, the center
                      must do the following:

                      o       Contact the treating provider and discuss applicant’s needs to see if
                              less frequent treatment or monitoring can be arranged. For example,
                              instead of monthly sessions with the psychiatrist, can it be every
                              three months and allow applicant to go home and receive follow-up.

                      o       If center is unable to make arrangements, applicant may be
                              considered for center closer to home where health support and
                              insurance coverage is available. Documentation of efforts to arrange
                              for less frequent treatment in home state and to secure community
                              support near requested center should be included in Section 7 of the
                              health care needs assessment. (i.e., name of organizations/facilities
                              and specific individual contacted). File is forwarded to Regional
                              Office for final determination.
       Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 230 of 272
PRH Chapter 2: Student Support Services                                         Form 2-05 (Page 5)


               •      For applicants being considered for any center who wear orthodontic
                      braces, applicant furnishes proof of suitable period of compliance with
                      current treatment plan; a treatment plan is in place for continued care; a
                      signed agreement that the cost of continued treatment and transportation
                      related to treatment will be borne by the student, parent, or legal guardian;
                      and a signed agreement that he/she will remain compliant with the care
                      plan and schedule appointments such that he/she will not exceed authorized
                      leave limits for elective treatment.

       2.      Health care needs exceed basic health care as defined in Exhibit 2-4.

               •      Applicant has health condition with current symptoms at a level that will
                      interfere with successful participation in the program at this time. Deny
                      entry and refer to other appropriate program/provider. File forwarded to
                      Regional Office for final decision.

Accommodations or Modifications

If the individual is a person with a disability, the center’s RAC must convene and consider
accommodations and/or modifications that the individual may need. In considering
accommodations related to the symptoms and behaviors that are presenting the barriers to
enrollment, the RAC may only need to be comprised of the center clinician and a Disability
Coordinator and the accommodations could be discussed during the same phone call as the one in
which the clinical assessment is being performed.

Once the accommodations and/or modifications have been identified, the qualified licensed
professional who conducted the original assessment must review the previous findings giving
consideration to the identified accommodations to determine whether or not the accommodations
and/or modifications can remove the barriers to enrollment due to health care needs.

Center Director Reasonableness Determination

If there is a recommendation for an applicant to be enrolled with accommodations or
modifications which you believe are not reasonable and/or pose an undue hardship, the Center
Director is responsible for making that determination using the “Accommodation
Recommendation of Denial Form” found on the Job Corps Disability website and including that
form along with the applicant file that is being submitted to the Regional Office with a
recommendation for denial. The final determination is made by the Regional Office.

Guidance on how to make this determination is available in the “Evaluating a Request and
Denying a Request” sections of the Form 2-03. Please attach the completed “Accommodation
Recommendation of Denial Form.”
         Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 231 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-05 (Page 6)


           FORM FOR INDIVIDUALIZED HEALTH CARE NEEDS ASSESSMENT

Applicant’s Name: ____________________________________ Date of Review: _________________________

Center Name: ________________________________________ ID #: __________________________________

Interview Conducted By:               Telephone                  In Person                  Videoconference

In determining whether, in your professional judgment, the above named individual’s health care needs are beyond
what the Job Corps’ health and wellness program can provide as defined as basic health care in Exhibit 2-4: Job
Corps Basic Health Care Responsibilities consider the following and respond accordingly.

If you determine that the individual’s health care needs are beyond Job Corps basic health care responsibilities and
their condition rises to a level of a disability, consider whether any accommodations or modifications would remove
the barrier to enrollment and list any suggested accommodations or modifications. Do not consider whether, in your
view, a particular accommodation or modification is “reasonable.” That determination must be made by the center
director or his/her designees.

1.   What factors triggered review of the individual’s file for a health care needs assessment?
     [Please mark all that apply]

     □ Within the past six months, two or more emergency room visits or one or more hospitalizations for medical,
         mental health, oral health, and/or substance abuse reasons.

     □ New diagnosis or recurrence of medical, mental health, extensive untreated oral health, and/or substance
         abuse condition that would require frequent medication adjustments, significant health resources and/or
         substantial change to the training day (e.g., daily dialysis; only able to attend Job Corps 3 hours per day;
         hourly medication or behavioral monitoring; daily assistance with activities of daily living; long-term
         weekly on-center therapy provided by the CMHC; complex full-mouth reconstruction/rehabilitation).

     □ Failure to follow previous treatment recommendations by licensed health providers that have adversely
         affected the applicant’s health, behavior, and/or adaptive functioning, and now requires significant health
         care management. (Note: Some students are non-adherent and experience adverse consequences but may
         still benefit from enrollment. Examples might include substance abuse relapse, poor diabetic control, poor
         asthma control, etc.).

     □ Applicant has followed treatment recommendations by licensed health providers with no improvement in
         applicant’s health, behavior, and/or adaptive functioning, which continue to place applicant in need of
         significant health care management.

     □ Applicant’s condition or behavior has not been successfully managed in a similar academic, work, or group
         environment in the past year.

     □ Applicant is in treatment for a condition that is not in the scope of Job Corps Basic Health Care
         Responsibilities (e.g., orthodontic braces for malocclusion).

2.   What is the applicant’s history and present functioning to support statement of health care needs? (Include
     information from ETA 6-53, file review, Chronic Care Management Plan (CCMP) Provider Form, and interview
     with applicant.)

      ETA 6-53: ________________________________________________________________________________
     __________________________________________________________________________________________
          Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 232 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-05 (Page 7)


     __________________________________________________________________________________________

      Applicant File Review Summary:_____________________________________________________________
     __________________________________________________________________________________________
     __________________________________________________________________________________________

      CCMP Provider Form: Does provider recommend applicant to enter Job Corps?  Yes  No
      If conflicting recommendation with treating provider, please indicate effort to contact treating provider for
      discussion in addition to summary of information on the CCMP.
     __________________________________________________________________________________________
     __________________________________________________________________________________________
     __________________________________________________________________________________________

      Applicant Interview Summary: ______________________________________________________________
     __________________________________________________________________________________________
     __________________________________________________________________________________________

3.    What are the functional limitations (specific symptoms/behaviors) of the applicant that are barriers to
      enrollment at this time?

      □   Avoidance of group situations and settings                 □ Difficulty with sleep patterns
      □   Impaired decision making/problem solving                   □ Difficulty with social behavior, including
      □   Difficulty coping with panic attacks                            impairment in social cues and judgment

      □   Difficulty managing stress                                 □ Difficulty with stamina
      □   Difficulty regulating emotions                             □ Interpersonal difficulties with authority
                                                                          figures and/or peers
      □   Difficulty with communication
                                                                     □ Organizational difficulties
      □   Difficulty with concentration
                                                                     □ Sensory impairments
      □   Difficulty handling change
                                                                     □ Uncontrolled symptoms/behaviors that
      □   Difficulty with memory                                          interfere with functioning
      □   Difficulty with self-care                                  □ Other (specify): ______________________

      Please note: This list is not all inclusive. These are suggestions for your use and you may need to consider
      functional limitations and accommodations beyond this list.

4. What are the health-care management needs of the applicant that are barriers to enrollment at this time?

      □ Complex behavior management system                           □ Severe medication side effects
          beyond Job Corps current system                            □ Therapeutic milieu required
      □ Complex full mouth                                           □ Other (specify): ______________________
          reconstruction/rehabilitation
      □ Daily assistance with activities of daily
          living
      □ Frequency and length of treatment
      □ Hourly monitoring required
      □ Medical needs requiring specialized
          treatment
      □ Out of state insurance impacting access to
          required and necessary health care
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 233 of 272
PRH Chapter 2: Student Support Services                                                                Form 2-05 (Page 8)



      Brief Narrative: __________________________________________________________________________
     _________________________________________________________________________________________
     _________________________________________________________________________________________

5.   Reasonable Accommodation Consideration

     Is this applicant a person with a disability?           Yes  No
     (i.e., documentation of a mental health, medical, substance-abuse, cognitive, or other type of disability is present in
     the applicant file or the disability is obvious (i.e., blind, deaf). If no, please skip to Question #6.

     If yes, convene the reasonable accommodation committee (RAC) along with the applicant and list below any
     accommodations and/ or modifications discussed with the applicant that could either remove or reduce the barriers to
     enrollment as documented in Question #4 above.

     Note: Accommodations or modifications are not things that treat the impairment; they are things that will help the
     individual participate in the program. See Program Instruction 08-26 “Reasonable Accommodation and Case
     Management” for guidance.

     Check one of the two options below.

         □ The RAC has been unable to identify any accommodations appropriate to support this applicant.

         □ The following accommodations/modifications listed below have been discussed with the applicant and
              considered as a part of this assessment:

     Please avoid suggesting extreme accommodations already known to likely be unreasonable unless the applicant has
     requested a specific support (i.e., 24 hour supervision). If unsure if a support or modification is really an
     accommodation or is actually a case management support, please contact your regional health and disability
     consultants for assistance.

      Based on functional limitation(s) checked in Section 3, please check the appropriate accommodations
      below discussed with the applicant. Please note: This list is not all inclusive. These are suggestions for your
      use and you may need to consider functional limitations and accommodations beyond this list which can be
      entered in the "Other" section.
      Avoidance of group situations and settings
      Allow student to arrive five minutes late for classes and leave five minutes early              Yes       No
      Excuse student from student assemblies and group activities                                     Yes       No
      Identify quiet area for student to eat meals in or near cafeteria                               Yes       No
      Difficulty coping with panic attacks
      Allow student to designate a place to go when anxiety increases in order to practice            Yes       No
      relaxation techniques or contact supportive person
      Provide flexible schedule to attend counseling and/or anxiety reduction group                   Yes       No
      Allow student to select most comfortable area for them to work within the classroom trade       Yes       No
      site
      Provide peer mentor to shore up support                                                         Yes       No
      Difficulty handling change
      Provide regular meeting with counselor to discuss upcoming changes and coping                   Yes       No
      Maintain open communication between student and new and old counselors and teachers             Yes       No
      Recognize change in environment/staff may be difficult and provide additional support           Yes       No
      Difficulty managing stress
      Allow breaks as needed to practice stress reduction techniques                                  Yes       No
      Modify education/work schedule as needed                                                        Yes       No
      Identify support person on center and allow student to reach out to person as needed            Yes       No
           Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 234 of 272
PRH Chapter 2: Student Support Services                                                            Form 2-05 (Page 9)


     Difficulty regulating emotions
     Allow breaks as needed to cool down                                                             Yes    No
     Allow flexible schedule to attend counseling and/or emotion regulation support group            Yes    No
     Teach staff to support student in using emotion regulation strategies                           Yes    No
     Provide peer mentor/support staff                                                               Yes    No
     Difficulty with communication
     Allow student alternative form of communication (e.g. written in lieu of verbal)                Yes    No
     Provide advance notice if student must present to group and opportunity to practice or          Yes    No
     alternative option (e.g. present to teacher only)
     Difficulty with concentration
     Allow use of noise canceling headset                                                            Yes    No
     Reduce distractions in learning/work environment                                                Yes    No
     Provide student with space enclosure (cubicle walls)                                            Yes    No
     Difficulty with memory
     Provide written instructions                                                                    Yes    No
     Allow additional training time for new tasks and hands-on learning opportunities                Yes    No
     Offer training refreshers                                                                       Yes    No
     Use flow-charts to indicate steps to complete task                                              Yes    No
     Provide verbal or pictorial cues                                                                Yes    No
     Difficulty with organization
     Use staff/peer coach to teach/reinforce organizational skills                                   Yes    No
     Use weekly chart to identify and prioritize daily tasks                                         Yes    No
     Difficulty with self-care
     Provide environmental cues to prompt self-care                                                  Yes    No
     Assign staff/peer mentor to provide support                                                     Yes    No
     Allow flexible scheduling to attend counseling/supportive appointments                          Yes    No
     Difficulty with sleep patterns
     Allow for a flexible start time                                                                 Yes    No
     Provide more frequent breaks                                                                    Yes    No
     Provide peer/dorm coach to assist with sleep routine/hygiene                                    Yes    No
     Increase natural lighting/full spectrum light                                                   Yes    No
     Difficulty with social behavior, including impairment in social cues and judgment
     Assign mentor to reinforce appropriate social skills                                            Yes    No
     Allow daily pass to identified area to cool down                                                Yes    No
     Provide concrete examples of accepted behaviors and teach staff to intervene early to shape     Yes    No
     positive behaviors
     Adjust communication methods to meet students’ needs                                            Yes    No
     Difficulty with stamina
     Allow more frequent or longer breaks                                                            Yes    No
     Allow flexible scheduling                                                                       Yes    No
     Provide additional time to learn new skills                                                     Yes    No
     Impaired decision making/problem solving
     Utilize peer staff mentor to assist with problem solving/decision making                        Yes    No
     Provide picture diagrams of problem solving techniques (e.g., flow charts, social stories)      Yes    No
     Interpersonal difficulties with authority figures and/or peers
     Encourage student to take a break when angry                                                    Yes    No
     Provide flexible schedule to attend counseling and/or therapy group                             Yes    No
     Provide peer mentor for support and role modeling                                               Yes    No
     Develop strategies to cope with problems before they arise                                      Yes    No
     Provide clear, concrete descriptions of expectations and consequences                           Yes    No
     Allow student to designate staff member to check in with for support when overwhelmed           Yes    No
     Sensory impairments
     Modify learning/work environment to assist with sensitivities to sound, sight, and smells       Yes    No
     Allow student breaks as needed                                                                  Yes    No
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 235 of 272
PRH Chapter 2: Student Support Services                                                           Form 2-05 (Page 10)


       Uncontrolled symptoms/behaviors that interfere with functioning
       Alter training day to allow for treatment                                                      Yes      No
       Allow passes for health and wellness center outside of open hours to monitor symptoms          Yes      No
       Reduce tasks and activities during CPP to not aggravate symptoms/behaviors                     Yes      No

       Other




       Summarize any special considerations and findings of the RAC as well as the applicant’s input:




   Please Note: Job Corps cannot impose accommodations upon an individual. If the applicant does not accept or agree
   to a specific accommodation, there is no need to consider that specific accommodation in your determination of
   whether the accommodations listed will reduce the barriers to enrollment sufficiently or not nor is there a need to
   complete a reasonableness review related to that specific accommodation.

       Reasonable Accommodation Considerations:
       Did the applicant participate in the RAC meeting?                                            Yes        No
       (Note: The applicant must be a part of the discussion for reasonable accommodation).

       RAC Participants:
       Name:                                                   Position:
       Name:                                                   Position:
       Name:                                                   Position:

       If there is a recommendation for an applicant to be enrolled with the accommodations or modifications listed in
       Question #5 above which you believe are not reasonable and/or pose an undue hardship, the Center Director is
       responsible for making that determination using the “Accommodation Recommendation of Denial Form”
       found on the Job Corps Disability website and including that form along with the applicant file that is being
       submitted to the regional office with a recommendation for denial. The final determination is made by the regional
       office.

       Guidance on how to make this determination is available in the “Evaluating a Request and Denying a Request”
       sections of the Form 2-03. Please attach the completed “Accommodation Recommendation of Denial Form."

   If there are agreed upon accommodations between the RAC and applicant listed in Question #5 then consider whether
   those accommodations reduce the barriers to enrollment sufficiently to allow for the applicant to be enrolled.

   •     If the accommodations would sufficiently reduce the barriers to enrollment, then you do not need to complete the
         remainder of this assessment and the center can assign the applicant a start date. Retain all the paperwork
         included in completing this assessment within the applicant’s Student Health Record.

   •     If the accommodations would NOT sufficiently reduce the barriers to enrollment for your center, please proceed
         to Question #6.
            Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 236 of 272
PRH Chapter 2: Student Support Services                                                            Form 2-05 (Page 11)


6.   Based on your review of the applicant’s health care needs above, does the named individual have health care
     needs beyond what the Job Corps’ health and wellness program can provide as defined as basic health care in
     Exhibit 2-4: Job Corps Basic Health Care Responsibilities? [Please mark one below.]


     □ In my professional judgment, health care needs are manageable at Job Corps as defined by basic health care
         services in Exhibit 2-4, but require community support services which are not available near center.
         Documentation of efforts to arrange for less frequent treatment in home state and/or to secure community
         support near center can be found in Question #7 below. Applicant should be considered for center closer to home
         where health support and insurance coverage is available. File is forwarded to Regional Office for final
         determination.

     □ In my professional judgment, health care needs are not manageable at Job Corps as defined by basic health care
         services in Exhibit 2-4. Applicant has health condition with current symptoms at a level that will interfere with
         successful participation in the program at this time. Deny entry and refer to other appropriate program/provider.
         File is forwarded to Regional Office for final determination.

7.   If recommending a different center, document efforts to arrange less frequent treatment in home state and/or
     secure community support near center in the space below. (Include name of organizations/facilities and
     specific individuals contacted and why access is not available.)
     ________________________________________________________________________________________
     ________________________________________________________________________________________
     ________________________________________________________________________________________



Printed or Typed Name and Title of Licensed Health Provider Completing Form



Signature of Licensed Health Provider Completing Form                                       Date
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 237 of 272
PRH Chapter 2: Student Support Services                                                                                  Form 2-06 (Page 1)


                                                      FORM 2-06
                                          MYPACE CAREER PLAN REVIEW CHECKLIST




                                           MYPACE CAREER PLAN REVIEW CHECKLIST

                                                 CAREER PREPARATION PERIOD
 Center Name:

 Student Name:                                      Student ID:                                    Date of Entry:


 Date of Birth:                                     Counselor:                                     CTT:


 SECTION 1 - CAREER PATHWAY PLAN SUMMARY

         Student’s summary connects the dots along his/her pathway, ties together all short-term, mid-term, and long-term SMART

 ☐
         career goals, and defines in chronological order the steps from his/her current position to his/her ultimate long-term career
         goal.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 238 of 272
PRH Chapter 2: Student Support Services                                                                                  Form 2-06 (Page 2)


 SECTION 2 - STUDENT PROFILE AND TRAITS

         Desired Location Upon Exit: Student’s desired location upon exit aligns with student’s mid-term career goal (pathway
 ☐       placement goal). Student has a plan to address transitional concerns such as Housing, Transportation, etc.


 ☐
         Age: Does the chosen pathway have a minimum age limitation for entry? If student is a minor, has the center received
         parental/guardian consent for the career plan?

         Date of Enrollment: The Career Management Team monitors the date of entry to ensure student has adequate time for
         completion prior to the two-year program limitation. If more than two years is anticipated to be needed due to special
 ☐       circumstances (e.g. low learning level), the center should apply for an extension at least 3 months prior to the two year
         period. If student is granted an extension, the pathway & transition plan will need to be adjusted. Some pathways (i.e.
         Advanced Training & post-secondary) have fixed enrollment dates.

         Education Background:
         How will a student’s level of education impact the CTT trade the student selected on their plan?
         How will a student’s level of education impact their mid-term career goal (Post-Job Corps)?
 ☐       Ex. If a student’s mid-term goal is to go to college, but the student’s current reading level is 5th Grade”, the Career
         Management Team should ensure that the student is aware of what it will take to be ready for college upon exit and/or
         discuss other possible mid-term goals that may be more appropriate.

         Favorite and Least Favorite Subjects: This is to help the Career Management Team get an idea of what a student perceives
 ☐       as their academic strengths and weaknesses. The academic manager could use this information along with other baseline
         assessments to help the student develop a viable academic plan.

         Self-Identified Traits: Do the “Self-Identified Traits” reasonably align with the traits assigned under the MyPACE Career
 ☐       Interest Profiler?
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 239 of 272
PRH Chapter 2: Student Support Services                                                                                    Form 2-06 (Page 3)

         Prior Employment History: Student has provided information related to their work experience prior to entering Job Corps.
         This information should be used by center staff to ensure a student’s previous work experience and wages are given
 ☐       consideration when staff are assisting a student with developing a career pathway that both aligns with the student’s
         individual career goals and interests; and increases the student’s earning potential and/or vocational skills.
 SECTION 3 – CHOSEN OCCUPATION (LONG-TERM CAREER GOAL)

        Student’s self-assigned traits (work style, work values, career priorities and interests), and skills reasonably match his/her
 ☐      chosen occupational profile.


 ☐
        Student understands the relationship between their self-assigned traits and the education, training, and demands of their
        chosen occupation.


 ☐
        Student is aware of the commitment it will take to achieve the level of education and related work experience required to
        achieve their long-term occupation

        Student has chosen an in-demand occupation that provides a “living wage”; leads to a successful career; and is suited to the
 ☐      student’s interest, capabilities, and career goals.


 ☐      Student has provided a sound reason for how he/she identified their long-term goal (chosen occupation)


 ☐      Long-term goal is SMART (specific, measurable, attainable, recorded and time-based).

 ☐      Chosen Occupation “Occupation Traits” reasonably match student’s “My Assigned Traits”
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 240 of 272
PRH Chapter 2: Student Support Services                                                                             Form 2-06 (Page 4)


 SECTION 4 – CHOSEN PLACEMENT PATHWAY ACHIEVEMENT RECORD (MID-TERM
 CAREER GOAL)
 Please refer to appropriate pathway sub-section below: (4a) Advanced Training, (4b) Military, (4c) Apprenticeship, (4d)
 Post-secondary Education (ACT/College), and (4e) Entry-Level Job.

 Sub-section 4a – Advanced Training Pathway

        The Career Management Team and student have reviewed the “Prerequisites for Entry to the Advanced Training Pathway “.
 ☐      The student understands these requirements and can likely meet these requirements upon completion of the Job Corps
        program (see Exhibit 2-5).

        Student has provided a sound reason for how he/she identified an Advanced Training Program that appropriately aligns
 ☐      with his/her ultimate long-term career goal.

 ☐      The e-TAR code, Advanced Training program and location are accurately recorded on the student’s MyPACE Career Plan.

        The mid-term Career SMART goal supports career progression and is specific, measurable, attainable, recorded and time-
 ☐      based.

        Career Management Team has assigned appropriate staff to support and monitor completion of the Advanced Training PAR
        and transitional tasks, and will inform Career Management Team of student progress throughout program.
 ☐          Timelines for pathway task completion and follow-up have been drafted.
            Short-term career planning goals have been developed for next 60 day ESP period (e.g. acquiring birth certificate for
                driver’s license if not already attained, developing a plan to pay fines if needed).
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 241 of 272
PRH Chapter 2: Student Support Services                                                                                   Form 2-06 (Page 5)


 Sub-section 4b – Military PAR
        The Career Management Team and student have reviewed the “Prerequisites for Entry to the Military Pathway“, student
 ☐      understands the Placement Pathway entry requirements and can likely meet the entry requirements after completion of the Job
        Corps program (see Exhibit 2-5).

        Career Management Team has discussed with student the requirements for delayed enlistment and has reviewed the Center
 ☐      Enlistment Contract”

        Student has provided a sound reason for how he/she identified a Military branch and military related occupation that
 ☐      appropriately aligns with his/her long-term career goal.

 ☐      The mid-term Career SMART goal supports career progression and is specific, measurable, attainable, recorded and time-based.


 ☐      Student has provided the correct contact information for the nearest recruitment office to their location

        Career Management Team has assigned appropriate staff to support and monitor completion of the Military PAR and
        transitional tasks, and will inform Career Management Team of student progress throughout program.
 ☐           Timelines for pathway task completion and follow-up have been drafted.
             Short-term pathway goals have been developed for next 60 day ESP period.

 Sub-section 4c - Apprenticeship PAR
        The Career Management Team and student have reviewed the “Prerequisites for Entry to the Apprenticeship Pathway “, student
 ☐      understands the Placement Pathway entry requirements and can likely meet the entry requirements after completion of the Job
        Corps program (see Exhibit 2-5).
        Student has provided a sound reason for how he/she identified an Apprenticeship Program that appropriately aligns with his/her
        long-term career goal.
            If student is unable to locate an apprenticeship program that aligns with their long-term or short-term career goal, Career
 ☐              Management Team may recommend the student choose another career pathway.
            Career Management Team understands requirement differences between state-approved and federally approved
                apprenticeships.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 242 of 272
PRH Chapter 2: Student Support Services                                                                                   Form 2-06 (Page 6)


 ☐      The e-TAR code and chosen Apprenticeship program are accurately recorded on MyPACE Career Plan.

 ☐      Student has identified a potential apprenticeship program that aligns with the student’s long-term career goal.


 ☐      The mid-term Career SMART goal supports career progression and is specific, measurable, attainable, recorded and time-based.


        Career Management Team has assigned appropriate staff to support and monitor completion of the Apprenticeship PAR and
        transitional tasks, and will inform Career Management Team of student progress throughout program.
 ☐           Timelines for pathway task completion and follow-up have been drafted.
             Short-term pathway goals have been developed for next 60 day ESP period.

 Sub-section 4d - Post-Secondary Education (ACT/College) PAR

        The Career Management Team and student have reviewed the “Prerequisites for Entry to the Post-Secondary (ACT/College)
 ☐      Pathway”, student understands the Placement Pathway entry requirements and Career Management Team has determined the
        student can likely meet the entry requirements after completion of the Job Corps program (see Exhibit 2-5).


 ☐      Student has explored financial aid and scholarship options, and developed a tentative plan to secure adequate funding.

        Student has provided a sound reason for how he/she identified a college that appropriately aligns with his/her long-term career
 ☐      goal. The chosen post-secondary institution is recorded on MyPACE Career Plan.

 ☐      The mid-term Career SMART goal supports career progression and is specific, measurable, attainable, recorded and time-based.

        Career Management Team has assigned appropriate staff to support and monitor completion of the Post-secondary PAR and
        transitional tasks, and will inform Career Management Team of student progress throughout program.
 ☐      Timelines for pathway task completion and follow-up have been drafted.
        Short-term pathway goals have been developed for next 60 day ESP period.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 243 of 272
PRH Chapter 2: Student Support Services                                                                                      Form 2-06 (Page 7)


        If applicable, student intends to enroll in Advanced Career Training if student’s selected college is an Advanced Career Training
 ☐      partner?

 Sub-section 4e – Entry-Level Job PAR
        The Career Management Team and student have reviewed the “Prerequisites to Entry Level Job Pathway “, student understands
 ☐      the Placement Pathway entry requirements and can likely meet the entry requirements after completion of the Job Corps program
        (see Exhibit 2-5).

        Student has provided a sound reason for how he/she identified an Entry-Level Job that appropriately aligns with his/her long-
 ☐      term career goal, in demand, and will make a living wage.

        Student has identified three potential employers in area student is willing to relocate to and has identified a JTM entry-level
 ☐      which pays a living wage, and aligns with student’s long-term career goal.

 ☐      The mid-term Career SMART goal supports career progression and is specific, measurable, attainable, recorded and time-based.


        Career Management Team has assigned appropriate staff to support and monitor completion of the Entry-Level Job PAR and
 ☐      transitional tasks, and will inform Career Management Team of student progress throughout program. Timelines for pathway
        task completion and follow-up have been drafted. Short-term pathway goals have been developed for next 60 day ESP period.

 SECTION 5 – CHOSEN JOB CORPS CAREER DEVELOPMENT EDUCATION AND TRAINING
 PROGRAM (SHORT-TERM CAREER GOALS)
 ☐      Student is able to explain why his/her choice of CTT program area is the best choice for his/her career path, and can describe the
        similarity of knowledge and skills between the CTT and his/her mid- and long-term goals.

 ☐      The e-TAR code and CTT program chosen by the student are accurately recorded on the student’s MyPACE Career Plan.

 ☐      Student understands the projected length of time to complete the CTT training program and is willing to commit to the required
        timeframe.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 244 of 272
PRH Chapter 2: Student Support Services                                                                                    Form 2-06 (Page 8)


 ☐      The CTT selection is reasonably based on work style, work values, skills, career priorities, academic scores and career interests
        expressed by the student.

 ☐      There’s slot availability in the chosen CTT selection.
            If first choice is not available, assignment to a second choice CTT Program is compatible with the student’s long-term
               career goals.

 ☐      Short-term SMART career goals in academics and CTT have been identified, and are specific, measurable, attainable, recorded
        and time-based.

 ☐      Student has accurately recorded the Primary Credential and Credential Sponsor associated with their chosen CTT program.


        Career Management Team has collaborated with student to identify his/her schedule, individualized mix of classes and activities,
        including any additional needed support that will move the student toward meeting the Career Success Standards and his/her
        career goals.
 ☐          Accommodations to achieve career goals are identified. (e.g., Staff will engage in conversations with Voc. Rehab. early
              on.)
            Tutors, if needed, have been assigned.
            Peer or staff mentors, if needed, have been assigned. Other on- or off-center resources, as needed, have been assigned.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 245 of 272
PRH Chapter 2: Student Support Services                                                                                    Form 2-06 (Page 9)


 SECTION 6 - TRANSITIONAL CONSIDERATIONS
        Student has completed a Transitional Needs Assessment that identifies action items that will aid the student in successfully
        transitioning to his/her chosen Placement Pathway. The CTS Provider and student have worked closely to develop an initial
        transition plan based on chosen pathway. Considerations include (at a minimum):
             Housing
             Transportation
             Childcare
             Health care
 ☐           Work clothes/tools
             Food and nutrition
             Budgeting and money management
             Counseling/mentoring
             Job retention skills
             Legal services
             Other needs?


 SECTION 7 – INITIAL APPROVAL OF MyPACE CAREER PLAN (Transition from CPP to CDP)

        Risk factors and barriers for a successful transition (e.g., drug & alcohol issues, low learning levels) have been identified from
        baseline assessments and the Career Management Team, as needed, has initiated multiple levels of intervention. Other on-center
        and off-center resources have also been identified to provide additional support to the student on an as-needed basis (e.g.,
 ☐      Recreation Specialist, other dorm staff, Student Conduct Coordinator, Mental Health Consultant, AA/NA Groups, etc.). Career
        Management Team has developed an intervention support plan and will closely monitor student response to intervention. This
        support plan begins to shape the student’s individual career plan.
                             Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 246 of 272
PRH Chapter 2: Student Support Services                                                                              Form 2-06 (Page 10)


        During initial (first 60 day) ESP meeting, the Career Management Team has determined student:
         Has a clear understanding of and commitment to completing the Job Corps program;
         Is adjusting to center life
 ☐       Is a positive influence on center culture
         Is progressing satisfactorily in all areas
         Completed all CPP requirements (including MyPACE career planning requirements for CPP) and is ready to transition from
           CPP to CDP.

        The Career Management Team and student have reviewed the appropriate requirements on the “Pathway Prerequisites for Entry”
 ☐      documents (reference Exhibit 2-5). The student understands these requirements, and can likely meet these requirements upon
        completion of the Job Corps program.

        (If student is under 18) The counselor has received parental/guardian consent for student’s MyPACE Career Plan and has
 ☐      notified parent/guardian of any major behavior or performance issues.

 Lead Career Management Team:                                                                    Date:


 Center Director or Senior Management Designee:                                                  Date:
     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 247 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                             Exhibit F
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 248 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 249 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 250 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 251 of 272
     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 252 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                            Exhibit G
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 253 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 254 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 255 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 256 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 257 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 258 of 272
     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 259 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                            Exhibit H
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 260 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 261 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 262 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 263 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 264 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 265 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 266 of 272
     Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 267 of 272




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

UNITED STATES OF AMERICA,           §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §   Case No. 1:21-cv-00796-RP
                                    §
THE STATE OF TEXAS,                 §
                                    §
      Defendant.                    §




                             Exhibit I
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 268 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 269 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 270 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 271 of 272
Case 1:21-cv-00796-RP Document 45 Filed 09/29/21 Page 272 of 272
